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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY, and
GEICO CASUALTY COMPANY,

        Plaintiffs,
                                                       Case No.:
vs.

HASAN      ISMAIL      ZEYA,   M.D.,   JRL
REHABILITATION CENTER, INC., ANISLEY
LANZA DIAZ, L.M.T., IVAN CHINEA RAMOS,
JEROME C. COUVE, L.M.T., MILAGROS
TORRES,     L.M.T.,    GEOVANI   ROBAINA
FERNANDEZ, PALM WELLNESS CENTER, LLC,
MICHEL REYES, L.M.T., ALYE ORTEGA, L.M.T.,
RONALD OSCAR SUAREZ, L.M.T., REHAB &
HEALTHCARE OF TAMPA, INC., JOSE
RODRIGUEZ-SUAREZ, ODAMIS RODRIGUEZ
ROQUE, L.M.T., YANET QUINTERO ROJAS,
L.M.T., ROBUST PAIN & WELLNESS MEDICAL
CENTER, INC., LILISBET CAMPOS-GARCIA,
KENIA MONTES, 7520 REHABILITATION
CENTER, LLC, ARELYS RUBIO, IVAN CVIK,
M.D., CARLOS E. FOSSI, M.D., YUDENYS RUIZ
ALVAREZ,       L.M.T.,     TAMPA      BAY
REHABILITATION CENTER, INC., YOSVANY
MORAN, NELSON CABALLERO, L.M.T.,
SEMINOLE CARE & REHABILITATION
CENTER, INC., ALEXIS DEL SOL PEREZ, L.M.T.,
MARIA ROMERO, MARTIZA A. DAMAS
DOMINGUEZ, L.M.T., and SAMMIE T. BOND,
L.M.T.,

       Defendants.
___________________________________________________/

                      COMPLAINT AND DEMAND FOR A JURY TRIAL
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      Plaintiffs, Government Employees Insurance Company, GEICO Indemnity

Company, GEICO General Insurance Company, and GEICO Casualty Company

(collectively “GEICO” or “Plaintiffs”), sue Defendants and allege as follows:

      1.     This action seeks to recover more than $6,600,000.00 that Defendants

wrongfully obtained from GEICO by submitting, and causing to be submitted,

thousands of fraudulent no-fault (“no-fault”, “personal injury protection”, or “PIP”)

insurance charges through Defendants JRL Rehabilitation Center, Inc. (“JRL

Rehabilitation”), Palm Wellness Center, LLC (“Palm Wellness”), Rehab & Healthcare

of Tampa, Inc. (“Rehab & Healthcare”), Robust Pain & Wellness Medical Center, Inc.

(“Robust Pain”), 7520 Rehabilitation Center, LLC (“7520 Rehabilitation”), Tampa Bay

Rehabilitation Center, Inc. (“Tampa Bay Rehabilitation”), and Seminole Care &

Rehabilitation Center, Inc. (“Seminole Care”) (collectively, the “Clinic Defendants”),

relating to medically unnecessary, illusory, unlawful, and otherwise non-

reimbursable health care services, including putative initial examinations, follow up

examinations, and physical therapy services (collectively the “Fraudulent Services”)

that purportedly were provided to Florida automobile accident victims (“Insureds”)

who were eligible for coverage under GEICO no-fault insurance policies. In addition,

GEICO seeks a declaration that it is not legally obligated to pay reimbursement of

pending, fraudulent no-fault insurance claims that Defendants have submitted or

caused to be submitted through the respective Clinic Defendants, because of the

fraudulent and unlawful activity set forth herein.




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      2.     Each and every charge submitted through the Clinic Defendants since at

least 2013 has been fraudulent and unlawful for the reasons set forth herein. The charts

annexed hereto as Exhibits “1” – “7” set forth a large and representative sample of the

fraudulent and unlawful claims that have been identified to date that have been

submitted to GEICO by mail through the respective Clinic Defendants. Defendants’

interrelated fraudulent schemes began no later than 2013, and have continued

uninterrupted since that time.

                                    THE PARTIES

      3.     Plaintiffs Government Employees Insurance Company, GEICO Indemnity

Company, GEICO General Insurance Company, and GEICO Casualty Company

(collectively, “GEICO”) are Nebraska corporations with their principal places of

business in Chevy Chase, Maryland. GEICO is authorized to conduct business and to

issue automobile insurance policies in Florida.

      4.     The Defendants are as follows:

      (i)    Defendant Hasan Ismail Zeya, M.D. (“Zeya”) resides in and is a citizen of
             Florida. Zeya was licensed to practice medicine in Florida on December
             18, 1981. Zeya, who was in his early-to-late 80s at the time, falsely
             purported to serve as medical director at JRL Rehabilitation, Palm
             Wellness, Rehab & Healthcare, and Robust Pain, and purported to
             perform or directly supervise most of the Fraudulent Services on behalf
             of each of the Clinic Defendants.

      (ii)   Defendant JRL Rehabilitation is a Florida corporation with its principal
             place of business in Tampa, Florida. At all relevant times, JRL
             Rehabilitation falsely purported to be a properly-licensed health care
             clinic that operated in compliance with the licensing requirements set
             forth in the Florida Health Care Clinic Act (the “Clinic Act”, Fla. Stat. §
             400.990, et seq.). JRL Rehabilitation was incorporated in Florida on or
             about January 17, 2006, during all relevant times purported to be owned



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             and controlled by Defendants Ivan Chinea Ramos (“Ramos’) and Anisley
             Lanza Diaz, L.M.T. (“Lanza Diaz”), falsely purported to have Zeya as its
             legitimate medical director, had Defendant Geovani Robaina Fernandez
             (“Fernandez”) as its “office manager”, and was used as a vehicle to
             submit fraudulent no-fault insurance billing to GEICO and other
             insurers, including billing for Fraudulent Services that purportedly were
             performed by Defendants Zeya, Lanza Diaz, Jerome C. Couve, L.M.T.
             (“Couve”) and Milagros Torres, L.M.T. (“Torres”) (Defendants JRL
             Rehabilitation, Ramos, Lanza Diaz, Zeya, Fernandez, Couve, and Torres
             collectively are referred to as the “JRL Rehabilitation Defendants”).

     (iii)   In or around early July 2019, Ramos and Fernandez were arrested on
             charges that they made false insurance claims, engaged in patient
             brokering, and engaged in an organized scheme to defraud insurers at
             JRL Rehabilitation. In or around early July 2019, Torres was arrested on
             charges that she made false insurance claims and engaged in an
             organized scheme to defraud insurers at JRL Rehabilitation.

     (iv)    Defendant Palm Wellness is a Florida limited liability company with its
             principal place of business in Tampa, Florida. At all relevant times, Palm
             Wellness falsely purported to be a properly-licensed health care clinic
             that operated in compliance with the licensing requirements set forth in
             the Clinic Act. Palm Wellness was organized in Florida on or about
             December 30, 2014, purported to be owned and controlled by Defendant
             Michel Reyes, L.M.T. (“Reyes”), had Reyes as its sole member, falsely
             purported to have Zeya as its legitimate medical director, and was used
             as a vehicle to submit fraudulent no-fault insurance billing to GEICO and
             other insurers, including billing for Fraudulent Services that purportedly
             were performed by Defendants Zeya, Reyes, Alye Ortega, L.M.T.
             (“Ortega”), and Ronald Oscar Suarez, L.M.T. (“Suarez”) (Defendants
             Palm Wellness, Reyes, Zeya, Ortega, and Suarez collectively are referred
             to as the “Palm Wellness Defendants”).

     (v)     Defendant Rehab & Healthcare is a Florida corporation with its principal
             place of business in Tampa, Florida. At all relevant times, Rehab &
             Healthcare falsely purported to be a properly-licensed health care clinic
             that operated in compliance with the licensing requirements set forth in
             the Clinic Act. Rehab & Healthcare was incorporated in Florida on or
             about July 30, 2013, purported to be owned and controlled by Defendant
             Jose Rodriguez-Suarez (“Rodriguez-Suarez”), falsely purported to have
             Zeya as its legitimate medical director, and was used as a vehicle to
             submit fraudulent no-fault insurance billing to GEICO and other
             insurers, including billing for Fraudulent Services that purportedly were



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            performed by Defendants Zeya, Yanet Quintero Rojas, L.M.T. (“Rojas”)
            and Odamis Rodriguez Roque, L.M.T. (“Roque”) (Defendants Rehab &
            Healthcare, Rodriguez-Suarez, Zeya, Rojas, and Roque collectively are
            referred to as the “Rehab & Healthcare Defendants”).

     (vi)   Defendant Robust Pain is a Florida corporation with its principal place
            of business in Tampa, Florida. At all relevant times, Robust Pain falsely
            purported to be a properly-licensed health care clinic that operated in
            compliance with the licensing requirements set forth in the Clinic Act.
            Robust Pain was incorporated in Florida on or about March 19, 2018,
            purported to be owned and controlled by Defendants Roque, Kenia
            Montes (“Montes”), and Lilisbet Campos-Garcia (“Campos-Garcia”),
            falsely purported to have Zeya as its legitimate medical director, and was
            used as a vehicle to submit fraudulent no-fault insurance billing to
            GEICO and other insurers, including billing for Fraudulent Services that
            purportedly were performed by Defendants Zeya and Roque
            (Defendants Robust Pain, Roque, Montes, Campos-Garcia, and Zeya
            collectively are referred to as the “Robust Pain Defendants”).

     (vii) On September 12, 2019, Roque was arrested on charges that she made
           false insurance claims and engaged in patient brokering.

     (viii) Defendant 7520 Rehabilitation is a Florida limited liability company
            with its principal place of business in Tampa, Florida. At all relevant
            times, 7520 Rehabilitation falsely purported to be a properly-licensed
            health care clinic that operated in compliance with the licensing
            requirements set forth in the Clinic Act. 7520 Rehabilitation was
            organized in Florida on or about September 15, 2009, purported to be
            owned and controlled by Defendant Arelys Rubio (“Rubio”), had Rubio
            as its sole member, falsely purported to have Defendants Ivan Cvik, M.D.
            (“Cvik”) and Carlos E. Fossi, M.D. (“Fossi”) as its legitimate medical
            directors, and was used as a vehicle to submit fraudulent no-fault
            insurance billing to GEICO and other insurers, including billing for
            Fraudulent Services that purportedly were performed by Defendants
            Zeya and Yudenys Ruiz Alvarez, L.M.T. (“Alvarez”) (Defendants 7520
            Rehabilitation, Rubio, Cvik, Fossi, Zeya, and Alvarez collectively are
            referred to as the “7520 Rehabilitation Defendants”).

     (ix)   Defendant Tampa Bay Rehabilitation is a Florida corporation with its
            principal place of business in Tampa, Florida. At all relevant times,
            Tampa Bay Rehabilitation falsely purported to be a properly-licensed
            health care clinic that operated in compliance with the licensing
            requirements set forth in the Clinic Act. Tampa Bay Rehabilitation was



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              incorporated in Florida on or about November 30, 2016, purported to
              be owned and controlled by Defendant Yosvany Moran (“Moran”),
              falsely purported to have Cvik as its legitimate medical director, and was
              used as a vehicle to submit fraudulent no-fault insurance billing to
              GEICO and other insurers, including billing for Fraudulent Services that
              purportedly were performed by Defendants Zeya and Nelson Caballero,
              L.M.T. (“Caballero”) (Defendants Tampa Bay Rehabilitation, Moran,
              Cvik, Zeya, and Caballero collectively are referred to as the “Tampa Bay
              Rehabilitation Defendants”).

       (x)    Defendant Seminole Care is a Florida corporation with its principal place
              of business in Tampa, Florida. At all relevant times, Seminole Care falsely
              purported to be a properly-licensed health care clinic that operated in
              compliance with the licensing requirements set forth in the Clinic Act.
              Seminole Care was incorporated in Florida on or about January 24, 2018,
              purported to be owned and controlled by Defendants Maria Romero
              (“Romero”) and Alexis Del Sol Perez, L.M.T. (“Del Sol Perez”), falsely
              purported to have Fossi as its legitimate medical director, and was used
              as a vehicle to submit fraudulent no-fault insurance billing to GEICO and
              other insurers including billing for Fraudulent Services that purportedly
              were performed by Defendants Zeya, Martiza A. Damas Dominguez,
              L.M.T. (“Dominguez”), and Sammie T. Bond, L.M.T. (“Bond”)
              (Defendants Seminole Care Rehabilitation, Romero, Del Sol Perez, Fossi,
              Zeya, Dominguez, and Bond collectively are referred to as the “Seminole
              Care Defendants”).

       (xi)   All of the natural person Defendants reside in and are citizens of Florida.

                              JURISDICTION AND VENUE

       5.     This Court has jurisdiction over the subject matter of this action under

28 U.S.C. § 1332(a)(1) because the total matter in controversy, exclusive of interest

and costs, exceeds the jurisdictional threshold of $75,000.00, and is between citizens

of different states.

       6.     This Court also has original jurisdiction pursuant to 28 U.S.C. § 1331

over claims brought under 18 U.S.C. §§ 1961 et seq. (the Racketeer Influenced and

Corrupt Organizations (“RICO”) Act).



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              7.    In addition, this Court has supplemental jurisdiction over the subject

     matter of the claims asserted in this action pursuant to 28 U.S.C. § 1367.

              8.    Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the

     Middle District of Florida is the District where one or more of Defendants reside and

     because this is the District where a substantial amount of the activities forming the

     basis of the Complaint occurred.

                                           ALLEGATIONS

I.            Brief Overview of Pertinent Law Governing No-Fault Insurance Reimbursement

              9.    Florida requires automobile insurers to provide PIP insurance benefits

     (“PIP Benefits”) to Insureds when they are injured in a motor vehicle accident. See

     Florida Motor Vehicle No-Fault Law, Fla. Stat. §§ 627.730-627.7405 (the “No-Fault

     Law”).

              10.   Under the No-Fault Law, a health care services provider that possesses an

     assignment of PIP Benefits from an Insured and that provides medically necessary

     health care services to an Insured may submit claims directly to an insurance company

     in order to receive payment for medically necessary services, using the required claim

     forms, including the Health Care Financing Administration insurance claim form

     (known as the “HCFA-1500 form” or “CMS-1500” form).

              11.   In order for a health care service to be eligible for PIP reimbursement, it

     must be “lawfully” provided, medically necessary, and the bill for the service cannot

     misrepresent the nature or extent of the service that was provided. Insurers such as




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GEICO are not required to pay anyone who knowingly submits a false or misleading

statement relating to a PIP claim or charges. See Fla. Stat. § 627.736.

       12.    In addition, the No-Fault Law prohibits PIP reimbursement for massage

or for services provided by unsupervised massage therapists. See Fla. Stat. § 627.736.

       13.    Pursuant to the Clinic Act, clinics operating in Florida without a valid

exemption from the relevant clinic licensing requirements must – among other things

– appoint a medical director who must “[c]onduct systematic reviews of clinic billings

to ensure that the billings are not fraudulent or unlawful”, and take immediate

corrective action upon discovery of a fraudulent or unlawful charge. See Fla. Stat. §

400.9935(1). In addition, a clinic medical director must “[e]nsure that all health care

practitioners at the clinic have active appropriate certification or licensure for the level

of care being provided.” See Fla. Stat. § 400.9935(1).

       14.    Pursuant to the Clinic Act, “[a] charge or reimbursement claim made by

or on behalf of a clinic that is required to be licensed . . . but that is not so licensed, or

that is otherwise operating in violation of this part . . . is an unlawful charge.” See Fla.

Stat. § 400.9935(3).

II.    Defendants’ Interrelated Fraudulent Schemes

A.     The Fraudulent Operation of the Clinic Defendants Without Legitimate Medical
       Directors

       15.    Because the Clinic Defendants were subject to the Clinic Act, Ramos,

Lanza Diaz, Reyes, Rodriguez-Suarez, Roque, Montes, Campos-Garcia, Rubio, Moran,

Romero, and Del Sol Perez (collectively the “Clinic Owner Defendants”) could not




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operate the Clinic Defendants unless licensed physicians were employed as the medical

directors at the Clinic Defendants. However, if the Clinic Owner Defendants retained

legitimate physicians to serve as the Clinic Defendants’ medical directors, any such

legitimate physicians actually would be obligated to fulfill the statutory requirements

applicable to a clinic medical director, which would impede the Defendants’

interrelated schemes, as described herein.

      16.     Accordingly:

      (i)     Ramos and Lanza Diaz, Reyes, Rodriguez-Suarez, and Roque, Montes, and
              Campos-Garcia retained Zeya, a licensed physician who was willing – in
              exchange for compensation – to falsely pose as the legitimate medical
              director at JRL Rehabilitation, Palm Wellness, Rehab & Healthcare, and
              Robust Pain, respectively;

      (ii)    Rubio and Moran retained Cvik, a licensed physician who was willing – in
              exchange for compensation – to falsely pose as the legitimate medical
              director at 7520 Rehabilitation and Tampa Bay Rehabilitation,
              respectively; and

      (iii)   Rubio and Romero and Del Sol Perez retained Fossi, a licensed physician
              who was willing – in exchange for compensation – to falsely pose as the
              legitimate medical director at Tampa Bay Rehabilitation and Seminole
              Care, respectively.

      17.     However, Zeya, Cvik, and Fossi (collectively the “Medical Director

Defendants”) never genuinely served as medical directors for the respective Clinic

Defendants. Instead, from the beginning of each of their associations with the

respective Clinic Defendants, they ceded all day-to-day decision-making and oversight

regarding health care services to the respective Clinic Owner Defendants and their

associates.




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        18.    As set forth herein, in keeping with the fact that the Medical Director

 Defendants never legitimately served as the medical directors at the Clinic

 Defendants, the Medical Director Defendants: (i) never ensured that all health care

 practitioners at the Clinic Defendants had active appropriate certification or licensure

 for the level of care being provided; (ii) never conducted systematic reviews of the

 Clinic Defendants’ billings to ensure that the billings were not fraudulent or unlawful;

 and (iii) never even made any attempt to discover the fraudulent and unlawful

 charges submitted through the Clinic Defendants, much less take any immediate

 corrective action. See Fla. Stat. § 400.9935(1).

        19.    In further keeping with the fact that Zeya never legitimately served as

 medical director at either JRL Rehabilitation, Palm Wellness, Rehab & Healthcare, or

 Robust Pain, Zeya simultaneously: (i) purported to serve as medical director at all

 four clinics; and (ii) purported to personally perform, or at least directly supervise, a

 massive number of individual health care services for all of the Clinic Defendants, as

 well as for other clinics in Florida.

        20.    It is impossible that Zeya could have simultaneously personally

 performed, or even just directly supervised, such a massive number of individual

 health care services for all the Clinic Defendants, as well as for other clinics, while also

 fulfilling his medical director role at JRL Rehabilitation, Palm Wellness, Rehab &

 Healthcare, and Robust Pain.

        21.    The Clinic Owner Defendants used the façade of the Medical Director

 Defendants’ phony “appointments” as the Clinic Defendants’ respective “medical



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 directors” to do indirectly what they were forbidden from doing directly – namely,

 and as set forth more fully herein: (i) to operate health care clinics without legitimate

 medical directors; (ii) to engage in unlicensed medical decision-making with respect

 to the Insureds who sought treatment at the Clinic Defendants; (iii) to permit health

 care services to be provided at the Clinic Defendants by individuals who lacked the

 proper licensure to perform the services; and (iv) to use the Clinic Defendants as

 vehicles to submit a massive amount of fraudulent and unlawful PIP billing to GEICO

 and other insurers.

       22.    The Medical Director Defendants unlawfully permitted the Clinic Owner

 Defendants to dictate every aspect of the manner in which Insureds would be treated

 at the respective Clinic Defendants, and to dictate every aspect of the manner in which

 health care services at these clinics would be billed to GEICO and other insurers,

 because they sought to continue profiting from the fraudulent billing submitted

 through these clinics.

 B.    The Fraudulent Misrepresentations Regarding the Identities of the Health Care
       Providers Rendering Services at the Clinic Defendants

       23.    Each of the Defendants caused GEICO to be billed for a limited range of

 Fraudulent Services, namely purported: (i) initial patient examinations; (ii) follow-up

 patient examinations; and (iii) physical therapy services. As set forth in Exhibits “1”

 – “7”, the purported physical therapy services constituted the vast majority of the

 Fraudulent Services billed through each of the Clinic Defendants to GEICO.




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       24.    All of the “physical therapy” services that Defendants purported to

 provide between at least 2013 and the present were performed – to the extent that

 they were performed at all – by completely unsupervised massage therapists including:

 (i) Lanza Diaz, Couve, and Torres at JRL Rehabilitation; (ii) Reyes, Ortega, and Suarez

 at Palm Wellness; (iii) Roque and Rojas at Rehab & Healthcare; (iv) Roque at Robust

 Pain; (v) Alvarez at 7520 Rehabilitation; (vi) Caballero at Tampa Bay Rehabilitation;

 and (vii) Del Sol Perez, Dominguez, and Bond at Seminole Care.

       25.    Lanza Diaz, Couve, Torres, Reyes, Ortega, Suarez, Rojas, Roque, Alvarez,

 Caballero, Del Sol Perez, Dominguez, and Bond (collectively the “Massage Therapist

 Defendants”) were only licensed as massage therapists. The Massage Therapist

 Defendants were never licensed as physical therapists, physicians, or chiropractors.

       26.    The Defendants were well-aware of the fact that health care clinics such

 as the Clinic Defendants could not legally recover PIP Benefits for “physical therapy”

 or any other kinds of health care services performed by unsupervised massage

 therapists such as the Massage Therapist Defendants.

       27.    Accordingly, in 2013, the Defendants began to falsely represent – in a

 substantial majority of the bills for “physical therapy” services that they submitted or

 caused to be submitted through the respective Clinic Defendants to GEICO – that Zeya,

 a licensed physician, had either personally performed or directly supervised the

 putative physical therapy services.

       28.    In reality, Zeya neither performed nor supervised any of the physical

 therapy services that were billed through the Clinic Defendants to GEICO.



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       29.    In keeping with the fact that Zeya neither performed nor directly

 supervised any of the physical therapy services that were billed through the Clinic

 Defendants to GEICO, Zeya – who was between approximately 82 and 90 years old

 during the relevant time – often purported to personally perform or directly supervise

 more than 20, 30, or even 40 hours of “physical therapy” services for GEICO Insureds

 on individual dates, often at several of the Clinic Defendants, and at several different

 locations, per day.

       30.    For example:

       (i)    On December 28, 2015, Rehab & Healthcare, Rodriguez-Suarez, and
              Zeya purported to provide at least 36 individual physical therapy
              services to at least seven individual Insureds, and falsely contended in
              the resulting bills to GEICO that Zeya personally performed or at least
              directly supervised every one of those treatments. What is more, those
              putative treatments included at least 6.25 hours of physical therapy
              services that required direct, one-on-one patient contact between the
              treating provider and the Insureds throughout the services. That same
              day, Zeya also purported to personally perform, or at least directly
              supervise at least: (a) three 45-minute new patient examinations that
              were performed on three GEICO Insureds at JRL Rehabilitation; and (b)
              122 additional physical therapy services purportedly provided to at
              least 20 additional GEICO Insureds at JRL Rehabilitation, Palm Wellness,
              Nova Care, Robust Pain, and West Florida, including at least 15.75 hours
              of physical therapy services that required direct, one-on-one patient
              contact between the treating provider and the Insureds throughout the
              services. In all, GEICO received billing for at least 24.25 hours of services
              that Zeya purported to personally perform, or at least directly supervise,
              on December 28, 2015.

       (ii)   On January 11, 2016, Palm Wellness, Reyes, and Zeya purported to
              provide at least 42 individual physical therapy services to at least seven
              individual Insureds, and falsely contended in the resulting bills to GEICO
              that Zeya personally performed or at least directly supervised every one
              of those treatments. What is more, those putative treatments included
              at least 5.25 hours of physical therapy services that required direct, one-
              on-one patient contact between the treating provider and the Insureds



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              throughout the services. That same day, Zeya also purported to
              personally perform, or at least directly supervise at least: (a) two 45-
              minute new patient examinations and one 40-minute follow-up
              examination that were performed on three GEICO Insureds at JRL
              Rehabilitation and Rehab & Healthcare; and (b) 103 additional physical
              therapy services purportedly provided to at least 17 additional GEICO
              Insureds at JRL Rehabilitation, Nova Care, Robust Pain, Rehab &
              Healthcare, and West Florida, including at least 15 hours of physical
              therapy services that required direct, one-on-one patient contact
              between the treating provider and the Insureds throughout the services.
              In all, GEICO received billing for at least 22.25 hours of services that Zeya
              purported to personally perform, or at least directly supervise, on
              January 11, 2016.

      (iii)   On April 25, 2016, Rehab & Healthcare, Rodriguez-Suarez, and Zeya
              purported to provide at least 47 individual physical therapy services to
              at least seven individual Insureds, and falsely contended in the resulting
              bills to GEICO that Zeya personally performed or at least directly
              supervised every one of those treatments. What is more, those putative
              treatments included at least 8.5 hours of physical therapy services that
              required direct, one-on-one patient contact between the treating
              provider and the Insureds throughout the services. That same day, Zeya
              also purported to personally perform, or at least directly supervise at
              least 135 additional physical therapy services purportedly provided to
              at least 19 additional GEICO Insureds at JRL Rehabilitation, Nova Care,
              Palm Wellness, and West Florida, including at least 16.25 hours of
              physical therapy services that required direct, one-on-one patient
              contact between the treating provider and the Insureds throughout the
              services. In all, GEICO received billing for at least 24.75 hours of services
              that Zeya purported to personally perform, or at least directly supervise,
              on April 25, 2016.

      (iv)    On October 4, 2016, JRL Rehabilitation, Ramos, and Zeya purported to
              provide at least 60 individual physical therapy services to at least nine
              individual Insureds, and falsely contended in the resulting bills to GEICO
              that Zeya personally performed or at least directly supervised every one
              of those treatments. What is more, those putative treatments included
              at least 9.75 hours of physical therapy services that required direct, one-
              on-one patient contact between the treating provider and the Insureds
              throughout the services. That same day, Zeya also purported to
              personally perform, or at least directly supervise at least 79 additional
              physical therapy services purportedly provided to at least 12 additional
              GEICO Insureds at Rehab & Healthcare, Nova Care, and Palm Wellness,



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             including at least 13.25 hours of physical therapy services that required
             direct, one-on-one patient contact between the treating provider and
             the Insureds throughout the services. In all, GEICO received billing for at
             least 23 hours of services that Zeya purported to personally perform, or
             at least directly supervise, on October 4, 2016.

      (v)    On December 2, 2016, JRL Rehabilitation, Ramos, and Zeya purported to
             provide at least 91 individual physical therapy services to at least 13
             individual Insureds, and falsely contended in the resulting bills to GEICO
             that Zeya personally performed or at least directly supervised every one
             of those treatments. What is more, those putative treatments included
             at least 14 hours of physical therapy services that required direct, one-
             on-one patient contact between the treating provider and the Insureds
             throughout the services. That same day, Zeya also purported to
             personally perform, or at least directly supervise at least: (a) one 45-
             minute new patient examination and one 25-minute follow-up
             examination that were performed on two GEICO Insureds at JRL
             Rehabilitation; and (b) 100 additional physical therapy services
             purportedly provided to at least 14 additional GEICO Insureds at Rehab
             & Healthcare, Nova Care, West Florida, and Palm Wellness, including at
             least 13.5 hours of physical therapy services that required direct, one-
             on-one patient contact between the treating provider and the Insureds
             throughout the services. In all, GEICO received billing for at least 28
             hours of services that Zeya purported to personally perform, or at least
             directly supervise, on December 2, 2016.

      (vi)   On December 28, 2016, JRL Rehabilitation, Ramos, and Zeya purported
             to provide at least 92 individual physical therapy services to at least 14
             individual Insureds, and falsely contended in the resulting bills to GEICO
             that Zeya personally performed or at least directly supervised every one
             of those treatments. What is more, those putative treatments included
             at least 15 hours of physical therapy services that required direct, one-
             on-one patient contact between the treating provider and the Insureds
             throughout the services. That same day, Zeya also purported to
             personally perform, or at least directly supervise at least: (a) one 25-
             minute follow-up examination and one 15-minute follow-up
             examination that were performed on two GEICO Insureds at Rehab &
             Healthcare and JRL Rehabilitation; and (b) 124 additional physical
             therapy services purportedly provided to at least 16 additional GEICO
             Insureds at Rehab & Healthcare, Nova Care, and Palm Wellness,
             including at least 19.25 hours of physical therapy services that required
             direct, one-on-one patient contact between the treating provider and
             the Insureds throughout the services. In all, GEICO received billing for at



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             least 34.25 hours of services that Zeya purported to personally perform,
             or at least directly supervise, on December 28, 2016.

      (vii) On January 10, 2017, JRL Rehabilitation, Ramos, and Zeya purported to
            provide at least 86 individual physical therapy services to at least 13
            individual Insureds, and falsely contended in the resulting bills to GEICO
            that Zeya personally performed or at least directly supervised every one
            of those treatments. What is more, those putative treatments included
            at least 13.75 hours of physical therapy services that required direct,
            one-on-one patient contact between the treating provider and the
            Insureds throughout the services. That same day, Zeya also purported to
            personally perform, or at least directly supervise at least: (a) one 45-
            minute new patient examination that was performed on a GEICO
            Insured at Rehab & Healthcare; and (b) 119 additional physical therapy
            services purportedly provided to at least 17 additional GEICO Insureds
            at Rehab & Healthcare, Nova Care, and Palm Wellness, including at least
            17.25 hours of physical therapy services that required direct, one-on-
            one patient contact between the treating provider and the Insureds
            throughout the services. In all, GEICO received billing for at least 31.75
            hours of services that Zeya purported to personally perform, or at least
            directly supervise, on January 10, 2017.

      (viii) On March 20, 2017, Palm Wellness, Reyes, and Zeya purported to
             provide at least 66 individual physical therapy services to at least 11
             individual Insureds, and falsely contended in the resulting bills to GEICO
             that Zeya personally performed or at least directly supervised every one
             of those treatments. What is more, those putative treatments included
             at least 8.25 hours of physical therapy services that required direct, one-
             on-one patient contact between the treating provider and the Insureds
             throughout the services. That same day, Zeya also purported to
             personally perform, or at least directly supervise at least 77 additional
             physical therapy services purportedly provided to at least 12 additional
             GEICO Insureds at JRL Rehabilitation, West Florida, and Rehab &
             Healthcare, including at least 12.5 hours of physical therapy services
             that required direct, one-on-one patient contact between the treating
             provider and the Insureds throughout the services. In all, GEICO
             received billing for at least 20.75 hours of services that Zeya purported
             to personally perform, or at least directly supervise, on March 20, 2017.

      (ix)   On April 24, 2017, JRL Rehabilitation, Ramos, and Zeya purported to
             provide at least 46 individual physical therapy services to at least six
             individual Insureds, and falsely contended in the resulting bills to GEICO
             that Zeya personally performed or at least directly supervised every one



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             of those treatments. What is more, those putative treatments included
             at least 6.75 hours of physical therapy services that required direct, one-
             on-one patient contact between the treating provider and the Insureds
             throughout the services. That same day, Zeya also purported to
             personally perform, or at least directly supervise at least 97 additional
             physical therapy services purportedly provided to at least 16 additional
             GEICO Insureds at 7520 Rehabilitation, West Florida, Palm Wellness,
             and Rehab & Healthcare, including at least 14.5 hours of physical
             therapy services that required direct, one-on-one patient contact
             between the treating provider and the Insureds throughout the services.
             In all, GEICO received billing for at least 21.25 hours of services that Zeya
             purported to personally perform, or at least directly supervise, on April
             24, 2017.

      (x)    On September 5, 2017, JRL Rehabilitation, Ramos, and Zeya purported
             to provide at least 103 individual physical therapy services to at least 14
             individual Insureds, and falsely contended in the resulting bills to GEICO
             that Zeya personally performed or at least directly supervised every one
             of those treatments. What is more, those putative treatments included
             at least 14.75 hours of physical therapy services that required direct,
             one-on-one patient contact between the treating provider and the
             Insureds throughout the services. That same day, Zeya also purported to
             personally perform, or at least directly supervise: (a) two 25-minute
             patient examinations that were performed on two additional GEICO
             Insureds at Rehab & Healthcare; and (b) at least 51 additional physical
             therapy services purportedly provided to at least 9 additional GEICO
             Insureds at 7520 Rehabilitation, West Florida, Tampa Bay
             Rehabilitation, Palm Wellness, and Rehab & Healthcare, including at
             least 7.25 hours of physical therapy services that required direct, one-
             on-one patient contact between the treating provider and the Insureds
             throughout the services. In all, GEICO received billing for at least 23
             hours of services that Zeya purported to personally perform, or at least
             directly supervise, on September 5, 2017.

      (xi)   On October 2, 2018, Rehab & Healthcare, Rodriguez-Suarez, and Zeya
             purported to provide at least 66 individual physical therapy services to
             at least ten individual Insureds, and falsely contended in the resulting
             bills to GEICO that Zeya personally performed or at least directly
             supervised every one of those treatments. What is more, those putative
             treatments included at least 11.5 hours of physical therapy services that
             required direct, one-on-one patient contact between the treating
             provider and the Insureds throughout the services. That same day, Zeya
             also purported to personally perform, or at least directly supervise at



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            least 123 additional physical therapy services purportedly provided to
            at least 20 additional GEICO Insureds at 7520 Rehabilitation, Palm
            Wellness, Tampa Bay Rehabilitation, Robust Pain, and JRL
            Rehabilitation, including at least 16.25 hours of physical therapy
            services that required direct, one-on-one patient contact between the
            treating provider and the Insureds throughout the services. In all, GEICO
            received billing for at least 27.75 hours of services that Zeya purported
            to personally perform, or at least directly supervise, on October 2, 2018.

      (xii) On November 5, 2018, Rehab & Healthcare, Rodriguez-Suarez, and Zeya
            purported to provide at least 60 individual physical therapy services to
            at least ten individual Insureds, and falsely contended in the resulting
            bills to GEICO that Zeya personally performed or at least directly
            supervised every one of those treatments. What is more, those putative
            treatments included at least 12.5 hours of physical therapy services that
            required direct, one-on-one patient contact between the treating
            provider and the Insureds throughout the services. That same day, Zeya
            also purported to personally perform, or at least directly supervise at
            least: (a) one 30-minute patient examination that was performed on one
            GEICO Insured at Robust Pain; and (b) at least 109 additional physical
            therapy services purportedly provided to at least 20 additional GEICO
            Insureds at 7520 Rehabilitation, JRL Rehabilitation, West Florida,
            Tampa Bay Rehabilitation, Robust Pain, and Palm Wellness, including at
            least 15.25 hours of physical therapy services that required direct, one-
            on-one patient contact between the treating provider and the Insureds
            throughout the services. In all, GEICO received billing for at least 28.25
            hours of services that Zeya purported to personally perform, or at least
            directly supervise, on November 5, 2018.

      (xiii) On December 12, 2018, Rehab & Healthcare, Rodriguez-Suarez, and
             Zeya purported to provide at least 56 individual physical therapy
             services to at least eight individual Insureds, and falsely contended in
             the resulting bills to GEICO that Zeya personally performed or at least
             directly supervised every one of those treatments. What is more, those
             putative treatments included at least ten hours of physical therapy
             services that required direct, one-on-one patient contact between the
             treating provider and the Insureds throughout the services. That same
             day, Zeya also purported to personally perform, or at least directly
             supervise at least: (a) one 30-minute patient examination, one 25-
             minute patient examination, and one 5-minute patient examination that
             were performed on three GEICO Insureds at JRL Rehabilitation, Robust
             Pain, and Tampa Bay Rehabilitation; and (b) 168 additional physical
             therapy services purportedly provided to at least 26 additional GEICO



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            Insureds at 7520 Rehabilitation, Palm Wellness, Tampa Bay
            Rehabilitation, Seminole Care, West Florida, Robust Pain, and JRL
            Rehabilitation, including at least 22 hours of physical therapy services
            that required direct, one-on-one patient contact between the treating
            provider and the Insureds throughout the services. In all, GEICO
            received billing for at least 33 hours of services that Zeya purported to
            personally perform, or at least directly supervise, on December 12,
            2018.

      (xiv) On January 24, 2019, JRL Rehabilitation, Ramos, and Zeya purported to
            provide at least 119 individual physical therapy services to at least 14
            individual Insureds, and falsely contended in the resulting bills to GEICO
            that Zeya personally performed or at least directly supervised every one
            of those treatments. What is more, those putative treatments included
            at least 17 hours of physical therapy services that required direct, one-
            on-one patient contact between the treating provider and the Insureds
            throughout the services. That same day, Zeya also purported to
            personally perform, or at least directly supervise at least: (a) two 30-
            minute patient examinations and one 5-minute patient examination that
            were performed on three GEICO Insureds at JRL Rehabilitation and
            Seminole Care; and (b) at least 192 additional physical therapy services
            purportedly provided to at least 32 additional GEICO Insureds at 7520
            Rehabilitation, Rehab & Healthcare, Seminole Rehabilitation, Tampa Bay
            Rehabilitation, Robust Pain, and Palm Wellness, including at least 28.25
            hours of physical therapy services that required direct, one-on-one
            patient contact between the treating provider and the Insureds
            throughout the services. In all, GEICO received billing for at least 47.25
            hours of services that Zeya purported to personally perform, or at least
            directly supervise, on January 24, 2019.

      (xv) On February 4, 2019, JRL Rehabilitation, Ramos, and Zeya purported to
           provide at least 78 individual physical therapy services to at least ten
           individual Insureds, and falsely contended in the resulting bills to GEICO
           that Zeya personally performed or at least directly supervised every one
           of those treatments. What is more, those putative treatments included
           at least 12 hours of physical therapy services that required direct, one-
           on-one patient contact between the treating provider and the Insureds
           throughout the services. That same day, Zeya also purported to
           personally perform, or at least directly supervise at least: (a) one 15-
           minute patient examination and one 5-minute patient examination that
           were performed on two GEICO Insureds at Rehab & Healthcare and
           Seminole Care; and (b) 115 additional physical therapy services
           purportedly provided to at least 20 additional GEICO Insureds at 7520



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            Rehabilitation, West Florida, Tampa Bay Rehabilitation, Palm Wellness,
            Robust Pain, Seminole Rehabilitation, and Rehab & Healthcare,
            including at least 20 hours of physical therapy services that required
            direct, one-on-one patient contact between the treating provider and
            the Insureds throughout the services. In all, GEICO received billing for at
            least 32 hours of services that Zeya purported to personally perform, or
            at least directly supervise, on February 4, 2019.

      (xvi) On March 4, 2019, Rehab & Healthcare, Rodriguez-Suarez, and Zeya
            purported to provide at least 57 individual physical therapy services to
            at least eight individual Insureds, and falsely contended in the resulting
            bills to GEICO that Zeya personally performed or at least directly
            supervised every one of those treatments. What is more, those putative
            treatments included at least ten hours of physical therapy services that
            required direct, one-on-one patient contact between the treating
            provider and the Insureds throughout the services. That same day, Zeya
            also purported to personally perform, or at least directly supervise at
            least: (a) four 15-minute patient examinations and three 5-minute
            patient examinations that were performed on seven GEICO Insureds at
            7520 Rehabilitation and Seminole Care; and (b) 206 additional physical
            therapy services purportedly provided to at least 32 additional GEICO
            Insureds at 7520 Rehabilitation, Palm Wellness, Tampa Bay
            Rehabilitation, Max Health Wellness Corp (“Max Health”), West Florida,
            Seminole Rehabilitation, and JRL Rehabilitation, including at least 28.25
            hours of physical therapy services that required direct, one-on-one
            patient contact between the treating provider and the Insureds
            throughout the services. In all, GEICO received billing for at least 39.5
            hours of services that Zeya purported to personally perform, or at least
            directly supervise, on March 4, 2019.

      (xvii) On April 23, 2019, Rehab & Healthcare, Rodriguez-Suarez, and Zeya
             purported to provide at least 45 individual physical therapy services to
             at least six individual Insureds, and falsely contended in the resulting
             bills to GEICO that Zeya personally performed or at least directly
             supervised every one of those treatments. What is more, those putative
             treatments included at least 7.5 hours of physical therapy services that
             required direct, one-on-one patient contact between the treating
             provider and the Insureds throughout the services. That same day, Zeya
             also purported to personally perform, or at least directly supervise at
             least: (a) two 15-minute patient examinations that were performed on
             two GEICO Insureds at Rehab & Healthcare and Palm Wellness; and (b)
             142 additional physical therapy services purportedly provided to at
             least 22 additional GEICO Insureds at 7520 Rehabilitation, Palm



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            Wellness, Tampa Bay Rehabilitation, Robust Pain, Seminole
            Rehabilitation, and JRL Rehabilitation, including at least 19.5 hours of
            physical therapy services that required direct, one-on-one patient
            contact between the treating provider and the Insureds throughout the
            services. In all, GEICO received billing for at least 27.5 hours of services
            that Zeya purported to personally perform, or at least directly supervise,
            on April 23, 2019.

      (xviii) On May 1, 2019, Rehab & Healthcare, Rodriguez-Suarez, and Zeya
              purported to provide at least 63 individual physical therapy services to
              at least nine individual Insureds, and falsely contended in the resulting
              bills to GEICO that Zeya personally performed or at least directly
              supervised every one of those treatments. What is more, those putative
              treatments included at least 11 hours of physical therapy services that
              required direct, one-on-one patient contact between the treating
              provider and the Insureds throughout the services. That same day, Zeya
              also purported to personally perform, or at least directly supervise at
              least: (a) one 15-minute patient examination that was performed on a
              GEICO Insured at West Florida; and (b) 144 additional physical therapy
              services purportedly provided to at least 22 additional GEICO Insureds
              at 7520 Rehabilitation, Palm Wellness, Tampa Bay Rehabilitation,
              Robust Pain, West Florida, Seminole Rehabilitation, and JRL
              Rehabilitation, including at least 19.5 hours of physical therapy services
              that required direct, one-on-one patient contact between the treating
              provider and the Insureds throughout the services. In all, GEICO
              received billing for at least 27.25 hours of services that Zeya purported
              to personally perform, or at least directly supervise, on April 23, 2019.

      (xix) On June 11, 2019, 7520 Rehabilitation, Rubio, and Zeya purported to
            provide at least 72 individual physical therapy services to at least 12
            individual Insureds, and falsely contended in the resulting bills to GEICO
            that Zeya personally performed or at least directly supervised every one
            of those treatments. What is more, those putative treatments included
            at least nine hours of physical therapy services that required direct, one-
            on-one patient contact between the treating provider and the Insureds
            throughout the services. That same day, Zeya also purported to
            personally perform, or at least directly supervise at least: (a) three 30-
            minute patient examinations that were performed on three GEICO
            Insureds at 7520 Rehabilitation and Robust Pain; and (b) 131 additional
            physical therapy services purportedly provided to at least 19 additional
            GEICO Insureds at JRL Rehabilitation, Rehab & Healthcare, Seminole
            Rehabilitation, Tampa Bay Rehabilitation, and Robust Pain, including at
            least 21.25 hours of physical therapy services that required direct, one-



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              on-one patient contact between the treating provider and the Insureds
              throughout the services. In all, GEICO received billing for at least 32.5
              hours of services that Zeya purported to personally perform, or at least
              directly supervise, on June 11, 2019.

       (xx) On July 2, 2019, 7520 Rehabilitation, Rubio, and Zeya purported to
            provide at least 54 individual physical therapy services to at least nine
            individual Insureds, and falsely contended in the resulting bills to GEICO
            that Zeya personally performed or at least directly supervised every one
            of those treatments. What is more, those putative treatments included
            at least 6.75 hours of physical therapy services that required direct, one-
            on-one patient contact between the treating provider and the Insureds
            throughout the services. That same day, Zeya also purported to
            personally perform, or at least directly supervise at least: (a) one 25-
            minute patient examination that was performed on a GEICO Insured at
            Tampa Bay Rehabilitation; and (b) 103 additional physical therapy
            services purportedly provided to at least 16 additional GEICO Insureds
            at JRL Rehabilitation, Rehab & Healthcare, Seminole Rehabilitation,
            Tampa Bay Rehabilitation, and Robust Pain, including at least 18 hours
            of physical therapy services that required direct, one-on-one patient
            contact between the treating provider and the Insureds throughout the
            services. In all, GEICO received billing for at least 25 hours of services
            that Zeya purported to personally perform, or at least directly supervise,
            on July 2, 2019.

       31.    These are only representative examples. It is impossible that Zeya – who

 was advanced in age at the time, and simultaneously working or purporting to work

 at various other medical practices and clinics – routinely performed or directly

 supervised such a massive volume of physical therapy services on individual dates,

 often at multiple of the Clinic Defendants on individual dates.

       32.    Upon information and belief, the fraudulent billing for physical therapy

 services that Defendants submitted or caused to be submitted through the respective

 Clinic Defendants to GEICO constituted only a fraction of the total fraudulent billing

 for physical therapy services that the Defendants submitted through the respective




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 Clinic Defendants to all the automobile insurers in the Florida automobile insurance

 market.

       33.    It is extremely improbable, to the point of impossibility, that the

 Defendants only submitted fraudulent billing to GEICO, and that the Defendants did

 not simultaneously bill other automobile insurers.

       34.    Thus, upon information and belief, the impossible number of physical

 therapy services that Zeya purported to directly supervise or perform for GEICO

 Insureds at the Clinic Defendants (among other locations) on individual dates of

 service constituted only a fraction of the total number of physical therapy services

 that Zeya purported to directly supervise or perform at the respective Clinic

 Defendants, including for individuals insured by companies other than GEICO, on

 those same dates of service.

       35.    In keeping with the fact that the Medical Director Defendants never

 legitimately fulfilled their required duties as “medical directors” at any of the

 respective Clinic Defendants, each of the claims submitted by Defendants for physical

 therapy services identified in Exhibits “1” – “7” falsely represented that Zeya had

 performed or at least directly supervised the underlying physical therapy services, so

 as to create the false appearance that the services were eligible for PIP reimbursement.

 In fact, the underlying physical therapy services were not eligible for PIP

 reimbursement, because they had been performed – to the extent they were performed

 at all – by completely unsupervised massage therapists including: (i) Lanza Diaz,

 Couve, and Torres at JRL Rehabilitation; (ii) Reyes, Ortega, and Suarez at Palm



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 Wellness; (iii) Roque and Rojas at Rehab & Healthcare; (iv) Roque at Robust Pain; (v)

 Alvarez at 7520 Rehabilitation; (vi) Caballero at Tampa Bay Rehabilitation; and (vii)

 Del Sol Perez, Dominguez, and Bond at Seminole Care.

       36.     In the claims for physical therapy services identified in Exhibits “1” – “7”,

 the Defendants routinely fraudulently misrepresented that the physical therapy

 services were lawfully provided and reimbursable, when in fact they were neither

 lawfully provided nor reimbursable, because:

       (i)     the putative physical therapy services were performed – to the extent
               they were performed at all – by massage therapists without any
               legitimate supervision by anyone;

       (ii)    the respective Clinic Defendants could not lawfully recover PIP Benefits
               for the putative physical therapy services, because they were performed
               by completely unsupervised massage therapists in contravention of
               Florida law; and

       (iii)   the Defendants systematically fraudulently misrepresented that the
               physical therapy services were legitimately performed or supervised by
               Zeya.

 C.    The Defendants’ Fraudulent Treatment and Billing Protocols

       37.     In the claims identified in Exhibits “1” – “7”, virtually none of the

 Insureds whom the Defendants purported to treat suffered from any significant

 injuries or health problems resulting from the relatively minor accidents they

 experienced or purported to experience.

       38.     Even so – and in keeping with the fact that Zeya, Cvik, and Fossi never

 legitimately served as medical directors at the respective Clinic Defendants – the

 Defendants purported to subject virtually every Insured to a medically unnecessary




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 course of “treatment” pursuant to pre-determined, fraudulent protocols designed to

 maximize the billing that they could submit to insurers, including GEICO, rather than to

 treat or otherwise benefit the Insureds who purportedly were subjected to them.

 1.    The Fraudulent Charges for Initial Examinations

       39.     As a first step in Defendants’ fraudulent treatment and billing protocol,

 each of the Insureds in the claims identified in Exhibits “1” - “7” purportedly received

 an initial examination at the respective Clinic Defendants, with Zeya purporting to

 personally perform or directly supervise a substantial majority of the initial

 examinations in the claims identified in Exhibit “1” – “7”.

       40.     The purported initial examinations then were billed to GEICO in the

 following manner:

       (i)     in the claims identified in Exhibit “1”, JRL Rehabilitation, Ramos, Diaz,
               and Zeya billed GEICO under CPT codes 99203 and 99204 for each initial
               examination that Zeya purportedly provided at JRL Rehabilitation;

       (ii)    in the claims identified in Exhibit “2”, Palm Wellness, Reyes, and Zeya
               billed GEICO under CPT code 99204 for each initial examination that Zeya
               purportedly provided at Palm Wellness;

       (iii)   in the claims identified in Exhibit “3”, Rehab & Healthcare, Rodrigues-
               Suarez, and Zeya billed GEICO under CPT codes 99203 and 99204 for
               each initial examination that Zeya purportedly provided at Rehab &
               Healthcare;

       (iv)    in the claims identified in Exhibit “4”, Robust Pain, Rodrigues, Montes,
               Campos-Garcia, and Zeya billed GEICO under CPT code 99203 for each
               initial examination that Zeya purportedly provided at Robust Pain;

       (v)     in the claims identified in Exhibit “5”, 7520 Rehabilitation, Rubio, Cvik,
               Fossi, and Zeya billed GEICO under CPT code 99203 for each initial
               examination that Zeya purportedly provided at 7520 Rehabilitation;




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       (vi)   in the claims identified in Exhibit “6”, Tampa Bay Rehabilitation, Moran,
              Cvik, and Zeya billed GEICO under CPT codes 99203 and 99204 for each
              initial examination that Zeya purportedly provided at Tampa Bay
              Rehabilitation; and

       (vii) in the claims identified in Exhibit “7”, Seminole Care, Romero, Perez,
             Fossi, and Zeya billed GEICO under CPT code 99203 for each initial
             examination that Zeya purportedly provided at Seminole Care.

       41.    Pursuant to the American Medical Association’s CPT Assistant, which

 governs reimbursement of PIP claims, the use of CPT code 99204 to bill for an initial

 patient examination represents – among other things – that: (i) the patient presented

 with problems of moderate to high severity; (ii) the physician who conducted the

 examination spent at least 45 minutes of face-to-face time with the patient or the

 patient’s family during the examination; (iii) the physician who performed the

 examination conducted a “comprehensive” physical examination; and (iv) the

 physician who performed the examination engaged in “moderate complexity” medical

 decision-making in connection with the examination.

       42.    Pursuant to the CPT Assistant, the use of CPT code 99203 to bill for an

 initial patient examination represents – among other things – that: (i) the patient

 presented with problems of moderate severity; (ii) the physician who conducted the

 examination spent at least 30 minutes of face-to-face time with the patient or the

 patient’s family during the examination; (iii) the physician who performed the

 examination conducted a “detailed” physical examination; and (iv) the physician who

 performed the examination engaged in “low complexity” medical decision-making in

 connection with the examination.




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        43.    As set forth below, the charges for the initial examinations identified in

 Exhibits “1” - “7” were fraudulent in that they misrepresented the nature, extent, and

 results of the purported initial examinations.

 a.     Misrepresentations Regarding the Severity of the Insureds’ Presenting Problems

        44.    To the extent that the Insureds in the claims identified in Exhibits “1” –

 “7” had any presenting problems at all as the result of their typically-minor automobile

 accidents, the problems virtually always were low or minimal severity soft tissue

 injuries such as sprains and strains.

        45.    For instance, in the substantial majority of the claims identified in

 Exhibits “1” – “7” the Insureds did not seek treatment at any hospital as the result of

 their accidents. To the limited extent that the Insureds in the claims identified in

 Exhibits “1” – “7” did seek treatment at a hospital following their accidents, they

 virtually always were briefly observed on an outpatient basis, and discharged with

 nothing more serious than a minor soft tissue injury diagnosis.

        46.    Furthermore, in the substantial majority of the claims identified in

 Exhibits “1” – “7”, contemporaneous police reports indicated that the Insureds’ vehicles

 were drivable following the accidents, and that no one was seriously injured in the

 accidents, or injured at all.

        47.    Even so, in the claims for initial examinations identified in Exhibits “1” –

 “7”, the respective Clinic Defendants, respective Clinic Owner Defendants, respective

 Clinic Medical Director Defendants, and Zeya billed GEICO for the putative initial

 examinations using CPT codes 99203 and 99204, and thereby falsely represented that



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 the Insureds presented with problems of moderate severity or moderate to high

 severity. In fact, the Insureds’ problems were low or minimal severity soft tissue

 injuries such as sprains and strains, to the extent that they had any presenting

 problems as the result of any automobile accidents at all.

       48.     For example:

       (i)     On June 28, 2014, an Insured named OG was involved in an automobile
               accident. The contemporaneous police report indicated that the accident
               was a low speed, rear-end collision, and that OG’s vehicle was drivable
               following the accident. The police report further indicated that OG was
               not injured and did not receive medical treatment at the scene. In
               keeping with the fact that OG was not seriously injured, OG did not visit
               any hospital emergency room following the accident. To the extent that
               OG experienced any health problems at all as the result of the accident,
               they were of low or minimal severity. Even so, following a purported
               initial examination of OG on June 30, 2014, JRL Rehabilitation,
               Rodriguez-Suarez, and Zeya billed GEICO for the initial examination
               using CPT code 99204, and thereby falsely represented that the initial
               examination involved presenting problems of moderate to high severity.

       (ii)    On October 22, 2015, an Insured named AM was involved in an
               automobile accident. The contemporaneous police report indicated that
               the accident was a low speed collision, and that AM’s vehicle was
               drivable following the accident. The police report further indicated that
               AM was not injured and did not receive medical treatment at the scene.
               In keeping with the fact that AM was not seriously injured, AM did not
               visit any hospital emergency room following the accident. To the extent
               that AM experienced any health problems at all as the result of the
               accident, they were of low or minimal severity. Even so, following a
               purported initial examination of AM on October 30, 2015, JRL
               Rehabilitation, Rodriguez-Suarez, and Zeya billed GEICO for the initial
               examination using CPT code 99204, and thereby falsely represented that
               the initial examination involved presenting problems of moderate to
               high severity.


       (iii)   On February 16, 2016, an Insured named AF was involved in an
               automobile accident. The contemporaneous police report indicated that
               the accident was a low speed, rear-end collision, and that AF’s vehicle



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             was drivable following the accident. The police report further indicated
             that AF was not injured and did not receive medical treatment at the
             scene. In keeping with the fact that AF was not seriously injured, AF did
             not visit any hospital emergency room following the accident. To the
             extent that AF experienced any health problems at all as the result of the
             accident, they were of low or minimal severity. Even so, following a
             purported initial examination of AF on February 25, 2016, Palm
             Wellness, Reyes, and Zeya billed GEICO for the initial examination using
             CPT code 99204, and thereby falsely represented that the initial
             examination involved presenting problems of moderate to high severity.

      (iv)   On August 12, 2017, an Insured named LR was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a low speed, rear-end collision. The police report
             further indicated that LR was not injured and did not receive medical
             treatment at the scene. In keeping with the fact that LR was not seriously
             injured, LR did not visit any hospital emergency room following the
             accident. To the extent that LR experienced any health problems at all as
             the result of the accident, they were of low or minimal severity. Even so,
             following a purported initial examination of LR on August 18, 2017,
             Tampa Bay Rehabilitation, Moran, Cvik, and Zeya billed GEICO for the
             initial examination using CPT code 99204, and thereby falsely
             represented that the initial examination involved presenting problems
             of moderate to high severity.

      (v)    On January 19, 2018, an Insured named AG was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a low speed, rear-end collision. The police report
             further indicated that AG was not injured and did not receive medical
             treatment at the scene. In keeping with the fact that AG was not seriously
             injured, AG did not visit any hospital emergency room following the
             accident. To the extent that AG experienced any health problems at all
             as the result of the accident, they were of low or minimal severity. Even
             so, following a purported initial examination of AG on January 25, 2018,
             Palm Wellness, Reyes, and Zeya billed GEICO for the initial examination
             using CPT code 99204, and thereby falsely represented that the initial
             examination involved presenting problems of moderate to high severity.

      (vi)   On March 16, 2018, an Insured named CH was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed collision, and that CHs automobile was drivable
             following the accident. The police report further indicated that CH was
             not injured and did not receive medical treatment at the scene. In



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             keeping with the fact that CH was not seriously injured, CH did not visit
             any hospital emergency room following the accident. To the extent that
             CH experienced any health problems at all as the result of the accident,
             they were of low or minimal severity. Even so, following a purported
             initial examination of CH on March 22, 2018, Tampa Bay Rehabilitation,
             Moran, Cvik, and Zeya billed GEICO for the initial examination using CPT
             code 99204, and thereby falsely represented that the initial examination
             involved presenting problems of moderate to high severity.

      (vii) On August 3, 2018, an Insured named YC was involved in an automobile
            accident. The contemporaneous police report indicated that the accident
            was a low speed, minor collision with a pedestrian, and that YC’s vehicle
            was drivable following the accident. The police report further indicated
            that YC was not injured and did not receive medical treatment at the
            scene. In keeping with the fact that YC was not seriously injured, YC did
            not visit any hospital emergency room following the accident. To the
            extent that YC experienced any health problems at all as the result of the
            accident, they were of low or minimal severity. Even so, following a
            purported initial examination of YC on August 15, 2018, Robust Pain,
            Roque, Montes, and Zeya billed GEICO for the initial examination using
            CPT code 99203, and thereby falsely represented that the initial
            examination involved presenting problems of moderate severity.

      (viii) On January 2, 2019, an Insured named MO was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a low speed, rear-end collision. The police report
             further indicated that MO was not injured and refused medical attention
             at the scene. In keeping with the fact that MO was not seriously injured,
             MO did not visit any hospital emergency room following the accident. To
             the extent that MO experienced any health problems at all as the result
             of the accident, they were of low or minimal severity. Even so, following
             a purported initial examination of MO on January 4, 2019, 7520
             Rehabilitation, Rubio, Fossi, and Zeya billed GEICO for the initial
             examination using CPT code 99203, and thereby falsely represented that
             the initial examination involved presenting problems of moderate
             severity.

      (ix)   On April 27, 2019, an Insured named CM was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed, low-impact collision, and that CM’s vehicle was
             drivable following the accident. The police report further indicated that
             CM was not injured and did not complain of any pain at the scene. In
             keeping with the fact that CM was not seriously injured, CM did not visit



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              any hospital emergency room following the accident. To the extent that
              CM experienced any health problems at all as the result of the accident,
              they were of low or minimal severity. Even so, following a purported
              initial examination of CM on April 29, 2019, 7520 Rehabilitation, Rubio,
              Fossi, and Zeya billed GEICO for the initial examination using CPT code
              99203, and thereby falsely represented that the initial examination
              involved presenting problems of moderate severity.

       (x)    On September 4, 2019, an Insured named MEC was involved in an
              automobile accident. The contemporaneous police report indicated that
              the accident was a relatively minor, rear-end collision. The police report
              further indicated that MEC was not injured and did not receive medical
              treatment at the scene. In keeping with the fact that MEC was not
              seriously injured, MEC did not visit any hospital emergency room
              following the accident. To the extent that MEC experienced any health
              problems at all as the result of the accident, they were of low or minimal
              severity. Even so, following a purported initial examination of MEC on
              September 5, 2019, Seminole Care, Romero, Fossi, and Zeya billed GEICO
              for the initial examination using CPT code 99203, and thereby falsely
              represented that the initial examination involved presenting problems
              of moderate severity.

       49.    These are only representative examples. In the claims for initial

 examinations identified in Exhibits “1” – “7”, the respective Clinic Defendants, Clinic

 Owner Defendants, Clinic Medical Director Defendants, and Zeya virtually always

 falsely represented that the Insureds presented with problems of moderate severity or

 moderate to high severity in order to: (i) create a false basis for their charges for the

 examinations under CPT codes 99203 and 99204, because examinations billable under

 CPT codes 99203 and 99204 are reimbursable at a higher rate than examinations

 involving presenting problems of low severity, minimal severity, or no severity; and

 (ii) create a false basis for the laundry list of other Fraudulent Services that the

 Defendants purported to provide to the Insureds.




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 b.    Misrepresentations Regarding “Comprehensive” and “Detailed” Physical
       Examinations

       50.    In addition, in the claims for initial examinations identified in Exhibits “1”

 – “7”, when the respective Clinic Defendants, Clinic Owner Defendants, Clinic Medical

 Director Defendants, and Zeya billed GEICO for the putative initial examinations using

 CPT codes 99203 and 99204, they falsely represented that the physician who

 purported to conduct the examinations – namely Zeya – conducted “detailed” or

 “comprehensive” physical examinations of the Insureds who purportedly received the

 examinations.

       51.    In fact, with respect to the claims for initial examinations under CPT code

 99204 that are identified in Exhibits “1” – “7”, neither Zeya nor any other physician or

 healthcare provider associated with the Clinic Defendants ever conducted a

 “comprehensive” patient examination because: (i) pursuant to the CPT Assistant, a

 “comprehensive” physical examination requires – among other things – that the

 physician performing the examination document a general examination of multiple

 patient organ systems or a complete examination of a single patient organ system; but

 (ii) neither Zeya nor any other physician associated with the Clinic Defendants, ever

 documented a general examination of multiple patient organ systems or a complete

 examination of a single patient organ system.

       52.    In addition, with respect to the claims for initial examinations under CPT

 code 99203 that are identified in Exhibits “1” – “7”, neither Zeya nor any other

 physician or healthcare provider associated with the Clinic Defendants ever




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 conducted a “detailed” patient examination because: (i) pursuant to the CPT Assistant,

 a “detailed” physical examination requires – among other things – that the physician

 performing the examination document an extended examination of the affected body

 areas and other symptomatic or related organ systems; but (ii) neither Zeya nor any

 other physician associated with the Clinic Defendants, ever documented an extended

 examination of the affected body areas and other symptomatic or related organ

 systems.

       53.     For example:

       (i)     On December 20, 2013, JRL Rehabilitation, Ramos, and Zeya billed
               GEICO under CPT code 99204 for four initial examinations of four
               individual Insureds named AA, AJ, TJ, and ZS that Zeya purported to
               perform, and thereby represented that they had provided
               “comprehensive” physical examinations to AA, AJ, TJ, and ZS. However,
               Zeya did not document findings with respect to at least eight of the
               Insureds’ organ systems, nor did he document a “complete” examination
               of the Insureds’ musculoskeletal systems or any of the Insureds’ other
               organ systems.

       (ii)    On October 2, 2014, Rehab & Healthcare, Rodriguez-Suarez, and Zeya
               billed GEICO under CPT code 99204 for two initial examinations of two
               individual Insureds named RC and RC that Zeya purported to perform,
               and thereby represented that they had provided “comprehensive”
               physical examinations to RC and RC. However, Zeya did not document
               findings with respect to at least eight of the Insureds’ organ systems, nor
               did he document a “complete” examination of the Insureds’
               musculoskeletal systems or any of the Insureds’ other organ systems.

       (iii)   On March 31, 2015, Palm Wellness, Reyes, and Zeya billed GEICO under
               CPT code 99204 for two initial examinations of two individual Insureds
               named VG and RB that Zeya purported to perform, and thereby
               represented that they had provided “comprehensive” physical
               examinations to VG and RB. However, Zeya did not document findings
               with respect to at least eight of the Insureds’ organ systems, nor did he
               document a “complete” examination of the Insureds’ musculoskeletal
               systems or any of the Insureds’ other organ systems.



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      (iv)   On November 11, 2016, Rehab & Healthcare, Rodriguez-Suarez, and
             Zeya billed GEICO under CPT code 99204 for two initial examinations of
             two individual Insureds named BG and AV that Zeya purported to
             perform, and thereby represented that they had provided
             “comprehensive” physical examinations to BG and AV. However, Zeya
             did not document findings with respect to at least eight of the Insureds’
             organ systems, nor did he document a “complete” examination of the
             Insureds’ musculoskeletal systems or any of the Insureds’ other organ
             systems.

      (v)    On January 17, 2017, Palm Wellness, Reyes, and Zeya billed GEICO under
             CPT code 99204 for two initial examinations of two individual Insureds
             named FBP and CG that Zeya purported to perform, and thereby
             represented that they had provided “comprehensive” physical
             examinations to FBP and CG. However, Zeya did not document findings
             with respect to at least eight of the Insureds’ organ systems, nor did he
             document a “complete” examination of the Insureds’ musculoskeletal
             systems or any of the Insureds’ other organ systems.

      (vi)   On August 15, 2018, Robust Pain, Roque, Montes, and Zeya billed GEICO
             under CPT code 99203 for two initial examinations of two individual
             Insureds named LC and YC that Zeya purported to perform, and thereby
             represented that they had provided “detailed” physical examinations LC
             and YC. However, Zeya did not document an extended examination of
             the musculoskeletal systems of LC and YC despite the fact that – to the
             extent LC and YC had any complaints at all as the result of their
             automobile accidents – they were limited to minor musculoskeletal
             complaints.

      (vii) On October 11, 2018, 7520 Rehabilitation, Rubio, Fossi, and Zeya billed
            GEICO under CPT code 99203 for three initial examinations of three
            individual Insureds named TC, AR, and TM that Zeya purported to
            perform, and thereby represented that they had provided “detailed”
            physical examinations TC, AR, and TM. However, Zeya did not document
            an extended examination of the musculoskeletal systems of TC, AR, and
            TM despite the fact that – to the extent TC, AR, and TM had any
            complaints at all as the result of their automobile accidents – they were
            limited to minor musculoskeletal complaints.

      (viii) On December 26, 2018, Tampa Bay Rehabilitation, Moran, Cvik, and
             Zeya billed GEICO under CPT code 99203 for an initial examination of an
             Insured named YJS that Zeya purported to perform, and thereby



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              represented that they had provided a “detailed” physical examination to
              YJS. However, Zeya did not document an extended examination of the
              musculoskeletal system of YJS despite the fact that – to the extent YJS
              had any complaints at all as the result of his automobile accident – they
              were limited to minor musculoskeletal complaints.

       (ix)   On May 6, 2019, Seminole Care, Romero, and Zeya billed GEICO under
              CPT code 99203 for two initial examinations of two individual Insureds
              named JR and MR that Zeya purported to perform, and thereby
              represented that they had provided “detailed” physical examinations JR
              and MR. However, Zeya did not document an extended examination of
              the musculoskeletal systems of JR and MR despite the fact that – to the
              extent JR and MR had any complaints at all as the result of their
              automobile accidents – they were limited to minor musculoskeletal
              complaints.

       (x)    On September 5, 2019, Seminole Care, Perez, and Zeya billed GEICO
              under CPT code 99203 for two initial examinations of two individual
              Insureds named PC and MC that Zeya purported to perform, and thereby
              represented that they had provided “detailed” physical examinations PC
              and MC. However, Zeya did not document an extended examination of
              the musculoskeletal systems of PC and MC despite the fact that – to the
              extent PC and MC had any complaints at all as the result of their
              automobile accidents – they were limited to minor musculoskeletal
              complaints.

       54.    These are only representative examples. In the claims for initial

 examinations identified in Exhibits “1” – “7”, the respective Clinic Defendants, Clinic

 Owner Defendants, Clinic Medical Director Defendants, and Zeya routinely falsely

 represented that they provided “comprehensive” or “detailed” physical examinations

 to the Insureds in order to create a false basis for their charges for the examinations

 under CPT codes 99204 and 99203, because examinations billable under CPT codes

 99204 and 99203 are reimbursable at higher rates than examinations that are not

 “comprehensive” or “detailed”.

 c.    Misrepresentations Regarding the Extent of Medical Decision-Making



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        55.    Moreover, in the claims for initial examinations identified in Exhibits “1”

 – “7”, when the Clinic Defendants, Clinic Owner Defendants, Clinic Medical Director

 Defendants, and Zeya billed GEICO for putative initial examinations using CPT codes

 99204 and 99203, they falsely represented that the physician who purported to

 conduct the examinations – namely Zeya – engaged in some legitimate, moderate

 complexity or low complexity medical decision-making in connection with the

 examinations.

        56.    In actuality, the purported initial examinations did not involve any

 legitimate medical decision-making at all.

        57.    For instance, in the claims for initial examinations identified in Exhibits

 “1” – “7”: (i) the initial examinations did not involve the retrieval, review, or analysis of

 any meaningful amount of medical records, diagnostic tests, or other information; (ii)

 there was no risk of significant complications or morbidity – much less mortality – from

 the Insureds’ minor soft-tissue injury complaints, to the extent that they ever had any

 complaints arising from automobile accidents at all; and (iii) Zeya did not consider any

 significant number of diagnoses or treatment options for Insureds during the initial

 examinations, and instead – at the direction of the respective Clinic Defendants and

 respective Clinic Owner Defendants – falsely diagnosed virtually every Insured as

 having an “emergency medical condition” and provided a nearly identical, pre-

 determined sprain/strain or similar soft tissue injury “diagnosis” for every Insured.

        58.    For example:




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      (i)    On June 28, 2014, an Insured named OG was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed, rear-end collision, and that OG’s vehicle was drivable
             following the accident. The police report further indicated that OG was
             not injured and did not receive medical treatment at the scene. In
             keeping with the fact that OG was not seriously injured, OG did not visit
             any hospital emergency room following the accident. To the extent that
             OG experienced any health problems at all as the result of the accident,
             they were of low or minimal severity. On June 30, 2014, Zeya purported
             to conduct an initial examination of OG at JRL Rehabilitation. To the
             extent that Zeya performed the examination in the first instance, Zeya
             did not retrieve, review, or analyze any significant amount of medical
             records, diagnostic tests, or other information in connection with the
             examination. Moreover, Zeya did not consider any significant number of
             diagnoses or management options in connection with the examination.
             Instead, Zeya provided OG with the same, phony, list of soft tissue injury
             “diagnoses” that he provided to virtually every other Insured.
             Furthermore, neither OG’s presenting problems, nor the treatment plan
             provided to OG by Zeya, Ramos, and JRL Rehabilitation presented any
             risk of significant complications, morbidity, or mortality. To the
             contrary, OG did not need any significant treatment at all as a result of
             the accident, and the treatment plan provided by Zeya, Ramos, and JRL
             Rehabilitation consisted of medically unnecessary physical therapy
             services, which did not pose the least bit of risk to OG. Even so, Zeya,
             Ramos, and JRL Rehabilitation billed GEICO for the initial examination
             using CPT code 99204, and thereby falsely represented that Zeya
             engaged in some legitimate, moderate complexity medical decision-
             making during the purported examination.

      (ii)   On December 9, 2015, an Insured named MC was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a relatively minor collision, and that MC’s vehicle was
             drivable following the accident. The police report further indicated that
             MC was not injured and did not receive medical treatment at the scene.
             In keeping with the fact that MC was not seriously injured, MC did not
             visit any hospital emergency room following the accident. To the extent
             that MC experienced any health problems at all as the result of the
             accident, they were of low or minimal severity. On December 9, 2015,
             Zeya purported to conduct an initial examination of MC at Palm
             Wellness. To the extent that Zeya performed the examination in the first
             instance, Zeya did not retrieve, review, or analyze any significant
             amount of medical records, diagnostic tests, or other information in
             connection with the examination. Moreover, Zeya did not consider any



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              significant number of diagnoses or management options in connection
              with the examination. Instead, Zeya provided MC with the same, phony,
              list of soft tissue injury “diagnoses” that he provided to virtually every
              other Insured. Furthermore, neither MC’s presenting problems, nor the
              treatment plan provided to MC by Zeya, Reyes, and Palm Wellness
              presented any risk of significant complications, morbidity, or mortality.
              To the contrary, MC did not need any significant treatment at all as a
              result of the accident, and the treatment plan provided by Zeya, Reyes,
              and Palm Wellness consisted of medically unnecessary physical therapy
              services, which did not pose the least bit of risk to MC. Even so, Zeya,
              Reyes, and Palm Wellness billed GEICO for the initial examination using
              CPT code 99204, and thereby falsely represented that Zeya engaged in
              some legitimate, moderate complexity medical decision-making during
              the purported examination.

      (iii)   On February 16, 2016, an Insured named AF was involved in an
              automobile accident. The contemporaneous police report indicated that
              the accident was a low speed, rear-end collision, and that AF’s vehicle
              was drivable following the accident. The police report further indicated
              that AF was not injured and did not receive medical treatment at the
              scene. In keeping with the fact that AF was not seriously injured, AF did
              not visit any hospital emergency room following the accident. To the
              extent that AF experienced any health problems at all as the result of the
              accident, they were of low or minimal severity. On February 25, 2016,
              Zeya purported to conduct an initial examination of AF at Palm Wellness.
              To the extent that Zeya performed the examination in the first instance,
              Zeya did not retrieve, review, or analyze any significant amount of
              medical records, diagnostic tests, or other information in connection
              with the examination. Moreover, Zeya did not consider any significant
              number of diagnoses or management options in connection with the
              examination. Instead, Zeya provided AF with the same, phony, list of soft
              tissue injury “diagnoses” that he provided to virtually every other
              Insured. Furthermore, neither AF’s presenting problems, nor the
              treatment plan provided to AF by Zeya, Reyes, and Palm Wellness
              presented any risk of significant complications, morbidity, or mortality.
              To the contrary, AF did not need any significant treatment at all as a
              result of the accident, and the treatment plan provided by Zeya, Reyes,
              and Palm Wellness consisted of medically unnecessary physical therapy
              services, which did not pose the least bit of risk to AF. Even so, Zeya,
              Reyes, and Palm Wellness billed GEICO for the initial examination using
              CPT code 99204, and thereby falsely represented that Zeya engaged in
              some legitimate, moderate complexity medical decision-making during
              the purported examination.



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      (iv)   On August 12, 2017, an Insured named LR was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a low speed, rear-end collision. The police report
             further indicated that LR was not injured and did not receive medical
             treatment at the scene. In keeping with the fact that LR was not seriously
             injured, LR did not visit any hospital emergency room following the
             accident. To the extent that LR experienced any health problems at all as
             the result of the accident, they were of low or minimal severity. On
             August 18, 2017, Zeya purported to conduct an initial examination of LR
             at Tampa Bay Rehabilitation. To the extent that Zeya performed the
             examination in the first instance, Zeya did not retrieve, review, or
             analyze any significant amount of medical records, diagnostic tests, or
             other information in connection with the examination. Moreover, Zeya
             did not consider any significant number of diagnoses or management
             options in connection with the examination. Instead, Zeya provided LR
             with the same, phony, list of soft tissue injury “diagnoses” that he
             provided to virtually every other Insured. Furthermore, neither LR’s
             presenting problems, nor the treatment plan provided to LR by Zeya,
             Moran, Cvik, and Tampa Bay Rehabilitation presented any risk of
             significant complications, morbidity, or mortality. To the contrary, LR
             did not need any significant treatment at all as a result of the accident,
             and the treatment plan provided by Zeya, Moran, Cvik, and Tampa Bay
             Rehabilitation consisted of medically unnecessary physical therapy
             services, which did not pose the least bit of risk to LR. Even so, Zeya,
             Moran, Cvik, and Tampa Bay Rehabilitation billed GEICO for the initial
             examination using CPT code 99204, and thereby falsely represented that
             Zeya engaged in some legitimate, moderate complexity medical
             decision-making during the purported examination.

      (v)    On October 31, 2017, an Insured named MM was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a low speed, rear-end collision, and that MM’s vehicle
             was drivable following the accident. The police report further indicated
             that MM refused medical treatment at the scene. In keeping with the fact
             that MM was not seriously injured, MM did not visit any hospital
             emergency room following the accident. To the extent that MM
             experienced any health problems at all as the result of the accident, they
             were of low or minimal severity. On November 2, 2017, Zeya purported
             to conduct an initial examination of MM at Palm Wellness. To the extent
             that Zeya performed the examination in the first instance, Zeya did not
             retrieve, review, or analyze any significant amount of medical records,
             diagnostic tests, or other information in connection with the



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             examination. Moreover, Zeya did not consider any significant number of
             diagnoses or management options in connection with the examination.
             Instead, Zeya provided MM with the same, phony, list of soft tissue injury
             “diagnoses” that he provided to virtually every other Insured.
             Furthermore, neither MM’s presenting problems, nor the treatment plan
             provided to MM by Zeya, Reyes, and Palm Wellness presented any risk
             of significant complications, morbidity, or mortality. To the contrary,
             MM did not need any significant treatment at all as a result of the
             accident, and the treatment plan provided by Zeya, Reyes, and Palm
             Wellness consisted of medically unnecessary physical therapy services,
             which did not pose the least bit of risk to MM. Even so, Zeya, Reyes, and
             Palm Wellness billed GEICO for the initial examination using CPT code
             99204, and thereby falsely represented that Zeya engaged in some
             legitimate, moderate complexity medical decision-making during the
             purported examination.

      (vi)   On August 3, 2018, an Insured named YC was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed, minor collision with a pedestrian, and that YC’s vehicle
             was drivable following the accident. The police report further indicated
             that YC was not injured and did not receive medical treatment at the
             scene. In keeping with the fact that YC was not seriously injured, YC did
             not visit any hospital emergency room following the accident. To the
             extent that YC experienced any health problems at all as the result of the
             accident, they were of low or minimal severity. On August 15, 2018, Zeya
             purported to conduct an initial examination of YC at Robust Pain. To the
             extent that Zeya performed the examination in the first instance, Zeya
             did not retrieve, review, or analyze any significant amount of medical
             records, diagnostic tests, or other information in connection with the
             examination. Moreover, Zeya did not consider any significant number of
             diagnoses or management options in connection with the examination.
             Instead, Zeya provided YC with the same, phony, list of soft tissue injury
             “diagnoses” that he provided to virtually every other Insured.
             Furthermore, neither YC’s presenting problems, nor the treatment plan
             provided to YC by Zeya, Roque, Montes, and Robust Pain presented any
             risk of significant complications, morbidity, or mortality. To the
             contrary, YC did not need any significant treatment at all as a result of
             the accident, and the treatment plan provided by Zeya, Roque, Montes,
             and Robust Pain consisted of medically unnecessary physical therapy
             services, which did not pose the least bit of risk to YC. Even so, Zeya,
             Roque, Montes, and Robust Pain billed GEICO for the initial examination
             using CPT code 99203, and thereby falsely represented that Zeya




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            engaged in some legitimate, low complexity medical decision-making
            during the purported examination.

      (vii) On October 16, 2018, an Insured named RB was involved in an
            automobile accident. The contemporaneous police report indicated that
            the accident was a rear-end collision, and that RB’s vehicle was drivable
            following the accident. The police report further indicated that RB was
            not injured and did not receive medical treatment at the scene. In
            keeping with the fact that RB was not seriously injured, RB did not visit
            any hospital emergency room following the accident. To the extent that
            RB experienced any health problems at all as the result of the accident,
            they were of low or minimal severity. On October 18, 2018, Zeya
            purported to conduct an initial examination of RB at Rehab &
            Healthcare. To the extent that Zeya performed the examination in the
            first instance, Zeya did not retrieve, review, or analyze any significant
            amount of medical records, diagnostic tests, or other information in
            connection with the examination. Moreover, Zeya did not consider any
            significant number of diagnoses or management options in connection
            with the examination. Instead, Zeya provided RB with the same, phony,
            list of soft tissue injury “diagnoses” that he provided to virtually every
            other Insured. Furthermore, neither RB’s presenting problems, nor the
            treatment plan provided to RB by Zeya, Rodriguez-Suarez, and Rehab &
            Healthcare presented any risk of significant complications, morbidity, or
            mortality. To the contrary, RB did not need any significant treatment at
            all as a result of the accident, and the treatment plan provided by Zeya,
            Rodriguez-Suarez, and Rehab & Healthcare consisted of medically
            unnecessary physical therapy services, which did not pose the least bit
            of risk to RB. Even so, Zeya, Rodriguez-Suarez, and Rehab & Healthcare
            billed GEICO for the initial examination using CPT code 99204, and
            thereby falsely represented that Zeya engaged in some legitimate,
            moderate complexity medical decision-making during the purported
            examination.

      (viii) On April 27, 2019, an Insured named CM was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed, low-impact collision, and that CM’s vehicle was
             drivable following the accident. The police report further indicated that
             CM was not injured and did not complain of any pain at the scene. In
             keeping with the fact that CM was not seriously injured, CM did not visit
             any hospital emergency room following the accident. To the extent that
             CM experienced any health problems at all as the result of the accident,
             they were of low or minimal severity. On April 29, 2019, Zeya purported
             to conduct an initial examination of CM at 7520 Rehabilitation. To the



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             extent that Zeya performed the examination in the first instance, Zeya
             did not retrieve, review, or analyze any significant amount of medical
             records, diagnostic tests, or other information in connection with the
             examination. Moreover, Zeya did not consider any significant number of
             diagnoses or management options in connection with the examination.
             Instead, Zeya provided CM with the same, phony, list of soft tissue injury
             “diagnoses” that he provided to virtually every other Insured.
             Furthermore, neither CM’s presenting problems, nor the treatment plan
             provided to CM by Zeya, Rubio, Fossi, and 7520 Rehabilitation presented
             any risk of significant complications, morbidity, or mortality. To the
             contrary, CM did not need any significant treatment at all as a result of
             the accident, and the treatment plan provided by Zeya, Rubio, Fossi, and
             7520 Rehabilitation consisted of medically unnecessary physical
             therapy services, which did not pose the least bit of risk to CM. Even so,
             Zeya, Rubio, Fossi, and 7520 Rehabilitation billed GEICO for the initial
             examination using CPT code 99203, and thereby falsely represented that
             Zeya engaged in some legitimate, low complexity medical decision-
             making during the purported examination.

      (ix)   On May 20, 2019, an Insured named EF was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed collision. The police report further indicated that EF
             was not injured and did not receive medical treatment at the scene. In
             keeping with the fact that EF was not seriously injured, EF did not visit
             any hospital emergency room following the accident. To the extent that
             EF experienced any health problems at all as the result of the accident,
             they were of low or minimal severity. On May 30, 2019, Zeya purported
             to conduct an initial examination of EF at JRL Rehabilitation. To the
             extent that Zeya performed the examination in the first instance, Zeya
             did not retrieve, review, or analyze any significant amount of medical
             records, diagnostic tests, or other information in connection with the
             examination. Moreover, Zeya did not consider any significant number of
             diagnoses or management options in connection with the examination.
             Instead, Zeya provided EF with the same, phony, list of soft tissue injury
             “diagnoses” that he provided to virtually every other Insured.
             Furthermore, neither EF’s presenting problems, nor the treatment plan
             provided to EF by Zeya, Ramos, and JRL Rehabilitation presented any
             risk of significant complications, morbidity, or mortality. To the
             contrary, EF did not need any significant treatment at all as a result of
             the accident, and the treatment plan provided by Zeya, Ramos, and JRL
             Rehabilitation consisted of medically unnecessary physical therapy
             services, which did not pose the least bit of risk to EF. Even so, Zeya,
             Ramos, and JRL Rehabilitation billed GEICO for the initial examination



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              using CPT code 99204, and thereby falsely represented that Zeya
              engaged in some legitimate, moderate complexity medical decision-
              making during the purported examination.

       (x)    On September 4, 2019, an Insured named MEC was involved in an
              automobile accident. The contemporaneous police report indicated that
              the accident was a relatively minor, rear-end collision. The police report
              further indicated that MEC was not injured and did not receive medical
              treatment at the scene. In keeping with the fact that MEC was not
              seriously injured, MEC did not visit any hospital emergency room
              following the accident. To the extent that MEC experienced any health
              problems at all as the result of the accident, they were of low or minimal
              severity. On September 5, 2019, Zeya purported to conduct an initial
              examination of MEC at Seminole Care. To the extent that Zeya performed
              the examination in the first instance, Zeya did not retrieve, review, or
              analyze any significant amount of medical records, diagnostic tests, or
              other information in connection with the examination. Moreover, Zeya
              did not consider any significant number of diagnoses or management
              options in connection with the examination. Instead, Zeya provided MEC
              with the same, phony, list of soft tissue injury “diagnoses” that he
              provided to virtually every other Insured. Furthermore, neither MEC’s
              presenting problems, nor the treatment plan provided to MEC by Zeya,
              Romero, Fossi, and Seminole Care presented any risk of significant
              complications, morbidity, or mortality. To the contrary, MEC did not
              need any significant treatment at all as a result of the accident, and the
              treatment plan provided by Zeya, Romero, Fossi, and Seminole Care
              consisted of medically unnecessary physical therapy services, which did
              not pose the least bit of risk to MEC. Even so, Zeya, Romero, Fossi, and
              Seminole Care billed GEICO for the initial examination using CPT code
              99203, and thereby falsely represented that Zeya engaged in some
              legitimate, low complexity medical decision-making during the
              purported examination.

       59.    In keeping with the fact that these putative “diagnoses” were pre-

 determined and phony, Zeya – at the direction of the respective Clinic Defendants and

 respective Clinic Owner Defendants – frequently issued substantially identical, phony

 “diagnoses”, on or about the same date, to two or more insureds who had been involved

 in a the same underlying accident, and recommended a substantially identical course




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 of medically unnecessary “treatment” to the Insureds, despite the fact that they were

 differently situated.

        60.     For example:

        (i)     On April 1, 2015, two Insureds – EL and MP – were involved in the same
                automobile accident. Thereafter – incredibly – both Insureds presented
                at Rehab & Healthcare for initial examinations by Zeya on the exact same
                date, April 7, 2017. EL and MP were different ages, in different physical
                conditions, located in different positions in the vehicle, and experienced
                the impact from different positions in the vehicle. To the extent that EL
                and MP suffered any injuries at all in their accident, the injuries were
                different. Even so, at the conclusion of the purported initial
                examinations, Rehab & Healthcare and Zeya – at the direction of
                Rodriguez-Suarez – provided EL and MP with substantially identical,
                phony soft tissue injury “diagnoses”, and recommended a substantially
                identical course of medically unnecessary treatment to both of them.

        (ii)    On June 25, 2016, six Insureds – MF, AF, AFJ, KM, AFS and MM – were
                involved in the same automobile accident. Thereafter – incredibly – all
                six Insureds presented at JRL Rehabilitation for initial examinations by
                Zeya on the exact same date, June 29, 2018. MF, AF, AFJ, KM, AFS, and
                MM were different ages, in different physical conditions, located in
                different positions in the vehicle, and experienced the impact from
                different positions in the vehicle. To the extent that MF, AF, AFJ, KM, AFS,
                and MM suffered any injuries at all in their accident, the injuries were
                different. Even so, at the conclusion of the purported initial
                examinations, JRL Rehabilitation and Zeya – at the direction of Ramos –
                provided MF, AF, AFJ, KM, AFS, and MM with substantially identical,
                phony soft tissue injury “diagnoses”, and recommended a substantially
                identical course of medically unnecessary treatment to all six of them.

        (iii)   On May 14, 2017, three Insureds – EF, JGV, and MFQ – were involved in
                the same automobile accident. Thereafter – incredibly – all three
                Insureds presented at Rehab & Healthcare for initial examinations by
                Zeya on the exact same date, May 17, 2017. EF, JGV, and MFQ were
                different ages, in different physical conditions, located in different
                positions in the vehicle, and experienced the impact from different
                positions in the vehicle. To the extent that EF, JGV, and MFQ suffered any
                injuries at all in their accident, the injuries were different. Even so, at the
                conclusion of the purported initial examinations, Rehab & Healthcare
                and Zeya – at the direction of Rodrigues-Suarez – provided EF, JGV, and



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             MFQ with substantially identical, phony soft tissue injury “diagnoses”,
             and recommended a substantially identical course of medically
             unnecessary treatment to all three of them.

      (iv)   On December 11, 2017, two Insureds – LM and MC – were involved in
             the same automobile accident. Thereafter – incredibly – both Insureds
             presented at JRL Rehabilitation for initial examinations by Zeya on the
             exact same date, December 13, 2017. LM and MC were different ages, in
             different physical conditions, located in different positions in the
             vehicle, and experienced the impact from different positions in the
             vehicle. To the extent that LM and MC suffered any injuries at all in their
             accident, the injuries were different. Even so, at the conclusion of the
             purported initial examinations, JRL Rehabilitation and Zeya – at the
             direction of Ramos – provided LM and MC with substantially identical,
             phony soft tissue injury “diagnoses”, and recommended a substantially
             identical course of medically unnecessary treatment to both of them.

      (v)    On January 19, 2018, three Insureds – TP, AM, and AG – were involved
             in the same automobile accident. Thereafter – incredibly – all three
             Insureds presented at Palm Wellness for initial examinations by Zeya on
             the exact same date, January 25, 2018. TP, AM, and AG were different
             ages, in different physical conditions, located in different positions in the
             vehicle, and experienced the impact from different positions in the
             vehicle. To the extent that TP, AM, and AG suffered any injuries at all in
             their accident, the injuries were different. Even so, at the conclusion of
             the purported initial examinations, Palm Wellness and Zeya – at the
             direction of Reyes – provided TP, AM, and AG with substantially
             identical, phony soft tissue injury “diagnoses”, and recommended a
             substantially identical course of medically unnecessary treatment to all
             three of them.

      (vi)   On November 7, 2018, three Insureds – AG, DG, and KM – were involved
             in the same automobile accident. Thereafter – incredibly – all three
             Insureds presented at 7520 Rehabilitation for initial examinations by
             Zeya on the exact same date, November 9, 2018. AG, DG, and KM were
             different ages, in different physical conditions, located in different
             positions in the vehicle, and experienced the impact from different
             positions in the vehicle. To the extent that AG, DG, and KM suffered any
             injuries at all in their accident, the injuries were different. Even so, at the
             conclusion of the purported initial examinations, 7520 Rehabilitation
             and Zeya – at the direction of Rubio – provided AG, DG, and KM with
             substantially identical, phony soft tissue injury “diagnoses”, and




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             recommended a substantially identical course of medically unnecessary
             treatment to all three of them.

      (vii) On April 9, 2019, two Insureds – OQ and MQ – were involved in the same
            automobile accident. Thereafter – incredibly – both Insureds presented
            at Robust Pain for initial examinations by Zeya on the exact same date,
            April 11, 2019. OQ and MQ were different ages, in different physical
            conditions, located in different positions in the vehicle, and experienced
            the impact from different positions in the vehicle. To the extent that OQ
            and MQ suffered any injuries at all in their accident, the injuries were
            different. Even so, at the conclusion of the purported initial
            examinations, Robust Pain and Zeya – at the direction of Roque and
            Montes – provided OQ and MQ with substantially identical, phony soft
            tissue injury “diagnoses”, and recommended a substantially identical
            course of medically unnecessary treatment to both of them.

      (viii) On April 27, 2019, three Insureds – CM, CG, and YM – were involved in
             the same automobile accident. Thereafter – incredibly – all three
             Insureds presented at 7520 Rehabilitation for initial examinations by
             Zeya on the exact same date, April 29, 2019. CM, CG, and YM were
             different ages, in different physical conditions, located in different
             positions in the vehicle, and experienced the impact from different
             positions in the vehicle. To the extent that CM, CG, and YM suffered any
             injuries at all in their accident, the injuries were different. Even so, at the
             conclusion of the purported initial examinations, 7520 Rehabilitation
             and Zeya – at the direction of Rubio – provided CM, CG, and YM with
             substantially identical, phony soft tissue injury “diagnoses”, and
             recommended a substantially identical course of medically unnecessary
             treatment to all three of them.

      (ix)   On August 11, 2019, three Insureds – HS, OW, and OR – were involved in
             the same automobile accident. Thereafter – incredibly – all three
             Insureds presented at 7520 Rehabilitation for initial examinations by
             Zeya on the exact same date, August 14, 2019. HS, OW, and OR were
             different ages, in different physical conditions, located in different
             positions in the vehicle, and experienced the impact from different
             positions in the vehicle. To the extent that HS, OW, and OR suffered any
             injuries at all in their accident, the injuries were different. Even so, at the
             conclusion of the purported initial examinations, 7520 Rehabilitation
             and Zeya – at the direction of Rubio – provided HS, OW, and OR with
             substantially identical, phony soft tissue injury “diagnoses”, and
             recommended a substantially identical course of medically unnecessary
             treatment to all three of them.



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       (x)    On September 4, 2019, two Insureds – MEC and PMC– were involved in
              the same automobile accident. Thereafter – incredibly – both Insureds
              presented at Seminole Care for initial examinations by Zeya on the exact
              same date, September 5, 2019. MEC and PMC were different ages, in
              different physical conditions, located in different positions in the
              vehicle, and experienced the impact from different positions in the
              vehicle. To the extent that MEC and PMC suffered any injuries at all in
              their accident, the injuries were different. Even so, at the conclusion of
              the purported initial examinations, Seminole Care and Zeya – at the
              direction of Perez – provided MEC and PMC with substantially identical,
              phony soft tissue injury “diagnoses”, and recommended a substantially
              identical course of medically unnecessary treatment to both of them.

       61.    Based on these phony and pre-determined soft tissue injury “diagnoses”,

 the vast majority of the Insureds in the claims identified in Exhibits “1” – “7” were

 directed to return to one of the Clinic Defendants for medically unnecessary “physical

 therapy”, which was performed – to the extent that it was performed at all – by

 completely unsupervised massage therapists including: (i) Lanza Diaz, Couve, and

 Torres at JRL Rehabilitation; (ii) Reyes, Ortega, and Suarez at Palm Wellness; (iii)

 Roque and Rojas at Rehab & Healthcare; (iv) Roque at Robust Pain; (v) Alvarez at

 7520 Rehabilitation; (vi) Caballero at Tampa Bay Rehabilitation; and (vii) Del Sol

 Perez, Dominguez, and Bond at Seminole Care.

       62.    The false “diagnoses” contained within the initial examination reports

 were included to give the false impression that the initial examinations entailed some

 legitimate medical decision-making, to create a false basis for the charges under CPT

 codes 99204 and 99203, and to create a false justification for the other Fraudulent

 Services that the Defendants purported to provide to the Insureds.




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       63.     In the claims for initial examinations identified in Exhibits “1” – “7”, the

 respective Clinic Owner Defendants, Clinic Defendants, and Clinic Medical Director

 Defendants routinely fraudulently misrepresented that the examinations were

 lawfully provided and reimbursable, when in fact they were neither lawfully provided

 nor reimbursable, because:

       (i)     the putative examinations were illusory, with outcomes that were pre-
               determined to result in substantially-identical, phony “diagnoses” and
               treatment recommendations, regardless of the Insureds’ true individual
               circumstances and presentation;

       (ii)    the charges for the putative examinations misrepresented the nature
               and extent of the examinations; and

       (iii)   the Clinic Defendants never were eligible to collect PIP Benefits in
               connection with the examinations in the first instance, inasmuch as they
               unlawfully were operated without legitimate medical directors.

       64.     In this context, Zeya – who at all relevant times purported to serve as the

 “medical director” at JRL Rehabilitation, Palm Wellness, Rehab & Healthcare, and

 Robust Pain – did not, and could not have, “[c]onduct[ed] systematic reviews of clinic

 billings to ensure that the billings are not fraudulent or unlawful.” See Fla. Stat. §

 400.9935(1). Had Zeya done so, he would have observed and put a stop to these

 fraudulent charges for initial examinations.

       65.     Likewise, Cvik – who purported to serve as the “medical director” at

 7520 Rehabilitation and Tampa Bay Rehabilitation – and Fossi – who purported to

 serve as the “medical director” at 7520 Rehabilitation and Seminole Care – did not,

 and could not have, “[c]onduct[ed] systematic reviews of clinic billings to ensure that

 the billings are not fraudulent or unlawful.” See Fla. Stat. § 400.9935(1). Had Cvik and



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 Fossi done so, they would have observed and put a stop to these fraudulent charges

 for initial examinations.

 2.    The Fraudulent Charges for Follow-Up Examinations

       66.    In addition to the fraudulent initial examinations, most of the Insureds in

 the claims identified in Exhibits “1” - “7” purportedly received multiple, fraudulent

 follow-up examinations at the respective Clinic Defendants, with Zeya purporting to

 personally perform or directly supervise a substantial majority of the follow-up

 examinations in the claims identified in Exhibits “1” – “7”.

       67.    The purported follow-up examinations were then billed to GEICO

 through the Clinic Defendants, typically under CPT codes 99213 and 99214.

       68.    Pursuant to the CPT Assistant, the use of CPT code 99214 to bill for a

 follow-up examination represents – among other things – that: (i) the patient

 presented with problems of moderate to high severity; and (ii) the physician

 performed at least two of the following three components during the examination: (a)

 took a “detailed” patient history; (b) conducted a “detailed” physical examination; and

 (c) engaged in medical decision-making of “moderate complexity”.

       69.    Pursuant to the CPT Assistant, the use of CPT code 99213 to bill for a

 follow-up examination represents – among other things – that: (i) the patient

 presented with problems of low to moderate severity; and (ii) the physician performed

 at least two of the following three components during the examination: (a) took an

 “expanded problem focused” patient history; (b) conducted an “expanded problem




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 focused physical examination”; and (c) engaged in medical decision-making of “low

 complexity”.

       70.      As set forth below, the charges for the follow-up examinations identified

 in Exhibits “1” – “7” misrepresented the nature, extent, and results of the follow-up

 examinations.

 (i)   Misrepresentations Regarding the Severity of the Insureds’ Presenting Problems

       71.      To the extent that the Insureds in the claims identified in Exhibits “1” - “7”

 suffered any injuries at all in their automobile accidents, the injuries almost always

 were minor soft tissue injuries such as sprains and strains, which were of low or

 minimal severity, even at their onset.

       72.      Minor soft tissue injuries such as strains and sprains virtually always

 resolve after a short course of conservative treatment or no treatment at all. By the

 time the Insureds in the claims identified in Exhibits “1” - “7” presented for their

 putative follow-up examinations – typically weeks or even months after their minor

 accidents – the Insureds either did not have any genuine presenting problems at all as

 the result of their minor automobile accidents, or else their presenting problems were

 minimal.

       73.      Even so, in the claims for the follow-up examinations identified in Exhibits

 “1” - “7”, the Medical Director Defendants, the Clinic Defendants, and the Clinic Owner

 Defendants, made the following misrepresentations:

       (i)      when billing GEICO for putative follow-up examinations using CPT code
                99213 in the claims identified in Exhibits “1” - “7”, the Medical Director
                Defendants, the Clinic Defendants, and the Clinic Owner Defendants



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             falsely represented that the Insureds presented with problems of low to
             moderate severity, when in fact the Insureds’ problems were minimal
             severity soft tissue injuries such as sprains and strains, to the limited
             extent that they had any presenting problems at all; and

      (ii)   when billing GEICO for putative follow-up examinations using CPT code
             99214 in the claims identified in Exhibits “1” – “7”, the Medical Director
             Defendants, the Clinic Defendants, and the Clinic Owner Defendants
             falsely represented that the Insureds presented with problems of
             moderate to high severity, when in fact the Insureds’ problems were
             minimal severity soft tissue injuries such as sprains and strains, to the
             limited extent that they had any presenting problems at all.

      74.    For example:

      (i)    On June 28, 2014, an Insured named OG was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed, rear-end collision, and that OG’s vehicle was drivable
             following the accident. The police report further indicated that OG was
             not injured and did not receive medical treatment at the scene. In
             keeping with the fact that OG was not seriously injured, OG did not visit
             any hospital emergency room following the accident. To the extent that
             OG experienced any health problems at all as the result of the accident,
             they were of low or minimal severity at the outset, and either had
             completely resolved or were minimal by the time the Insured received a
             purported follow-up examination. Even so, following a purported
             follow-up examination of OG on August 8, 2014, JRL Rehabilitation,
             Ramos, and Zeya billed GEICO for the follow up examination using CPT
             code 99214 and thereby falsely represented that OG presented with
             problems of moderate to high severity.

      (ii)   On October 22, 2015, an Insured named AM was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a low speed collision, and that AM’s vehicle was
             drivable following the accident. The police report further indicated that
             AM was not injured and did not receive medical treatment at the scene.
             In keeping with the fact that AM was not seriously injured, AM did not
             visit any hospital emergency room following the accident. To the extent
             that AM experienced any health problems at all as the result of the
             accident, they were of low or minimal severity at the outset, and either
             had completely resolved or were minimal by the time the Insured
             received a purported follow-up examination. Even so, following a
             purported follow-up examination of AM on December 11, 2015, JRL



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              Rehabilitation, Ramos, and Zeya billed GEICO for the follow up
              examination using CPT code 99214 and thereby falsely represented that
              AM presented with problems of moderate to high severity.

      (iii)   On February 16, 2016, an Insured named AF was involved in an
              automobile accident. The contemporaneous police report indicated that
              the accident was a low speed, rear-end collision, and that AF’s vehicle
              was drivable following the accident. The police report further indicated
              that AF was not injured and did not receive medical treatment at the
              scene. In keeping with the fact that AF was not seriously injured, AF did
              not visit any hospital emergency room following the accident. To the
              extent that AF experienced any health problems at all as the result of the
              accident, they were of low or minimal severity at the outset, and either
              had completely resolved or were minimal by the time the Insured
              received a purported follow-up examination. Even so, following a
              purported follow-up examination of AF on January 27, 2016, Palm
              Wellness, Reyes, and Zeya billed GEICO for the follow up examination
              using CPT code 99214 and thereby falsely represented that AF
              presented with problems of moderate to high severity.

      (iv)    On May 24, 2016, an Insured named MM was involved in an automobile
              accident. The contemporaneous police report indicated that the accident
              was a relatively minor collision, and that MM’s vehicle was drivable
              following the accident. The police report further indicated that MM was
              not injured and did not receive medical treatment at the scene. In
              keeping with the fact that MM was not seriously injured, MM did not visit
              any hospital emergency room following the accident. To the extent that
              MM experienced any health problems at all as the result of the accident,
              they were of low or minimal severity at the outset, and either had
              completely resolved or were minimal by the time the Insured received a
              purported follow-up examination. Even so, following a purported
              follow-up examination of MM on August 15, 2016, Rehab & Healthcare,
              Rodriguez-Suarez, and Zeya billed GEICO for the follow up examination
              using CPT code 99214 and thereby falsely represented that MM
              presented with problems of moderate to high severity.

      (v)     On August 12, 2017, an Insured named LR was involved in an
              automobile accident. The contemporaneous police report indicated that
              the accident was a low speed, rear-end collision. The police report
              further indicated that LR was not injured and did not receive medical
              treatment at the scene. In keeping with the fact that LR was not seriously
              injured, LR did not visit any hospital emergency room following the
              accident. To the extent that LR experienced any health problems at all as



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             the result of the accident, they were of low or minimal severity at the
             outset, and either had completely resolved or were minimal by the time
             the Insured received a purported follow-up examination. Even so,
             following a purported follow-up examination of LR on September 29,
             2017, Tampa Bay Rehabilitation, Moran, Cvik, and Zeya billed GEICO for
             the follow up examination using CPT code 99214 and thereby falsely
             represented that LR presented with problems of moderate to high
             severity.

      (vi)   On August 3, 2018, an Insured named YC was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed, minor collision with a pedestrian, and that YC’s vehicle
             was drivable following the accident. The police report further indicated
             that YC was not injured and did not receive medical treatment at the
             scene. In keeping with the fact that YC was not seriously injured, YC did
             not visit any hospital emergency room following the accident. To the
             extent that YC experienced any health problems at all as the result of the
             accident, they were of low or minimal severity at the outset, and either
             had completely resolved or were minimal by the time the Insured
             received a purported follow-up examination. Even so, following a
             purported follow-up examination of YC on September 17, 2018, Robust
             Pain, Roque, Montes, and Zeya billed GEICO for the follow up
             examination using CPT code 99213 and thereby falsely represented that
             YC presented with problems of low to moderate severity.

      (vii) On October 16, 2018, an Insured named RB was involved in an
            automobile accident. The contemporaneous police report indicated that
            the accident was a rear-end collision, and that RB’s vehicle was drivable
            following the accident. The police report further indicated that RB was
            not injured and did not receive medical treatment at the scene. In
            keeping with the fact that RB was not seriously injured, RB did not visit
            any hospital emergency room following the accident. To the extent that
            RB experienced any health problems at all as the result of the accident,
            they were of low or minimal severity at the outset, and either had
            completely resolved or were minimal by the time the Insured received a
            purported follow-up examination. Even so, following a purported
            follow-up examination of RB on December 5, 2018, Rehab & Healthcare,
            Rodriguez-Suarez, and Zeya billed GEICO for the follow up examination
            using CPT code 99213 and thereby falsely represented that RB
            presented with problems of low to moderate severity.

      (viii) On November 12, 2018, an Insured named SF was involved in an
             automobile accident. The contemporaneous police report indicated that



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             the accident was a relatively minor collision. The police report further
             indicated that SF did not receive medical treatment at the scene. In
             keeping with the fact that SF was not seriously injured, SF did not visit
             any hospital emergency room following the accident. To the extent that
             SF experienced any health problems at all as the result of the accident,
             they were of low or minimal severity at the outset, and either had
             completely resolved or were minimal by the time the Insured received a
             purported follow-up examination. Even so, following a purported
             follow-up examination of SF on December 27, 2018, Seminole Care,
             Romero, Fossi, and Zeya billed GEICO for the follow up examination
             using CPT code 99213 and thereby falsely represented that SF presented
             with problems of low to moderate severity.

      (ix)   On January 2, 2019, an Insured named MO was involved in an
             automobile accident. The contemporaneous police report indicated that
             the accident was a low speed, rear-end collision. The police report
             further indicated that MO was not injured and refused medical attention
             at the scene. In keeping with the fact that MO was not seriously injured,
             MO did not visit any hospital emergency room following the accident. To
             the extent that MO experienced any health problems at all as the result
             of the accident, they were of low or minimal severity at the outset, and
             either had completely resolved or were minimal by the time the Insured
             received a purported follow-up examination. Even so, following a
             purported follow-up examination of MO on February 20, 2019, 7520
             Rehabilitation, Rubio, Fossi, and Zeya billed GEICO for the follow up
             examination using CPT code 99214 and thereby falsely represented that
             MO presented with problems of moderate to high severity.

      (x)    On April 27, 2019, an Insured named CM was involved in an automobile
             accident. The contemporaneous police report indicated that the accident
             was a low speed, low-impact collision, and that CM’s vehicle was
             drivable following the accident. The police report further indicated that
             CM was not injured and did not complain of any pain at the scene. In
             keeping with the fact that CM was not seriously injured, CM did not visit
             any hospital emergency room following the accident. To the extent that
             CM experienced any health problems at all as the result of the accident,
             they were of low or minimal severity at the outset, and either had
             completely resolved or were minimal by the time the Insured received a
             purported follow-up examination. Even so, following a purported
             follow-up examination of CM on June 20, 2019, 7520 Rehabilitation,
             Rubio, Fossi, and Zeya billed GEICO for the follow up examination using
             CPT code 99213 and thereby falsely represented that CM presented with
             problems of low to moderate severity.



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        75.   These are only representative examples. In virtually all of the claims for

 follow-up examinations identified in Exhibits “1” – “7”, the Clinic Defendants, Clinic

 Owner Defendants, and Medical Director Defendants falsely represented that the

 Insureds presented with problems of low to moderate severity or moderate to high

 severity, when in fact the Insureds either did not have any genuine presenting

 problems at all as the result of their minor automobile accidents at the time of the

 follow-up examinations, or else their presenting problems were minimal.

        76.   In the claims for follow-up examinations identified in Exhibits “1” – “7”,

 the Clinic Defendants, Clinic Owner Defendants, and Medical Director Defendants

 routinely falsely represented that the Insureds presented with problems of either low

 to moderate severity or moderate to high severity in order to: (i) create a false basis

 for their charges for the examinations under CPT codes 99213 or 99214, because

 examinations billable under CPT codes 99213 and 99214 are reimbursable at higher

 rates than examinations involving presenting problems of minimal severity, or no

 severity; and (ii) create a false basis for the laundry list of other Fraudulent Services

 that the Defendants purported to provide to the Insureds.

 (ii)   Misrepresentations Regarding the Nature, Extent, and Results of the Follow-Up
        Examinations

        77.   What is more, in the claims for follow-up examinations identified in

 Exhibits “1” – “7”, neither Zeya nor any other physician associated with the Clinic

 Defendants ever took any legitimate patient histories, conducted any legitimate

 physical examinations, or engaged in any legitimate medical decision-making at all.



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       78.    Rather, following the purported follow-up examinations, Zeya – at the

 direction of the respective Clinic Defendants and Clinic Owner Defendants – simply: (i)

 reiterated the false, boilerplate “diagnoses” from the Insureds’ initial examinations;

 and either (ii) referred the Insureds for even more medically unnecessary physical

 therapy services, despite the fact that the Insureds purportedly already had received

 extensive physical therapy services that supposedly had not been successful in

 resolving their purported pain symptoms; or (iii) discharged the Insureds from

 “treatment”, to the extent that their PIP Benefits had been exhausted.

       79.    The phony “follow-up examinations” that the Clinic Defendants, Clinic

 Owner Defendants, and Medical Director Defendants purported to provide to the

 Insureds in the claims identified in Exhibits “1” – “7” therefore were medically useless,

 and played no legitimate role in the treatment or care of the Insureds, because the

 putative “results” of the examinations were prearranged to comport with the

 medically unnecessary treatment plan that was pre-determined for each Insured

 from the moment they walked into the Clinic Defendants’ offices.

 3.    The Fraudulent Charges for Physical Therapy

       80.    In keeping with the fact that the purported “results” of the follow-up

 examinations were pre-determined, and had no legitimate connection to the Insureds’

 true medical circumstances or presentation:

       (i)    The JRL Rehabilitation Defendants caused the substantial majority of
              Insureds in the claims identified in Exhibit “1” to receive substantially
              identical “physical therapy” treatments for a substantially similar
              amount of time, regardless of the purported “outcome” of the
              examinations and previous physical therapy treatments, including: (a)



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              therapeutic exercises; (b) electrical stimulation therapy; (c) ultrasound
              therapy; (d) hot/cold packs; (e) neuromuscular reeducation; (f) manual
              therapy techniques; (g) contrast baths; (h) infrared therapy; (i)
              mechanical traction; and (j) vasopneumatic therapy.

      (ii)    The Palm Wellness Defendants caused the substantial majority of
              Insureds in the claims identified in Exhibit “2” to receive substantially
              identical “physical therapy” treatments for a substantially similar
              amount of time, regardless of the purported “outcome” of the
              examinations and previous physical therapy treatments, including: (a)
              hot/cold packs; (b) electrical stimulation therapy; (c) ultrasound
              therapy; (d) neuromuscular reeducation; (e) manual therapy
              techniques; and (f) mechanical traction.

      (iii)   The Rehab & Healthcare Defendants caused the substantial majority of
              Insureds in the claims identified in Exhibit “3” to receive substantially
              identical “physical therapy” treatments for a substantially similar
              amount of time, regardless of the purported “outcome” of the
              examinations and previous physical therapy treatments, including: (a)
              therapeutic exercises; (b) electrical stimulation therapy; (c) ultrasound
              therapy; (d) manual therapy techniques; (e) therapeutic activities; (f)
              mechanical traction; and (g) infrared therapy.

      (iv)    The Robust Pain Defendants caused the substantial majority of Insureds
              in the claims identified in Exhibit “4” to receive substantially identical
              “physical therapy” treatments for a substantially similar amount of time,
              regardless of the purported “outcome” of the examinations and previous
              physical therapy treatments, including: (a) therapeutic exercises; (b)
              electrical stimulation therapy; (c) ultrasound therapy; (d) therapeutic
              activities; (e) manual therapy techniques; (f) (i) mechanical traction;
              and (g) hot/cold packs.

      (v)     The 7520 Rehabilitation Defendants caused the substantial majority of
              Insureds in the claims identified in Exhibit “5” to receive substantially
              identical “physical therapy” treatments for a substantially similar
              amount of time, regardless of the purported “outcome” of the
              examinations and previous physical therapy treatments, including: (a)
              therapeutic exercises; (b) electrical stimulation therapy; (c) ultrasound
              therapy; (d) manual therapy techniques; (e) hot/cold packs; and (f)
              mechanical traction.

      (vi)    The Tampa Bay Rehabilitation Defendants caused the substantial
              majority of Insureds in the claims identified in Exhibit “6” to receive



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              substantially identical “physical therapy” treatments for a substantially
              similar amount of time, regardless of the purported “outcome” of the
              examinations and previous physical therapy treatments, including: (a)
              therapeutic exercises; (b) electrical stimulation therapy; (c) ultrasound
              therapy; (d) therapeutic activities; (e) neuromuscular reeducation; (f)
              manual therapy techniques; (g) hot/cold packs; (h) infrared therapy;
              and (i) mechanical traction.

       (vii) The Seminole Care Defendants caused the substantial majority of
             Insureds in the claims identified in Exhibit “7” to receive substantially
             identical “physical therapy” treatments for a substantially similar
             amount of time, regardless of the purported “outcome” of the
             examinations and previous physical therapy treatments, including: (a)
             therapeutic exercises; (b) electrical stimulation therapy; (c)
             neuromuscular reeducation; (d) manual therapy techniques; (e)
             hot/cold packs; and (f) mechanical traction.

       81.    In a legitimate clinical setting, each individual patient’s physical therapy

 schedule, and the specific physical therapy modalities that will be used, must be

 tailored to the specific patient’s circumstances, symptomatology, and presentation.

       82.    In a legitimate clinical setting, the nature of, extent of, and schedule for

 physical therapy is constantly adjusted for each individual patient based on each

 patient’s individual treatment progress, as assessed during each patient’s follow-up

 examinations and on an ongoing basis as they receive the physical therapy.

       83.    By contrast, at each of the Clinic Defendants, the nature and extent of the

 physical therapy that each Insured purportedly received was pre-determined, and

 had no legitimate connection to the Insureds’ individual circumstances, presentation,

 or progress through the Defendants’ fraudulent treatment and billing protocols. The

 purported “physical therapy” provided through each of the Clinic Defendants to

 GEICO Insureds therefore was medically useless.




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        84.   Furthermore, in the claims for physical therapy services identified in

 Exhibits “1” – “7”, the charges were fraudulent, unlawful, and non-reimbursable

 because the billing falsely represented that Zeya had performed or directly supervised

 the services, when in fact the “physical therapy” services were performed – to the

 extent that they were performed at all – by completely unsupervised massage

 therapists associated with each of the Clinic Defendants, including: (i) Lanza Diaz,

 Couve, and Torres at JRL Rehabilitation; (ii) Reyes, Ortega, and Suarez at Palm

 Wellness; (iii) Roque and Rojas at Rehab & Healthcare; (iv) Roque at Robust Pain; (v)

 Alvarez at 7520 Rehabilitation; (vi) Caballero at Tampa Bay Rehabilitation; and (vii)

 Del Sol Perez, Dominguez, and Bond at Seminole Care.

 III.   The Fraudulent Claims the Defendants Submitted or Caused to be Submitted to
        GEICO

        85.   To support their fraudulent charges, the Defendants systematically

 submitted or caused to be submitted thousands of HCFA-1500 forms and treatment

 reports through the respective Clinic Defendants to GEICO, containing thousands of

 individual charges, seeking payment for the Fraudulent Services for which the

 Defendants were not entitled to receive payment.

        86.   The claims that the Defendants submitted or caused to be submitted to

 GEICO were false and misleading in the following, material respects:

        (i)   The HCFA-1500 forms and treatment reports submitted or caused to be
              submitted by the Defendants uniformly misrepresented to GEICO that
              the Clinic Defendants were in compliance with the Clinic Act and eligible
              to collect PIP Benefits in the first instance. In fact, the Clinic Defendants
              never were in compliance with the Clinic Act, and never were eligible to
              collect PIP Benefits, because they were operated without legitimate



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               medical directors who legitimately fulfilled the statutory requirements
               applicable to clinic medical directors.

       (ii)    The HCFA-1500 forms and treatment reports submitted or caused to be
               submitted by the Defendants uniformly misrepresented to GEICO that
               the Fraudulent Services were lawfully provided and eligible for PIP
               reimbursement. In fact, the Fraudulent Services were not lawfully
               provided, and were not eligible for PIP reimbursement, because: (a)
               they were medically unnecessary and provided – to the extent that they
               were provided at all – pursuant to pre-determined fraudulent protocols
               designed solely to financially enrich the Defendants, rather than to treat
               or otherwise benefit the Insureds who purportedly were subjected to
               them; (b) in the case of the physical therapy services, because they were
               provided by unsupervised massage therapists and other unlicensed
               individuals in contravention of Florida law; and (c) the billing for the
               Fraudulent Services in many cases falsely represented that Zeya had
               performed or directly supervised the services.

       (iii)   The HCFA-1500 forms and treatment reports submitted or caused to be
               submitted by the Defendants uniformly misrepresented to GEICO that
               the Fraudulent Services were medically necessary and, in many cases,
               misrepresented to GEICO that the Fraudulent Services actually were
               performed. In fact, the Fraudulent Services frequently were not
               performed at all and, to the extent that they were performed, they were
               not medically necessary and were performed as part of a pre-
               determined fraudulent treatment and billing protocol designed solely to
               financially enrich the Defendants, not to benefit the Insureds who
               supposedly were subjected to them.

       (iv)    The HCFA-1500 forms and treatment reports submitted by and on
               behalf of the Defendants frequently misrepresented and exaggerated
               the level of the Fraudulent Services and the nature of the Fraudulent
               Services that purportedly were provided, in order to increase the
               amount of reimbursement the Defendants could unlawfully obtain.




 IV.   The Defendants’ Fraudulent Concealment and GEICO’s Justifiable Reliance




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        87.    The Defendants were legally and ethically obligated to act honestly and

 with integrity in connection with their performance of the Fraudulent Services and

 their submission of charges to GEICO.

        88.    To induce GEICO to promptly pay the fraudulent charges for the

 Fraudulent Services, the Defendants have systemically concealed their fraud and have

 gone to great lengths to accomplish this concealment.

        89.    For instance, the Defendants knowingly misrepresented and concealed

 facts related to the Clinic Defendants in an effort to prevent discovery that the Clinic

 Defendants lacked legitimate medical directors, and therefore were ineligible to

 collect PIP Benefits in the first instance.

        90.    What is more, the Defendants knowingly misrepresented and concealed

 facts related to the Fraudulent Services in an effort to prevent discovery that the

 Fraudulent Services were being provided – to the extent that they were provided at

 all – by unsupervised massage therapists, and therefore were not eligible for PIP

 reimbursement under Florida law.

        91.    Furthermore, the Defendants knowingly misrepresented and concealed

 facts in order to prevent GEICO from discovering that the Fraudulent Services were

 medically unnecessary and were performed – to the extent that they were performed

 at all – pursuant to a fraudulent pre-determined protocol designed to maximize the

 charges that could be submitted, not to benefit the Insureds who supposedly were

 subjected to them.




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       92.    Moreover, the Defendants knowingly misrepresented and concealed

 facts in order to prevent GEICO from discovering that the Fraudulent Services

 frequently never were performed in the first instance.

       93.    The Defendants have hired law firms to pursue collection of the

 fraudulent charges for the Fraudulent Services from GEICO and other insurers. These

 law firms routinely file expensive and time-consuming litigation against GEICO and

 other insurers if the charges are not promptly paid in full.

       94.    GEICO is under statutory and contractual obligations to promptly and

 fairly process claims within 30 days. The facially-valid documents submitted to GEICO

 in support of the fraudulent charges at issue, combined with the material

 misrepresentations and acts of concealment described above, were designed to and

 did cause GEICO to rely upon them. As a result, GEICO has incurred damages of more

 than $6,600,000.00.

       95.    Based upon the Defendants’ material misrepresentations and other

 affirmative acts to conceal their fraud from GEICO, GEICO did not discover and could

 not reasonably have discovered that its damages were attributable to fraud until

 shortly before it filed this Complaint.

                                FIRST CAUSE OF ACTION
   Against JRL Rehabilitation, Palm Wellness, Rehab & Healthcare, Robust Pain, 7520
             Rehabilitation, Tampa Bay Rehabilitation, and Seminole Care
                 (Declaratory Judgment – 28 U.S.C. §§ 2201 and 2202)

       96.    GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.




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       97.    There is an actual case in controversy between GEICO and the Clinic

 Defendants regarding more than $850,000.00 in pending fraudulent claims for the

 Fraudulent Services that have been submitted to GEICO.

       98.    The Clinic Defendants have no right to receive payment for any pending

 bills submitted to GEICO because they unlawfully were operated in violation of the

 Clinic Act’s medical director and operating requirements.

       99.    The Clinic Defendants have no right to receive payment for any pending

 bills submitted to GEICO because the underlying Fraudulent Services were not

 lawfully provided or billed to GEICO.

       100. The Clinic Defendants have no right to receive payment for any pending

 bills submitted to GEICO because the underlying Fraudulent Services were not

 performed by individuals who actually were licensed to perform the pertinent

 services, or else constituted non-reimbursable massage.

       101. The Clinic Defendants have no right to receive payment for any pending

 bills submitted to GEICO because the underlying Fraudulent Services were not

 medically necessary and were provided – to the extent that they were provided at all

 – pursuant to pre-determined fraudulent protocols designed solely to financially

 enrich the Defendants, rather than to treat or otherwise benefit the Insureds who

 purportedly were subjected to them.

       102. The Clinic Defendants have no right to receive payment for any pending

 bills submitted to GEICO because, in many cases, the Fraudulent Services never were

 provided in the first instance.



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       103. The Clinic Defendants have no right to receive payment for any pending

 bills submitted to GEICO because the billing codes used for the underlying Fraudulent

 Services misrepresented and exaggerated the level of services that purportedly were

 provided in order to inflate the charges submitted to GEICO.

       104. Accordingly, GEICO requests a judgment pursuant to the Declaratory

 Judgment Act, 28 U.S.C. §§ 2201 and 2202, declaring that JRL Rehabilitation, Palm

 Wellness, Rehab & Healthcare, Robust Pain, 7520 Rehabilitation, Tampa Bay

 Rehabilitation, and Seminole Care have no right to receive payment for any pending

 bills submitted to GEICO.

                              SECOND CAUSE OF ACTION
                         Against Ramos, Lanza Diaz, and Zeya
                        (Violation of RICO, 18 U.S.C. § 1962(c))

       105. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       106. JRL Rehabilitation is an ongoing “enterprise,” as that term is defined in

 18 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

       107. Ramos, Lanza Diaz, and Zeya knowingly have conducted and/or

 participated, directly or indirectly, in the conduct of JRL Rehabilitation’s affairs

 through a pattern of racketeering activity consisting of repeated violations of the

 federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States

 mails to submit or cause to be submitted thousands of fraudulent charges on a

 continuous basis for over two years seeking payments that JRL Rehabilitation was not

 eligible to receive under the No-Fault Law because: (i) JRL Rehabilitation unlawfully



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 was operated in violation of the Clinic Act’s medical director and licensing

 requirements; (ii) the underlying Fraudulent Services were not lawfully provided or

 billed to GEICO; (iii) the underlying Fraudulent Services were not medically

 necessary and were provided – to the extent that they were provided at all – pursuant

 to pre-determined fraudulent protocols designed solely to financially enrich the JRL

 Rehabilitation Defendants, rather than to treat or otherwise benefit the Insureds who

 purportedly were subjected to them; (iv) in many cases, the Fraudulent Services

 never were provided in the first instance; and (v) the billing codes used for the

 underlying Fraudulent Services misrepresented and exaggerated the level of services

 that purportedly were provided in order to inflate the charges submitted to GEICO.

       108. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “1”.

       109. JRL Rehabilitation’s business is racketeering activity, inasmuch as the

 enterprise exists for the purpose of submitting fraudulent charges to insurers. The

 predicate acts of mail fraud are the regular way in which Ramos, Lanza Diaz, and Zeya

 operated JRL Rehabilitation, inasmuch as JRL Rehabilitation was not engaged in a

 legitimate health care practice, and acts of mail fraud therefore were essential in

 order for JRL Rehabilitation to function. Furthermore, the intricate planning required

 to carry out and conceal the predicate acts of mail fraud implies a threat of continued

 criminal activity, as does the fact that the JRL Rehabilitation Defendants continue to



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 attempt collection on the fraudulent billing submitted through JRL Rehabilitation to

 the present day.

       110. JRL Rehabilitation is engaged in inherently unlawful acts, inasmuch as it

 continues to attempt collection on fraudulent billing submitted to GEICO and other

 insurers. These inherently unlawful acts are taken by JRL Rehabilitation in pursuit of

 inherently unlawful goals – namely, the theft of money from GEICO and other insurers

 through fraudulent no-fault billing.

       111. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $1,300,000.00 pursuant to the

 fraudulent bills submitted through the JRL Rehabilitation enterprise.

       112. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

 Court deems just and proper.

                              THIRD CAUSE OF ACTION
            Against Ramos, Lanza Diaz, Zeya, Couve, Torres, and Fernandez
                       (Violation of RICO, 18 U.S.C. § 1962(d))

       113. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       114. JRL Rehabilitation is an ongoing “enterprise,” as that term is defined in

 18 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

       115. Ramos, Lanza Diaz, Zeya, Couve, Torres, and Fernandez are or were

 employed by or associated with the JRL Rehabilitation enterprise.




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       116. Ramos, Lanza Diaz, Zeya, Couve, Torres, and Fernandez knowingly have

 agreed, combined and conspired to conduct and/or participate, directly or indirectly,

 in the conduct of JRL Rehabilitation’s affairs through a pattern of racketeering activity

 consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341,

 based upon the use of the United States mails to submit or cause to be submitted

 thousands of fraudulent charges on a continuous basis for over two years seeking

 payments that JRL Rehabilitation was not eligible to receive under the No-Fault Law

 because: (i) JRL Rehabilitation unlawfully was operated in violation of the Clinic Act’s

 medical director and licensing requirements; (ii) the underlying Fraudulent Services

 were not lawfully provided or billed to GEICO; (iii) the underlying Fraudulent

 Services were not medically necessary and were provided – to the extent that they

 were provided at all – pursuant to pre-determined fraudulent protocols designed

 solely to financially enrich the JRL Rehabilitation Defendants, rather than to treat or

 otherwise benefit the Insureds who purportedly were subjected to them; (iv) in many

 cases, the Fraudulent Services never were provided in the first instance; and (v) the

 billing codes used for the underlying Fraudulent Services misrepresented and

 exaggerated the level of services that purportedly were provided in order to inflate

 the charges submitted to GEICO.

       117. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the




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 chart annexed hereto as Exhibit “1”. Each such mailing was made in furtherance of

 the mail fraud scheme.

       118. Ramos, Lanza Diaz, Zeya, Couve, Torres, and Fernandez knew of, agreed

 to and acted in furtherance of the common and overall objective (i.e., to defraud

 GEICO and other automobile insurers of money) by submitting or facilitating the

 submission of the fraudulent charges to GEICO.

       119. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $1,300,000.00 pursuant to the

 fraudulent bills submitted through the JRL Rehabilitation enterprise.

       120. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the

 Court deems just and proper.

                             FOURTH CAUSE OF ACTION
                       Against the JRL Rehabilitation Defendants
                           (Under Fla. Stat. 501.201 et. seq.)

       121. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       122. The JRL Rehabilitation Defendants are actively engaged in trade and

 commerce in the State of Florida.

       123. GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

       124. The JRL Rehabilitation Defendants engaged in unfair, deceptive, and

 unconscionable acts or trade practices in their trade or commerce in the pursuit and

 execution of their scheme to illegally obtain PIP Benefits from GEICO.



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       125. The bills and supporting documents submitted or caused to be

 submitted by the JRL Rehabilitation Defendants to GEICO were fraudulent in that they

 misrepresented: (i) JRL Rehabilitation’s eligibility to collect PIP Benefits in the first

 instance; (ii) that the Fraudulent Services were lawfully provided and billed to GEICO;

 (iii) that the Fraudulent Services were medically necessary; and (iv) that the

 Fraudulent Services actually were performed in the first instance.

       126. Such acts and practices offend public policy and are immoral, unethical,

 oppressive, and unscrupulous. Additionally, the conduct of the JRL Rehabilitation

 Defendants has been materially injurious to GEICO and its Insureds.

       127. The conduct of the JRL Rehabilitation Defendants was the actual and

 proximate cause of the damages sustained by GEICO.

       128. The JRL Rehabilitation Defendants’ unfair and deceptive acts have

 caused GEICO to sustain damages of at least $1,300,000.00.

       129. By reason of the JRL Rehabilitation Defendants’ conduct, GEICO is also

 entitled to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat.

 501.211(2).

                             FIFTH CAUSE OF ACTION
            Against Ramos, Lanza Diaz, Zeya, Couve, Torres, and Fernandez
                         (Under Fla. Stat. 772.103 et. seq.)

       130. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       131. In furtherance of the fraudulent scheme, Ramos, Lanza Diaz, Zeya,

 Couve, Torres, and Fernandez submitted or caused to be submitted thousands of



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 fraudulent charges through the JRL Rehabilitation enterprise to GEICO seeking

 payment pursuant under automobile insurance policies issued by GEICO to Florida

 Insureds.

       132. When the billing was submitted Ramos, Lanza Diaz, Zeya, Couve, Torres,

 and Fernandez knew that the billing contained false and misleading information

 concerning facts material to the claims for which reimbursement was being sought in

 that: (i) JRL Rehabilitation unlawfully was operated in violation of the Clinic Act’s

 medical director and licensing requirements, and therefore was not eligible to collect

 PIP Benefits in the first instance; (ii) the underlying Fraudulent Services were not

 lawfully provided or billed to GEICO, and therefore were not eligible for PIP

 reimbursement in the first instance; (iii) the underlying Fraudulent Services were not

 medically necessary and were provided – to the extent that they were provided at all

 – pursuant to pre-determined fraudulent protocols designed solely to financially

 enrich the JRL Rehabilitation Defendants, rather than to treat or otherwise benefit the

 Insureds who purportedly were subjected to them; (iv) in many cases, the Fraudulent

 Services never were provided in the first instance; and (v) the billing codes used for

 the underlying Fraudulent Services misrepresented and exaggerated the level of

 services that purportedly were provided in order to inflate the charges submitted to

 GEICO.

       133. These knowing and intentional acts constitute a pattern of criminal

 activity, in that said acts constitute insurance fraud in violation of Fla. Stat. §

 817.234(1)(a).



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       134. This pattern of criminal activity resulted in Ramos, Lanza Diaz, Zeya,

 Couve, Torres, and Fernandez receiving more than $1,300,000.00 in PIP Benefits to

 which they were not entitled.

       135. Ramos, Lanza Diaz, Zeya, Couve, Torres, and Fernandez’s pattern of

 criminal activity has caused GEICO to sustain damages of at least $1,300,000.00.

       136. By reason of Ramos, Lanza Diaz, Zeya, Couve, Torres, and Fernandez’s

 conduct, GEICO is also entitled to recover threefold the actual damages it actually

 sustained, reasonable attorney’s fees, and court costs pursuant to Fla. Stat. § 772.104.

                               SIXTH CAUSE OF ACTION
                       Against the JRL Rehabilitation Defendants
                                 (Common Law Fraud)

       137. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       138. The JRL Rehabilitation Defendants intentionally and knowingly made

 false and fraudulent statements of material fact to GEICO and concealed material facts

 from GEICO in the course of submitting, or causing to be submitted, thousands of

 fraudulent charges through JRL Rehabilitation for the Fraudulent Services.

       139. The false and fraudulent statements of material fact and acts of

 fraudulent concealment include: (i) in every claim, the representation that that JRL

 Rehabilitation was in compliance with the Clinic Act and eligible to collect PIP

 Benefits in the first instance, when in fact JRL Rehabilitation never was in compliance

 with the Clinic Act, and never was eligible to collect PIP Benefits, because it was

 operated without a legitimate medical director; (ii) in every claim, the representation



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 that the Fraudulent Services were lawfully provided and eligible for PIP

 reimbursement, when in fact the Fraudulent Services were not lawfully provided, and

 were not eligible for PIP reimbursement; (iii) in every claim, the representation that

 the Fraudulent Services were medically necessary, when in fact they were not

 medically necessary; and (iv) in many claims, the representation that the Fraudulent

 Services actually were performed, when in many cases they were not actually

 performed.

       140. The JRL Rehabilitation Defendants intentionally made the above-

 described false and fraudulent statements and concealed material facts in a calculated

 effort to induce GEICO to pay charges submitted through JRL Rehabilitation that were

 not reimbursable.

       141. GEICO justifiably relied on these false and fraudulent representations

 and acts of fraudulent concealment, and as a proximate result has been injured in its

 business and property by reason of the above-described conduct in that it has paid at

 least $1,300,000.00 pursuant to the fraudulent bills that were submitted or caused to

 be submitted by the JRL Rehabilitation Defendants through JRL Rehabilitation.

       142. The JRL Rehabilitation Defendants’ extensive fraudulent conduct

 demonstrates a high degree of moral turpitude and wanton dishonesty that entitles

 GEICO to recover punitive damages.

       143. Accordingly, by virtue of the foregoing, GEICO is entitled to

 compensatory and punitive damages, together with interest and costs, and any other

 relief the Court deems just and proper.



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                             SEVENTH CAUSE OF ACTION
                       Against the JRL Rehabilitation Defendants
                                 (Unjust Enrichment)

       144. GEICO incorporates, as fully set forth herein, each and every allegation

 in paragraphs 1-95 above.

       145. As set forth above, the JRL Rehabilitation Defendants have engaged in

 improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

       146. When GEICO paid the bills and charges submitted or caused to be

 submitted by the JRL Rehabilitation Defendants through JRL Rehabilitation, it

 reasonably believed that it was legally obligated to make such payments based on the

 JRL Rehabilitation Defendants’ improper, unlawful, and/or unjust acts.

       147. The JRL Rehabilitation Defendants have been enriched at GEICO’s

 expense by GEICO’s payments which constituted a benefit that the JRL Rehabilitation

 Defendants voluntarily accepted notwithstanding their improper, unlawful, and

 unjust billing scheme.

       148. The JRL Rehabilitation Defendants’ retention of GEICO’s payments

 violates fundamental principles of justice, equity, and good conscience.

       149. By reason of the above, the JRL Rehabilitation Defendants have been

 unjustly enriched in an amount to be determined at trial, but in no event less than

 $1,300,000.00.




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                              EIGHTH CAUSE OF ACTION
                                Against Reyes and Zeya
                        (Violation of RICO, 18 U.S.C. § 1962(c))

       150. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       151. Palm Wellness is an ongoing “enterprise,” as that term is defined in 18

 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

       152. Reyes and Zeya knowingly have conducted and/or participated, directly

 or indirectly, in the conduct of Palm Wellness’s affairs through a pattern of

 racketeering activity consisting of repeated violations of the federal mail fraud

 statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit or

 cause to be submitted thousands of fraudulent charges on a continuous basis for over

 two years seeking payments that Palm Wellness was not eligible to receive under the

 No-Fault Law because: (i) Palm Wellness unlawfully was operated in violation of the

 Clinic Act’s medical director and licensing requirements; (ii) the underlying

 Fraudulent Services were not lawfully provided or billed to GEICO; (iii) the

 underlying Fraudulent Services were not medically necessary and were provided – to

 the extent that they were provided at all – pursuant to pre-determined fraudulent

 protocols designed solely to financially enrich the Palm Wellness Defendants, rather

 than to treat or otherwise benefit the Insureds who purportedly were subjected to

 them; (iv) in many cases, the Fraudulent Services never were provided in the first

 instance; and (v) the billing codes used for the underlying Fraudulent Services




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 misrepresented and exaggerated the level of services that purportedly were provided

 in order to inflate the charges submitted to GEICO.

       153. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “2”.

       154. Palm Wellness’s business is racketeering activity, inasmuch as the

 enterprise exists for the purpose of submitting fraudulent charges to insurers. The

 predicate acts of mail fraud are the regular way in which Reyes and Zeya operated

 Palm Wellness, inasmuch as Palm Wellness was not engaged in a legitimate health

 care practice, and acts of mail fraud therefore were essential in order for Palm

 Wellness to function. Furthermore, the intricate planning required to carry out and

 conceal the predicate acts of mail fraud implies a threat of continued criminal activity,

 as does the fact that the Palm Wellness Defendants continue to attempt collection on

 the fraudulent billing submitted through Palm Wellness to the present day.

       155. Palm Wellness is engaged in inherently unlawful acts, inasmuch as it

 continues to submit and attempt collection on fraudulent billing submitted to GEICO

 and other insurers. These inherently unlawful acts are taken by Palm Wellness in

 pursuit of inherently unlawful goals – namely, the theft of money from GEICO and

 other insurers through fraudulent no-fault billing.




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       156. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $1,260,000.00 pursuant to the

 fraudulent bills submitted through the Palm Wellness enterprise.

       157. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

 Court deems just and proper.

                                NINTH CAUSE OF ACTION
                         Against Reyes, Zeya, Ortega, and Suarez
                         (Violation of RICO, 18 U.S.C. § 1962(d))

       158. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       159. Palm Wellness is an ongoing “enterprise,” as that term is defined in 18

 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

       160. Reyes, Zeya, Ortega, and Suarez are or were employed by or associated

 with the Palm Wellness enterprise.

       161. Reyes, Zeya, Ortega, and Suarez knowingly have agreed, combined and

 conspired to conduct and/or participate, directly or indirectly, in the conduct of Palm

 Wellness’s affairs through a pattern of racketeering activity consisting of repeated

 violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the

 United States mails to submit or cause to be submitted thousands of fraudulent

 charges on a continuous basis for over two years seeking payments that Palm

 Wellness was not eligible to receive under the No-Fault Law because: (i) Palm

 Wellness unlawfully was operated in violation of the Clinic Act’s medical director and



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 licensing requirements; (ii) the underlying Fraudulent Services were not lawfully

 provided or billed to GEICO; (iii) the underlying Fraudulent Services were not

 medically necessary and were provided – to the extent that they were provided at all

 – pursuant to pre-determined fraudulent protocols designed solely to financially

 enrich the Palm Wellness Defendants, rather than to treat or otherwise benefit the

 Insureds who purportedly were subjected to them; (iv) in many cases, the Fraudulent

 Services never were provided in the first instance; and (v) the billing codes used for

 the underlying Fraudulent Services misrepresented and exaggerated the level of

 services that purportedly were provided in order to inflate the charges submitted to

 GEICO.

       162. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “2”. Each such mailing was made in furtherance of

 the mail fraud scheme.

       163. Reyes, Zeya, Ortega, and Suarez knew of, agreed to and acted in

 furtherance of the common and overall objective (i.e., to defraud GEICO and other

 automobile insurers of money) by submitting or facilitating the submission of the

 fraudulent charges to GEICO.

       164. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $1, 260,000.00 pursuant to the

 fraudulent bills submitted through the Palm Wellness enterprise.



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       165. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the

 Court deems just and proper.

                              TENTH CAUSE OF ACTION
                         Against the Palm Wellness Defendants
                           (Under Fla. Stat. 501.201 et. seq.)

       166. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       167. The Palm Wellness Defendants are actively engaged in trade and

 commerce in the State of Florida.

       168. GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

       169. The Palm Wellness Defendants engaged in unfair, deceptive, and

 unconscionable acts or trade practices in their trade or commerce in the pursuit and

 execution of their scheme to illegally obtain PIP Benefits from GEICO.

       170. The bills and supporting documents submitted or caused to be

 submitted by the Palm Wellness Defendants to GEICO were fraudulent in that they

 misrepresented: (i) Palm Wellness’s eligibility to collect PIP Benefits in the first

 instance; (ii) that the Fraudulent Services were lawfully provided and billed to GEICO;

 (iii) that the Fraudulent Services were medically necessary; and (iv) that the

 Fraudulent Services actually were performed in the first instance.

       171. Such acts and practices offend public policy and are immoral, unethical,

 oppressive, and unscrupulous. Additionally, the conduct of the Palm Wellness

 Defendants has been materially injurious to GEICO and its Insureds.



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       172. The conduct of the Palm Wellness Defendants was the actual and

 proximate cause of the damages sustained by GEICO.

       173. The Palm Wellness Defendants’ unfair and deceptive acts have caused

 GEICO to sustain damages of at least $1, 260,000.00.

       174. By reason of the Pain Relief Clinic Defendants’ conduct, GEICO is also

 entitled to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat.

 501.211(2).

                            ELEVENTH CAUSE OF ACTION
                        Against Reyes, Zeya, Ortega, and Suarez
                          (Under Fla. Stat. 772.103 et. seq.)

       175. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       176. In furtherance of the fraudulent scheme, Reyes, Zeya, Ortega, and Suarez

 submitted or caused to be submitted thousands of fraudulent charges through the

 Palm Wellness enterprise to GEICO seeking payment pursuant under automobile

 insurance policies issued by GEICO to Florida Insureds.

       177. When the billing was submitted Reyes, Zeya, Ortega, and Suarez knew

 that the billing contained false and misleading information concerning facts material

 to the claims for which reimbursement was being sought in that: (i) Palm Wellness

 unlawfully was operated in violation of the Clinic Act’s medical director and licensing

 requirements, and therefore was not eligible to collect PIP Benefits in the first

 instance; (ii) the underlying Fraudulent Services were not lawfully provided or billed

 to GEICO, and therefore were not eligible for PIP reimbursement in the first instance;



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 (iii) the underlying Fraudulent Services were not medically necessary and were

 provided – to the extent that they were provided at all – pursuant to pre-determined

 fraudulent protocols designed solely to financially enrich the Palm Wellness

 Defendants, rather than to treat or otherwise benefit the Insureds who purportedly

 were subjected to them; (iv) in many cases, the Fraudulent Services never were

 provided in the first instance; and (v) the billing codes used for the underlying

 Fraudulent Services misrepresented and exaggerated the level of services that

 purportedly were provided in order to inflate the charges submitted to GEICO.

        178. These knowing and intentional acts constitute a pattern of criminal

 activity, in that said acts constitute insurance fraud in violation of Fla. Stat. §

 817.234(1)(a).

        179. This pattern of criminal activity resulted in Reyes, Zeya, Ortega, and

 Suarez receiving more than $1,260,000.00 in PIP Benefits to which they were not

 entitled.

        180. Reyes, Zeya, Ortega, and Suarez’s pattern of criminal activity has caused

 GEICO to sustain damages of at least $1,260,000.00.

        181. By reason of Reyes, Zeya, Ortega, and Suarez’s conduct, GEICO is also

 entitled to recover threefold the actual damages it actually sustained, reasonable

 attorney’s fees, and court costs pursuant to Fla. Stat. § 772.104.




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                             TWELFTH CAUSE OF ACTION
                         Against the Palm Wellness Defendants
                                 (Common Law Fraud)

       182. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       183. The Palm Wellness Defendants intentionally and knowingly made false

 and fraudulent statements of material fact to GEICO and concealed material facts from

 GEICO in the course of submitting, or causing to be submitted, thousands of

 fraudulent charges through Palm Wellness for the Fraudulent Services.

       184. The false and fraudulent statements of material fact and acts of

 fraudulent concealment include: (i) in every claim, the representation that that Palm

 Wellness was in compliance with the Clinic Act and eligible to collect PIP Benefits in

 the first instance, when in fact Pain Relief Clinic never was in compliance with the

 Clinic Act, and never was eligible to collect PIP Benefits, because it was operated

 without a legitimate medical director; (ii) in every claim, the representation that the

 Fraudulent Services were lawfully provided and eligible for PIP reimbursement,

 when in fact the Fraudulent Services were not lawfully provided, and were not

 eligible for PIP reimbursement; (iii) in every claim, the representation that the

 Fraudulent Services were medically necessary, when in fact they were not medically

 necessary; and (iv) in many claims, the representation that the Fraudulent Services

 actually were performed, when in many cases they were not actually performed.

       185. The Palm Wellness Defendants intentionally made the above-described

 false and fraudulent statements and concealed material facts in a calculated effort to



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 induce GEICO to pay charges submitted through Palm Wellness that were not

 reimbursable.

       186. GEICO justifiably relied on these false and fraudulent representations

 and acts of fraudulent concealment, and as a proximate result has been injured in its

 business and property by reason of the above-described conduct in that it has paid at

 least $1,260,000.00 pursuant to the fraudulent bills that were submitted or caused to

 be submitted by the Palm Wellness Defendants through Palm Wellness.

       187. The Palm Wellness Defendants’ extensive fraudulent conduct

 demonstrates a high degree of moral turpitude and wanton dishonesty that entitles

 GEICO to recover punitive damages.

       188. Accordingly, by virtue of the foregoing, GEICO is entitled to

 compensatory and punitive damages, together with interest and costs, and any other

 relief the Court deems just and proper.

                          THIRTEENTH CAUSE OF ACTION
                        Against the Palm Wellness Defendants
                                 (Unjust Enrichment)

       189. GEICO incorporates, as fully set forth herein, each and every allegation

 in paragraphs 1-95 above.

       190. As set forth above, the Palm Wellness Defendants have engaged in

 improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

       191. When GEICO paid the bills and charges submitted or caused to be

 submitted by the Palm Wellness Defendants through Palm Wellness, it reasonably




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 believed that it was legally obligated to make such payments based on the Palm

 Wellness Defendants’ improper, unlawful, and/or unjust acts.

       192. The Palm Wellness Defendants have been enriched at GEICO’s expense

 by GEICO’s payments which constituted a benefit that the Palm Wellness Defendants

 voluntarily accepted notwithstanding their improper, unlawful, and unjust billing

 scheme.

       193. The Palm Wellness Defendants’ retention of GEICO’s payments violates

 fundamental principles of justice, equity, and good conscience.

       194. By reason of the above, the Palm Wellness Defendants have been

 unjustly enriched in an amount to be determined at trial, but in no event less than

 $1,260,000.00.

                           FOURTEENTH CAUSE OF ACTION
                          Against Rodriguez-Suarez and Zeya
                        (Violation of RICO, 18 U.S.C. § 1962(c))

       195. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       196. Rehab & Healthcare is an ongoing “enterprise,” as that term is defined in

 18 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

       197. Rodriguez-Suarez and Zeya knowingly have conducted and/or

 participated, directly or indirectly, in the conduct of Rehab & Healthcare’s affairs

 through a pattern of racketeering activity consisting of repeated violations of the

 federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States

 mails to submit or cause to be submitted thousands of fraudulent charges on a



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 continuous basis for over two years seeking payments that Rehab & Healthcare was

 not eligible to receive under the No-Fault Law because: (i) Rehab & Healthcare

 unlawfully was operated in violation of the Clinic Act’s medical director and licensing

 requirements; (ii) the underlying Fraudulent Services were not lawfully provided or

 billed to GEICO; (iii) the underlying Fraudulent Services were not medically

 necessary and were provided – to the extent that they were provided at all – pursuant

 to pre-determined fraudulent protocols designed solely to financially enrich the

 Rehab & Healthcare Defendants rather than to treat or otherwise benefit the Insureds

 who purportedly were subjected to them; (iv) in many cases, the Fraudulent Services

 never were provided in the first instance; and (v) the billing codes used for the

 underlying Fraudulent Services misrepresented and exaggerated the level of services

 that purportedly were provided in order to inflate the charges submitted to GEICO.

       198. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “3”.

       199. Rehab & Healthcare’s business is racketeering activity, inasmuch as the

 enterprise exists for the purpose of submitting fraudulent charges to insurers. The

 predicate acts of mail fraud are the regular way in which Rodriguez-Suarez and Zeya

 operated Rehab & Healthcare, inasmuch as Rehab & Healthcare was not engaged in a

 legitimate health care practice, and acts of mail fraud therefore were essential in

 order for Rehab & Healthcare to function. Furthermore, the intricate planning



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 required to carry out and conceal the predicate acts of mail fraud implies a threat of

 continued criminal activity, as does the fact that the Rehab & Healthcare Defendants

 continue to attempt collection on the fraudulent billing submitted through Rehab &

 Healthcare to the present day.

       200. Rehab & Healthcare is engaged in inherently unlawful acts, inasmuch as

 it continues to submit and attempt collection on fraudulent billing submitted to

 GEICO and other insurers. These inherently unlawful acts are taken by Rehab &

 Healthcare in pursuit of inherently unlawful goals – namely, the theft of money from

 GEICO and other insurers through fraudulent no-fault billing.

       201. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $1,590,000.00 pursuant to the

 fraudulent bills submitted through the Rehab & Healthcare enterprise.

       202. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

 Court deems just and proper.

                            FIFTEENTH CAUSE OF ACTION
                   Against Rodriguez-Suarez, Zeya, Roque, and Rojas
                        (Violation of RICO, 18 U.S.C. § 1962(d))

       203. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       204. Rehab & Healthcare is an ongoing “enterprise,” as that term is defined in

 18 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.




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       205. Rodriguez-Suarez, Zeya, Roque, and Rojas are or were employed by or

 associated with the Health and Wellness enterprise.

       206. Rodriguez-Suarez, Zeya, Roque, and Rojas knowingly have agreed,

 combined and conspired to conduct and/or participate, directly or indirectly, in the

 conduct of Rehab & Healthcare’s affairs through a pattern of racketeering activity

 consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341,

 based upon the use of the United States mails to submit or cause to be submitted

 thousands of fraudulent charges on a continuous basis for over two years seeking

 payments that Rehab & Healthcare was not eligible to receive under the No-Fault Law

 because: (i) Rehab & Healthcare unlawfully was operated in violation of the Clinic

 Act’s medical director and licensing requirements; (ii) the underlying Fraudulent

 Services were not lawfully provided or billed to GEICO; (iii) the underlying

 Fraudulent Services were not medically necessary and were provided – to the extent

 that they were provided at all – pursuant to pre-determined fraudulent protocols

 designed solely to financially enrich the Rehab & Healthcare Defendants, rather than

 to treat or otherwise benefit the Insureds who purportedly were subjected to them;

 (iv) in many cases, the Fraudulent Services never were provided in the first instance;

 and (v) the billing codes used for the underlying Fraudulent Services misrepresented

 and exaggerated the level of services that purportedly were provided in order to

 inflate the charges submitted to GEICO.

       207. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering



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 activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “3”. Each such mailing was made in furtherance of

 the mail fraud scheme.

       208. Rodriguez-Suarez, Zeya, Roque, and Rojas knew of, agreed to and acted

 in furtherance of the common and overall objective (i.e., to defraud GEICO and other

 automobile insurers of money) by submitting or facilitating the submission of the

 fraudulent charges to GEICO.

       209. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $1,590,000.00 pursuant to the

 fraudulent bills submitted through the Rehab & Healthcare enterprise.

       210. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the

 Court deems just and proper.

                           SIXTEENTH CAUSE OF ACTION
                     Against the Rehab & Healthcare Defendants
                          (Under Fla. Stat. 501.201 et. seq.)

       211. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       212. The Rehab & Healthcare Defendants are actively engaged in trade and

 commerce in the State of Florida.

       213. GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.




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       214. The Rehab & Healthcare Defendants engaged in unfair, deceptive, and

 unconscionable acts or trade practices in their trade or commerce in the pursuit and

 execution of their scheme to illegally obtain PIP Benefits from GEICO.

       215. The bills and supporting documents submitted or caused to be

 submitted by the Rehab & Healthcare Defendants to GEICO were fraudulent in that

 they misrepresented: (i) Rehab & Healthcare’s eligibility to collect PIP Benefits in the

 first instance; (ii) that the Fraudulent Services were lawfully provided and billed to

 GEICO; (iii) that the Fraudulent Services were medically necessary; and (iv) that the

 Fraudulent Services actually were performed in the first instance.

       216. Such acts and practices offend public policy and are immoral, unethical,

 oppressive, and unscrupulous. Additionally, the conduct of the Rehab & Healthcare

 Defendants has been materially injurious to GEICO and its Insureds.

       217. The conduct of the Rehab & Healthcare Defendants was the actual and

 proximate cause of the damages sustained by GEICO.

       218. The Rehab & Healthcare Defendants’ unfair and deceptive acts have

 caused GEICO to sustain damages of at least $1,590,000.00.

       219. By reason of the Rehab & Healthcare Defendants’ conduct, GEICO is also

 entitled to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat.

 501.211(2).




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                          SEVENTEENTH CAUSE OF ACTION
                   Against Rodriguez-Suarez, Zeya, Roque, and Rojas
                           (Under Fla. Stat. 772.103 et. seq.)

       220. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       221. In furtherance of the fraudulent scheme, Rodriguez-Suarez, Zeya, Roque,

 and Rojas submitted or caused to be submitted thousands of fraudulent charges

 through the Rehab & Healthcare enterprise to GEICO seeking payment pursuant

 under automobile insurance policies issued by GEICO to Florida Insureds.

       222. When the billing was submitted Rodriguez-Suarez, Zeya, Roque, and

 Rojas knew that the billing contained false and misleading information concerning

 facts material to the claims for which reimbursement was being sought in that: (i)

 Rehab & Healthcare unlawfully was operated in violation of the Clinic Act’s medical

 director and licensing requirements, and therefore was not eligible to collect PIP

 Benefits in the first instance; (ii) the underlying Fraudulent Services were not

 lawfully provided or billed to GEICO, and therefore were not eligible for PIP

 reimbursement in the first instance; (iii) the underlying Fraudulent Services were not

 medically necessary and were provided – to the extent that they were provided at all

 – pursuant to pre-determined fraudulent protocols designed solely to financially

 enrich the Rehab & Healthcare Defendants, rather than to treat or otherwise benefit

 the Insureds who purportedly were subjected to them; (iv) in many cases, the

 Fraudulent Services never were provided in the first instance; and (v) the billing

 codes used for the underlying Fraudulent Services misrepresented and exaggerated



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 the level of services that purportedly were provided in order to inflate the charges

 submitted to GEICO.

       223. These knowing and intentional acts constitute a pattern of criminal

 activity, in that said acts constitute insurance fraud in violation of Fla. Stat. §

 817.234(1)(a).

       224. This pattern of criminal activity resulted in Rodriguez-Suarez, Zeya,

 Roque, and Rojas receiving more than $1,590,000.00 in PIP Benefits to which they

 were not entitled.

       225. Rodriguez-Suarez, Zeya, Roque, and Rojas’ pattern of criminal activity

 has caused GEICO to sustain damages of at least $1,590,000.00.

       226. By reason of Rodriguez-Suarez, Zeya, Roque, and Rojas’ conduct, GEICO

 is also entitled to recover threefold the actual damages it actually sustained,

 reasonable attorney’s fees, and court costs pursuant to Fla. Stat. § 772.104

                            EIGHTEENTH CAUSE OF ACTION
                       Against the Rehab & Healthcare Defendants
                                  (Common Law Fraud)

       227. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       228. The Rehab & Healthcare Defendants intentionally and knowingly made

 false and fraudulent statements of material fact to GEICO and concealed material facts

 from GEICO in the course of submitting, or causing to be submitted, thousands of

 fraudulent charges through Rehab & Healthcare for the Fraudulent Services.




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       229. The false and fraudulent statements of material fact and acts of

 fraudulent concealment include: (i) in every claim, the representation that that The

 Rehab & Healthcare was in compliance with the Clinic Act and eligible to collect PIP

 Benefits in the first instance, when in fact Health and Wellness never was in

 compliance with the Clinic Act, and never was eligible to collect PIP Benefits, because

 it was operated without a legitimate medical director; (ii) in every claim, the

 representation that the Fraudulent Services were lawfully provided and eligible for

 PIP reimbursement, when in fact the Fraudulent Services were not lawfully provided,

 and were not eligible for PIP reimbursement; (iii) in every claim, the representation

 that the Fraudulent Services were medically necessary, when in fact they were not

 medically necessary; and (iv) in many claims, the representation that the Fraudulent

 Services actually were performed, when in many cases they were not actually

 performed.

       230. The Rehab & Healthcare Defendants intentionally made the above-

 described false and fraudulent statements and concealed material facts in a calculated

 effort to induce GEICO to pay charges submitted through Rehab & Healthcare that

 were not reimbursable.

       231. GEICO justifiably relied on these false and fraudulent representations

 and acts of fraudulent concealment, and as a proximate result has been injured in its

 business and property by reason of the above-described conduct in that it has paid at

 least $1,590,000.00 pursuant to the fraudulent bills that were submitted or caused to

 be submitted by the Rehab & Healthcare Defendants through Rehab & Healthcare.



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       232. The Rehab & Healthcare Defendants’ extensive fraudulent conduct

 demonstrates a high degree of moral turpitude and wanton dishonesty that entitles

 GEICO to recover punitive damages.

       233. Accordingly, by virtue of the foregoing, GEICO is entitled to

 compensatory and punitive damages, together with interest and costs, and any other

 relief the Court deems just and proper.

                           NINETEENTH CAUSE OF ACTION
                      Against the Rehab & Healthcare Defendants
                                 (Unjust Enrichment)

       234. GEICO incorporates, as fully set forth herein, each and every allegation

 in paragraphs 1-95 above.

       235. As set forth above, the Rehab & Healthcare Defendants have engaged in

 improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

       236. When GEICO paid the bills and charges submitted or caused to be

 submitted by the Rehab & Healthcare Defendants through Rehab & Healthcare, it

 reasonably believed that it was legally obligated to make such payments based on the

 Rehab & Healthcare Defendants’ improper, unlawful, and/or unjust acts.

       237. The Rehab & Healthcare Defendants have been enriched at GEICO’s

 expense by GEICO’s payments which constituted a benefit that the Rehab &

 Healthcare Defendants voluntarily accepted notwithstanding their improper,

 unlawful, and unjust billing scheme.

       238. The Rehab & Healthcare Defendants’ retention of GEICO’s payments

 violates fundamental principles of justice, equity, and good conscience.



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       239. By reason of the above, the Rehab & Healthcare Defendants have been

 unjustly enriched in an amount to be determined at trial, but in no event less than

 $1,590,000.00.

                           TWENTIETH CAUSE OF ACTION
                   Against Roque, Montes, Campos-Garcia, and Zeya
                       (Violation of RICO, 18 U.S.C. § 1962(c))

       240. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       241. Robust Pain is an ongoing “enterprise,” as that term is defined in 18

 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

       242. Roque, Montes, Campos-Garcia, and Zeya knowingly have conducted

 and/or participated, directly or indirectly, in the conduct of Robust Pain’s affairs

 through a pattern of racketeering activity consisting of repeated violations of the

 federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States

 mails to submit or cause to be submitted thousands of fraudulent charges on a

 continuous basis for over two years seeking payments that Robust Pain was not

 eligible to receive under the No-Fault Law because: (i) Robust Pain unlawfully was

 operated in violation of the Clinic Act’s medical director and licensing requirements;

 (ii) the underlying Fraudulent Services were not lawfully provided or billed to GEICO;

 (iii) the underlying Fraudulent Services were not medically necessary and were

 provided – to the extent that they were provided at all – pursuant to pre-determined

 fraudulent protocols designed solely to financially enrich the Robust Pain Defendants,

 rather than to treat or otherwise benefit the Insureds who purportedly were



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 subjected to them; (iv) in many cases, the Fraudulent Services never were provided

 in the first instance; and (v) the billing codes used for the underlying Fraudulent

 Services misrepresented and exaggerated the level of services that purportedly were

 provided in order to inflate the charges submitted to GEICO.

       243. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “4”.

       244. Robust Pain’s business is racketeering activity, inasmuch as the

 enterprise exists for the purpose of submitting fraudulent charges to insurers. The

 predicate acts of mail fraud are the regular way in which Roque, Montes, Campos-

 Garcia, and Zeya operated Robust Pain, inasmuch as Robust Pain was not engaged in

 a legitimate health care practice, and acts of mail fraud therefore were essential in

 order for Robust Pain to function. Furthermore, the intricate planning required to

 carry out and conceal the predicate acts of mail fraud implies a threat of continued

 criminal activity, as does the fact that the Robust Pain Defendants continue to attempt

 collection on the fraudulent billing submitted through Robust Pain to the present day.

       245. Robust Pain is engaged in inherently unlawful acts, inasmuch as it

 continues to submit and attempt collection on fraudulent billing submitted to GEICO

 and other insurers. These inherently unlawful acts are taken by Robust Pain in

 pursuit of inherently unlawful goals – namely, the theft of money from GEICO and

 other insurers through fraudulent no-fault billing.



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       246. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $180,000.00 pursuant to the

 fraudulent bills submitted through the Robust Pain enterprise.

       247. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

 Court deems just and proper.

                         TWENTY-FIRST CAUSE OF ACTION
                   Against Roque, Montes, Campos-Garcia, and Zeya
                       (Violation of RICO, 18 U.S.C. § 1962(d))

       248. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       249. Robust Pain is an ongoing “enterprise,” as that term is defined in 18

 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

       250. Roque, Montes, Campos-Garcia, and Zeya are or were employed by or

 associated with the Robust Pain enterprise.

       251. Roque, Montes, Campos-Garcia, and Zeya knowingly have agreed,

 combined and conspired to conduct and/or participate, directly or indirectly, in the

 conduct of Robust Pain’s affairs through a pattern of racketeering activity consisting

 of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon

 the use of the United States mails to submit or cause to be submitted thousands of

 fraudulent charges on a continuous basis for over two years seeking payments that

 Robust Pain was not eligible to receive under the No-Fault Law because: (i) Robust

 Pain unlawfully was operated in violation of the Clinic Act’s medical director and



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 licensing requirements; (ii) the underlying Fraudulent Services were not lawfully

 provided or billed to GEICO; (iii) the underlying Fraudulent Services were not

 medically necessary and were provided – to the extent that they were provided at all

 – pursuant to pre-determined fraudulent protocols designed solely to financially

 enrich the Robust Pain Defendants, rather than to treat or otherwise benefit the

 Insureds who purportedly were subjected to them; (iv) in many cases, the Fraudulent

 Services never were provided in the first instance; and (v) the billing codes used for

 the underlying Fraudulent Services misrepresented and exaggerated the level of

 services that purportedly were provided in order to inflate the charges submitted to

 GEICO.

       252. A representative sample of the fraudulent bills and corresponding

 mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “4”. Each such mailing was made in furtherance of

 the mail fraud scheme.

       253. Roque, Montes, Campos-Garcia, and Zeya knew of, agreed to and acted

 in furtherance of the common and overall objective (i.e., to defraud GEICO and other

 automobile insurers of money) by submitting or facilitating the submission of the

 fraudulent charges to GEICO.

       254. GEICO has been injured in its business and property by reason of the

 above-described conduct in that it has paid at least $180,000.00 pursuant to the

 fraudulent bills submitted through the Robust Pain enterprise.



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       255. By reason of its injury, GEICO is entitled to treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the

 Court deems just and proper.

                            TWENTY-SECOND OF ACTION
                          Against the Robust Pain Defendants
                           (Under Fla. Stat. 501.201 et. seq.)

       256. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       257. The Robust Pain Defendants are actively engaged in trade and

 commerce in the State of Florida.

       258. GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

       259. The Robust Pain Defendants engaged in unfair, deceptive, and

 unconscionable acts or trade practices in their trade or commerce in the pursuit and

 execution of their scheme to illegally obtain PIP Benefits from GEICO.

       260. The bills and supporting documents submitted or caused to be

 submitted by the Robust Pain Defendants to GEICO were fraudulent in that they

 misrepresented: (i) Robust Pain’s eligibility to collect PIP Benefits in the first

 instance; (ii) that the Fraudulent Services were lawfully provided and billed to GEICO;

 (iii) that the Fraudulent Services were medically necessary; and (iv) that the

 Fraudulent Services actually were performed in the first instance.

       261. Such acts and practices offend public policy and are immoral, unethical,

 oppressive, and unscrupulous.       Additionally, the conduct of the Robust Pain

 Defendants has been materially injurious to GEICO and its Insureds.



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       262. The conduct of the Robust Pain Defendants was the actual and

 proximate cause of the damages sustained by GEICO.

       263. The Robust Pain Defendants’ unfair and deceptive acts have caused

 GEICO to sustain damages of at least $180,000.00.

       264. By reason of the Robust Pain Defendants’ conduct, GEICO is also entitled

 to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat. 501.211(2).

                         TWENTY-THIRD CAUSE OF ACTION
                   Against Roque, Montes, Campos-Garcia, and Zeya
                           (Under Fla. Stat. 772.103 et. seq.)

       265. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.

       266. In furtherance of the fraudulent scheme, Roque, Montes, Campos-Garcia,

 and Zeya submitted or caused to be submitted thousands of fraudulent charges

 through the Robust Pain enterprise to GEICO seeking payment pursuant under

 automobile insurance policies issued by GEICO to Florida Insureds.

       267. When the billing was submitted Roque, Montes, Campos-Garcia, and

 Zeya knew that the billing contained false and misleading information concerning

 facts material to the claims for which reimbursement was being sought in that: (i)

 Robust Pain unlawfully was operated in violation of the Clinic Act’s medical director

 and licensing requirements, and therefore was not eligible to collect PIP Benefits in

 the first instance; (ii) the underlying Fraudulent Services were not lawfully provided

 or billed to GEICO, and therefore were not eligible for PIP reimbursement in the first

 instance; (iii) the underlying Fraudulent Services were not medically necessary and



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 were provided – to the extent that they were provided at all – pursuant to pre-

 determined fraudulent protocols designed solely to financially enrich the Robust Pain

 Defendants, rather than to treat or otherwise benefit the Insureds who purportedly

 were subjected to them; (iv) in many cases, the Fraudulent Services never were

 provided in the first instance; and (v) the billing codes used for the underlying

 Fraudulent Services misrepresented and exaggerated the level of services that

 purportedly were provided in order to inflate the charges submitted to GEICO.

       268. These knowing and intentional acts constitute a pattern of criminal

 activity, in that said acts constitute insurance fraud in violation of Fla. Stat. §

 817.234(1)(a).

       269. This pattern of criminal activity resulted in Roque, Montes, Campos-

 Garcia, and Zeya receiving more than $180,000.00 in PIP Benefits to which they were

 not entitled.

       270. Roque, Montes, Campos-Garcia, and Zeya’s pattern of criminal activity

 has caused GEICO to sustain damages of at least $180,000.00.

 By reason of Roque, Montes, Campos-Garcia, and Zeya’s conduct, GEICO is also

 entitled to recover threefold the actual damages it actually sustained, reasonable

 attorney’s fees, and court costs pursuant to Fla. Stat. § 772.104.

                         TWENTY-FOURTH CAUSE OF ACTION
                          Against the Robust Pain Defendants
                                (Common Law Fraud)

       271. GEICO incorporates, as though fully set forth herein, each and every

 allegation in paragraphs 1-95 above.



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        272. The Robust Pain Defendants intentionally and knowingly made false and

  fraudulent statements of material fact to GEICO and concealed material facts from

  GEICO in the course of submitting, or causing to be submitted, thousands of

  fraudulent charges through Robust Pain for the Fraudulent Services.

        273. The false and fraudulent statements of material fact and acts of

  fraudulent concealment include: (i) in every claim, the representation that that

  Robust Pain was in compliance with the Clinic Act and eligible to collect PIP Benefits

  in the first instance, when in fact Robust Pain never was in compliance with the Clinic

  Act, and never was eligible to collect PIP Benefits, because it was operated without a

  legitimate medical director; (ii) in every claim, the representation that the Fraudulent

  Services were lawfully provided and eligible for PIP reimbursement, when in fact the

  Fraudulent Services were not lawfully provided, and were not eligible for PIP

  reimbursement; (iii) in every claim, the representation that the Fraudulent Services

  were medically necessary, when in fact they were not medically necessary; and (iv)

  in many claims, the representation that the Fraudulent Services actually were

  performed, when in many cases they were not actually performed.

        274. The Robust Pain Defendants intentionally made the above-described

  false and fraudulent statements and concealed material facts in a calculated effort to

  induce GEICO to pay charges submitted through Robust Pain that were not

  reimbursable.

        275. GEICO justifiably relied on these false and fraudulent representations

  and acts of fraudulent concealment, and as a proximate result has been injured in its



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  business and property by reason of the above-described conduct in that it has paid at

  least $180,000.00 pursuant to the fraudulent bills that were submitted or caused to

  be submitted by the Robust Pain Defendants through Robust Pain.

        276. The     Robust    Pain    Defendants’   extensive   fraudulent   conduct

  demonstrates a high degree of moral turpitude and wanton dishonesty that entitles

  GEICO to recover punitive damages.

        277. Accordingly, by virtue of the foregoing, GEICO is entitled to

  compensatory and punitive damages, together with interest and costs, and any other

  relief the Court deems just and proper.

                          TWENTY-FIFTH CAUSE OF ACTION
                          Against the Robust Pain Defendants
                                 (Unjust Enrichment)

        278. GEICO incorporates, as fully set forth herein, each and every allegation

  in paragraphs 1-95 above.

        279. As set forth above, the Robust Pain Defendants have engaged in

  improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

        280. When GEICO paid the bills and charges submitted or caused to be

  submitted by the Robust Pain Defendants through Robust Pain, it reasonably believed

  that it was legally obligated to make such payments based on the Robust Pain

  Defendants’ improper, unlawful, and/or unjust acts.

        281. The Robust Pain Defendants have been enriched at GEICO’s expense by

  GEICO’s payments which constituted a benefit that the Robust Pain Defendants




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  voluntarily accepted notwithstanding their improper, unlawful, and unjust billing

  scheme.

        282. The Robust Pain Defendants’ retention of GEICO’s payments violates

  fundamental principles of justice, equity, and good conscience.

        283. By reason of the above, the Robust Pain Defendants have been unjustly

  enriched in an amount to be determined at trial, but in no event less than $180,000.00.

                            TWENTY-SIXTH CAUSE OF ACTION
                               Against Rubio, Cvik, and Fossi
                          (Violation of RICO, 18 U.S.C. § 1962(c))

        284. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        285. 7520 Rehabilitation is an ongoing “enterprise,” as that term is defined in

  18 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

        286. Rubio, Cvik, and Fossi knowingly have conducted and/or participated,

  directly or indirectly, in the conduct of 7520 Rehabilitation’s affairs through a pattern

  of racketeering activity consisting of repeated violations of the federal mail fraud

  statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit or

  cause to be submitted thousands of fraudulent charges on a continuous basis for over

  two years seeking payments that 7520 Rehabilitation was not eligible to receive

  under the No-Fault Law because: (i) 7520 Rehabilitation unlawfully was operated in

  violation of the Clinic Act’s medical director and licensing requirements; (ii) the

  underlying Fraudulent Services were not lawfully provided or billed to GEICO; (iii)

  the underlying Fraudulent Services were not medically necessary and were provided



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  – to the extent that they were provided at all – pursuant to pre-determined fraudulent

  protocols designed solely to financially enrich the 7520 Rehabilitation Defendants

  rather than to treat or otherwise benefit the Insureds who purportedly were

  subjected to them; (iv) in many cases, the Fraudulent Services never were provided

  in the first instance; and (v) the billing codes used for the underlying Fraudulent

  Services misrepresented and exaggerated the level of services that purportedly were

  provided in order to inflate the charges submitted to GEICO.

        287. A representative sample of the fraudulent bills and corresponding

  mailings submitted to GEICO that comprise, in part, the pattern of racketeering

  activity identified through the date of this Complaint are described, in part, in the

  chart annexed hereto as Exhibit “5”.

        288. 7520 Rehabilitation’s business is racketeering activity, inasmuch as the

  enterprise exists for the purpose of submitting fraudulent charges to insurers. The

  predicate acts of mail fraud are the regular way in which Rubio, Cvik, and Fossi

  operated 7520 Rehabilitation, inasmuch as 7520 Rehabilitation was not engaged in a

  legitimate health care practice, and acts of mail fraud therefore were essential in

  order for 7520 Rehabilitation to function. Furthermore, the intricate planning

  required to carry out and conceal the predicate acts of mail fraud implies a threat of

  continued criminal activity, as does the fact that the 7520 Rehabilitation Defendants

  continue to attempt collection on the fraudulent billing submitted through 7520

  Rehabilitation to the present day.




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        289. 7520 Rehabilitation is engaged in inherently unlawful acts, inasmuch as

  it continues to submit and attempt collection on fraudulent billing submitted to

  GEICO and other insurers. These inherently unlawful acts are taken by 7520

  Rehabilitation in pursuit of inherently unlawful goals – namely, the theft of money

  from GEICO and other insurers through fraudulent no-fault billing.

        290. GEICO has been injured in its business and property by reason of the

  above-described conduct in that it has paid at least $875,000.00 pursuant to the

  fraudulent bills submitted through the 7520 Rehabilitation enterprise.

        291. By reason of its injury, GEICO is entitled to treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

  Court deems just and proper.

                         TWENTY-SEVENTH CAUSE OF ACTION
                       Against Rubio, Cvik, Fossi, Zeya, and Alvarez
                         (Violation of RICO, 18 U.S.C. § 1962(d))

        292. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        293. 7520 Rehabilitation is an ongoing “enterprise,” as that term is defined in

  18 U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

        294. Rubio Cvik, Fossi, Zeya, and Alvarez are or were employed by or

  associated with the 7520 Rehabilitation enterprise.

        295. Rubio Cvik, Fossi, Zeya, and Alvarez knowingly have agreed, combined

  and conspired to conduct and/or participate, directly or indirectly, in the conduct of

  7520 Rehabilitation’s affairs through a pattern of racketeering activity consisting of



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  repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the

  use of the United States mails to submit or cause to be submitted thousands of

  fraudulent charges on a continuous basis for over two years seeking payments that

  7520 Rehabilitation was not eligible to receive under the No-Fault Law because: (i)

  7520 Rehabilitation unlawfully was operated in violation of the Clinic Act’s medical

  director and licensing requirements; (ii) the underlying Fraudulent Services were not

  lawfully provided or billed to GEICO; (iii) the underlying Fraudulent Services were

  not medically necessary and were provided – to the extent that they were provided

  at all – pursuant to pre-determined fraudulent protocols designed solely to financially

  enrich the 7520 Rehabilitation Defendants, rather than to treat or otherwise benefit

  the Insureds who purportedly were subjected to them; (iv) in many cases, the

  Fraudulent Services never were provided in the first instance; and (v) the billing

  codes used for the underlying Fraudulent Services misrepresented and exaggerated

  the level of services that purportedly were provided in order to inflate the charges

  submitted to GEICO.

        296. A representative sample of the fraudulent bills and corresponding

  mailings submitted to GEICO that comprise, in part, the pattern of racketeering

  activity identified through the date of this Complaint are described, in part, in the

  chart annexed hereto as Exhibit “5”. Each such mailing was made in furtherance of

  the mail fraud scheme.

        297. Rubio Cvik, Fossi, Zeya, and Alvarez knew of, agreed to and acted in

  furtherance of the common and overall objective (i.e., to defraud GEICO and other



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  automobile insurers of money) by submitting or facilitating the submission of the

  fraudulent charges to GEICO.

        298. GEICO has been injured in its business and property by reason of the

  above-described conduct in that it has paid at least $875,000.00 pursuant to the

  fraudulent bills submitted through the 7520 Rehabilitation enterprise.

        299. By reason of its injury, GEICO is entitled to treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the

  Court deems just and proper.

                           TWENTY-EIGHT CAUSE OF ACTION
                         Against 7520 Rehabilitation Defendants
                            (Under Fla. Stat. 501.201 et. seq.)

        300. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        301. The 7520 Rehabilitation Defendants are actively engaged in trade and

  commerce in the State of Florida.

        302. GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

        303. The 7520 Rehabilitation Defendants engaged in unfair, deceptive, and

  unconscionable acts or trade practices in their trade or commerce in the pursuit and

  execution of their scheme to illegally obtain PIP Benefits from GEICO.

        304. The bills and supporting documents submitted or caused to be

  submitted by the 7520 Rehabilitation Defendants to GEICO were fraudulent in that

  they misrepresented: (i) 7520 Rehabilitation’s eligibility to collect PIP Benefits in the

  first instance; (ii) that the Fraudulent Services were lawfully provided and billed to



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  GEICO; (iii) that the Fraudulent Services were medically necessary; and (iv) that the

  Fraudulent Services actually were performed in the first instance.

        305. Such acts and practices offend public policy and are immoral, unethical,

  oppressive, and unscrupulous. Additionally, the conduct of the 7520 Rehabilitation

  Defendants has been materially injurious to GEICO and its Insureds.

        306. The conduct of the 7520 Rehabilitation Defendants was the actual and

  proximate cause of the damages sustained by GEICO.

        307. The 7520 Rehabilitation Defendants’ unfair and deceptive acts have

  caused GEICO to sustain damages of at least $875,000.00.

        308. By reason of the 7520 Rehabilitation Defendants’ conduct, GEICO is also

  entitled to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat.

  501.211(2).

                         TWENTY-NINTH CAUSE OF ACTION
                      Against Rubio, Cvik, Fossi, Zeya, and Alvarez
                           (Under Fla. Stat. 772.103 et. seq.)

        309. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        310. In furtherance of the fraudulent scheme, Rubio Cvik, Fossi, Zeya, and

  Alvarez submitted or caused to be submitted thousands of fraudulent charges

  through the 7520 Rehabilitation enterprise to GEICO seeking payment pursuant

  under automobile insurance policies issued by GEICO to Florida Insureds.

        311. When the billing was submitted Rubio Cvik, Fossi, Zeya, and Alvarez

  knew that the billing contained false and misleading information concerning facts



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  material to the claims for which reimbursement was being sought in that: (i) 7520

  Rehabilitation unlawfully was operated in violation of the Clinic Act’s medical

  director and licensing requirements, and therefore was not eligible to collect PIP

  Benefits in the first instance; (ii) the underlying Fraudulent Services were not

  lawfully provided or billed to GEICO, and therefore were not eligible for PIP

  reimbursement in the first instance; (iii) the underlying Fraudulent Services were not

  medically necessary and were provided – to the extent that they were provided at all

  – pursuant to pre-determined fraudulent protocols designed solely to financially

  enrich the 7520 Rehabilitation Defendants, rather than to treat or otherwise benefit

  the Insureds who purportedly were subjected to them; (iv) in many cases, the

  Fraudulent Services never were provided in the first instance; and (v) the billing

  codes used for the underlying Fraudulent Services misrepresented and exaggerated

  the level of services that purportedly were provided in order to inflate the charges

  submitted to GEICO.

        312. These knowing and intentional acts constitute a pattern of criminal

  activity, in that said acts constitute insurance fraud in violation of Fla. Stat. §

  817.234(1)(a).

        313. This pattern of criminal activity resulted in Rubio, Cvik, and Fossi

  receiving more than $875,000.00 in PIP Benefits to which they were not entitled.

        314. Rubio Cvik, Fossi, Zeya, and Alvarez’s pattern of criminal activity has

  caused GEICO to sustain damages of at least $875,000.00.




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        315. By reason of Rubio Cvik, Fossi, Zeya, and Alvarez’s conduct, GEICO is also

  entitled to recover threefold the actual damages it actually sustained, reasonable

  attorney’s fees, and court costs pursuant to Fla. Stat. § 772.104.

                             THIRTIETH CAUSE OF ACTION
                       Against the 7520 Rehabilitation Defendants
                                  (Common Law Fraud)

        316. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        317. The 7520 Rehabilitation Defendants intentionally and knowingly made

  false and fraudulent statements of material fact to GEICO and concealed material facts

  from GEICO in the course of submitting, or causing to be submitted, thousands of

  fraudulent charges through 7520 Rehabilitation for the Fraudulent Services.

        318. The false and fraudulent statements of material fact and acts of

  fraudulent concealment include: (i) in every claim, the representation that that 7520

  Rehabilitation was in compliance with the Clinic Act and eligible to collect PIP

  Benefits in the first instance, when in fact 7520 Rehabilitation never was in

  compliance with the Clinic Act, and never was eligible to collect PIP Benefits, because

  it was operated without a legitimate medical director; (ii) in every claim, the

  representation that the Fraudulent Services were lawfully provided and eligible for

  PIP reimbursement, when in fact the Fraudulent Services were not lawfully provided,

  and were not eligible for PIP reimbursement; (iii) in every claim, the representation

  that the Fraudulent Services were medically necessary, when in fact they were not

  medically necessary; and (iv) in many claims, the representation that the Fraudulent



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  Services actually were performed, when in many cases they were not actually

  performed.

        319. The 7520 Rehabilitation Defendants intentionally made the above-

  described false and fraudulent statements and concealed material facts in a calculated

  effort to induce GEICO to pay charges submitted through 7520 Rehabilitation that

  were not reimbursable.

        320. GEICO justifiably relied on these false and fraudulent representations

  and acts of fraudulent concealment, and as a proximate result has been injured in its

  business and property by reason of the above-described conduct in that it has paid at

  least $875,000.00 pursuant to the fraudulent bills that were submitted or caused to

  be submitted by the 7520 Rehabilitation Defendants through 7520 Rehabilitation.

        321. The 7520 Rehabilitation Defendants’ extensive fraudulent conduct

  demonstrates a high degree of moral turpitude and wanton dishonesty that entitles

  GEICO to recover punitive damages.

        322. Accordingly, by virtue of the foregoing, GEICO is entitled to

  compensatory and punitive damages, together with interest and costs, and any other

  relief the Court deems just and proper.

                           THIRTY-FIRST CAUSE OF ACTION
                       Against the 7520 Rehabilitation Defendants
                                  (Unjust Enrichment)

        323. GEICO incorporates, as fully set forth herein, each and every allegation

  in paragraphs 1-95 above.




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        324. As set forth above, the 7520 Rehabilitation Defendants have engaged in

  improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

        325. When GEICO paid the bills and charges submitted or caused to be

  submitted by the 7520 Rehabilitation Defendants through 7520 Rehabilitation, it

  reasonably believed that it was legally obligated to make such payments based on the

  7520 Rehabilitation Defendants’ improper, unlawful, and/or unjust acts.

        326. The 7520 Rehabilitation Defendants have been enriched at GEICO’s

  expense by GEICO’s payments which constituted a benefit that the 7520

  Rehabilitation Defendants voluntarily accepted notwithstanding their improper,

  unlawful, and unjust billing scheme.

        327. The 7520 Rehabilitation Defendants’ retention of GEICO’s payments

  violates fundamental principles of justice, equity, and good conscience.

        328. By reason of the above, the 7520 Rehabilitation Defendants have been

  unjustly enriched in an amount to be determined at trial, but in no event less than

  $875,000.00.

                          THIRTY-SECOND CAUSE OF ACTION
                                 Against Moran and Cvik
                         (Violation of RICO, 18 U.S.C. § 1962(c))

        329. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        330. Tampa Bay Rehabilitation is an ongoing “enterprise,” as that term is

  defined in 18 U.S.C. § 1961(4), that engages in activities that affected interstate

  commerce.



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        331. Moran and Cvik knowingly have conducted and/or participated, directly

  or indirectly, in the conduct of Tampa Bay Rehabilitation’s affairs through a pattern

  of racketeering activity consisting of repeated violations of the federal mail fraud

  statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit or

  cause to be submitted thousands of fraudulent charges on a continuous basis for over

  two years seeking payments that Tampa Bay Rehabilitation was not eligible to receive

  under the No-Fault Law because: (i) Tampa Bay Rehabilitation unlawfully was

  operated in violation of the Clinic Act’s medical director and licensing requirements;

  (ii) the underlying Fraudulent Services were not lawfully provided or billed to GEICO;

  (iii) the underlying Fraudulent Services were not medically necessary and were

  provided – to the extent that they were provided at all – pursuant to pre-determined

  fraudulent protocols designed solely to financially enrich the Tampa Bay

  Rehabilitation Defendants rather than to treat or otherwise benefit the Insureds who

  purportedly were subjected to them; (iv) in many cases, the Fraudulent Services

  never were provided in the first instance; and (v) the billing codes used for the

  underlying Fraudulent Services misrepresented and exaggerated the level of services

  that purportedly were provided in order to inflate the charges submitted to GEICO.

        332. A representative sample of the fraudulent bills and corresponding

  mailings submitted to GEICO that comprise, in part, the pattern of racketeering

  activity identified through the date of this Complaint are described, in part, in the

  chart annexed hereto as Exhibit “6”.




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        333. Tampa Bay Rehabilitation’s business is racketeering activity, inasmuch

  as the enterprise exists for the purpose of submitting fraudulent charges to insurers.

  The predicate acts of mail fraud are the regular way in which Moran and Cvik

  operated Global Care, inasmuch as Tampa Bay Rehabilitation was not engaged in a

  legitimate health care practice, and acts of mail fraud therefore were essential in

  order for Tampa Bay Rehabilitation to function. Furthermore, the intricate planning

  required to carry out and conceal the predicate acts of mail fraud implies a threat of

  continued criminal activity, as does the fact that the Tampa Bay Rehabilitation

  Defendants continue to attempt collection on the fraudulent billing submitted

  through Tampa Bay Rehabilitation to the present day.

        334. Tampa Bay Rehabilitation is engaged in inherently unlawful acts,

  inasmuch as it continues to submit and attempt collection on fraudulent billing

  submitted to GEICO and other insurers. These inherently unlawful acts are taken by

  Tampa Bay Rehabilitation in pursuit of inherently unlawful goals – namely, the theft

  of money from GEICO and other insurers through fraudulent no-fault billing.

        335. GEICO has been injured in its business and property by reason of the

  above-described conduct in that it has paid at least $565,000.00 pursuant to the

  fraudulent bills submitted through the Tampa Bay Rehabilitation enterprise.

        336. By reason of its injury, GEICO is entitled to treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

  Court deems just and proper.




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                          THIRTY-THIRD CAUSE OF ACTION
                        Against Moran, Cvik, Zeya, and Caballero
                        (Violation of RICO, 18 U.S.C. § 1962(d))

        337. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        338. Tampa Bay Rehabilitation is an ongoing “enterprise,” as that term is

  defined in 18 U.S.C. § 1961(4), that engages in activities that affected interstate

  commerce.

        339. Moran, Cvik, Zeya, and Caballero are or were employed by or associated

  with the Tampa Bay Rehabilitation enterprise.

        340. Moran, Cvik, Zeya, and Caballero knowingly have agreed, combined and

  conspired to conduct and/or participate, directly or indirectly, in the conduct of

  Tampa Bay Rehabilitation’s affairs through a pattern of racketeering activity

  consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341,

  based upon the use of the United States mails to submit or cause to be submitted

  thousands of fraudulent charges on a continuous basis for over two years seeking

  payments that Tampa Bay Rehabilitation was not eligible to receive under the No-

  Fault Law because: (i) Tampa Bay Rehabilitation unlawfully was operated in violation

  of the Clinic Act’s medical director and licensing requirements; (ii) the underlying

  Fraudulent Services were not lawfully provided or billed to GEICO; (iii) the

  underlying Fraudulent Services were not medically necessary and were provided – to

  the extent that they were provided at all – pursuant to pre-determined fraudulent

  protocols designed solely to financially enrich the Tampa Bay Rehabilitation



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  Defendants, rather than to treat or otherwise benefit the Insureds who purportedly

  were subjected to them; (iv) in many cases, the Fraudulent Services never were

  provided in the first instance; and (v) the billing codes used for the underlying

  Fraudulent Services misrepresented and exaggerated the level of services that

  purportedly were provided in order to inflate the charges submitted to GEICO.

        341. A representative sample of the fraudulent bills and corresponding

  mailings submitted to GEICO that comprise, in part, the pattern of racketeering

  activity identified through the date of this Complaint are described, in part, in the

  chart annexed hereto as Exhibit “6”. Each such mailing was made in furtherance of

  the mail fraud scheme.

        342. Moran, Cvik, Zeya, and Caballero knew of, agreed to and acted in

  furtherance of the common and overall objective (i.e., to defraud GEICO and other

  automobile insurers of money) by submitting or facilitating the submission of the

  fraudulent charges to GEICO.

        343. GEICO has been injured in its business and property by reason of the

  above-described conduct in that it has paid at least $565,000.00 pursuant to the

  fraudulent bills submitted through the Tampa Bay Rehabilitation enterprise.

        344. By reason of its injury, GEICO is entitled to treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the

  Court deems just and proper.




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                          THIRTY-FOURTH CAUSE OF ACTION
                    Against the Tampa Bay Rehabilitation Defendants
                            (Under Fla. Stat. 501.201 et. seq.)

        345. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        346. The Tampa Bay Rehabilitation Defendants are actively engaged in trade

  and commerce in the State of Florida.

        347. GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

        348. The Tampa Bay Rehabilitation Defendants engaged in unfair, deceptive,

  and unconscionable acts or trade practices in their trade or commerce in the pursuit

  and execution of their scheme to illegally obtain PIP Benefits from GEICO.

        349. The bills and supporting documents submitted or caused to be

  submitted by the Tampa Bay Rehabilitation Defendants to GEICO were fraudulent in

  that they misrepresented: (i) Tampa Bay Rehabilitation’s eligibility to collect PIP

  Benefits in the first instance; (ii) that the Fraudulent Services were lawfully provided

  and billed to GEICO; (iii) that the Fraudulent Services were medically necessary; and

  (iv) that the Fraudulent Services actually were performed in the first instance.

        350. Such acts and practices offend public policy and are immoral, unethical,

  oppressive, and unscrupulous. Additionally, the conduct of the Tampa Bay

  Rehabilitation Defendants has been materially injurious to GEICO and its Insureds.

        351. The conduct of the Tampa Bay Rehabilitation Defendants was the actual

  and proximate cause of the damages sustained by GEICO.




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        352. The Tampa Bay Rehabilitation Defendants’ unfair and deceptive acts

  have caused GEICO to sustain damages of at least $565,000.00.

        353. By reason of the Tampa Bay Rehabilitation Defendants’ conduct, GEICO

  is also entitled to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat.

  501.211(2).

                           THIRTY-FIFTH CAUSE OF ACTION
                         Against Moran, Cvik, Zeya, and Caballero
                            (Under Fla. Stat. 772.103 et. seq.)

        354. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        355. In furtherance of the fraudulent scheme, Moran, Cvik, Zeya, and

  Caballero submitted or caused to be submitted thousands of fraudulent charges

  through the Tampa Bay Rehabilitation enterprise to GEICO seeking payment

  pursuant under automobile insurance policies issued by GEICO to Florida Insureds.

        356. When the billing was submitted Moran, Cvik, Zeya, and Caballero knew

  that the billing contained false and misleading information concerning facts material

  to the claims for which reimbursement was being sought in that: (i) Tampa Bay

  Rehabilitation unlawfully was operated in violation of the Clinic Act’s medical

  director and licensing requirements, and therefore was not eligible to collect PIP

  Benefits in the first instance; (ii) the underlying Fraudulent Services were not

  lawfully provided or billed to GEICO, and therefore were not eligible for PIP

  reimbursement in the first instance; (iii) the underlying Fraudulent Services were not

  medically necessary and were provided – to the extent that they were provided at all



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  – pursuant to pre-determined fraudulent protocols designed solely to financially

  enrich the Tampa Bay Rehabilitation Defendants, rather than to treat or otherwise

  benefit the Insureds who purportedly were subjected to them; (iv) in many cases, the

  Fraudulent Services never were provided in the first instance; and (v) the billing

  codes used for the underlying Fraudulent Services misrepresented and exaggerated

  the level of services that purportedly were provided in order to inflate the charges

  submitted to GEICO.

         357. These knowing and intentional acts constitute a pattern of criminal

  activity, in that said acts constitute insurance fraud in violation of Fla. Stat. §

  817.234(1)(a).

         358. This pattern of criminal activity resulted in Moran, Cvik, Zeya, and

  Caballero receiving more than $565,000.00 in PIP Benefits to which they were not

  entitled.

         359. Moran, Cvik, Zeya, and Caballero’s pattern of criminal activity has caused

  GEICO to sustain damages of at least $565,000.00.

         360. By reason of Moran, Cvik, Zeya, and Caballero’s conduct, GEICO is also

  entitled to recover threefold the actual damages it actually sustained, reasonable

  attorney’s fees, and court costs pursuant to Fla. Stat. § 772.104.




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                           THIRTY-SIXTH CAUSE OF ACTION
                    Against the Tampa Bay Rehabilitation Defendants
                                 (Common Law Fraud)

        361. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        362. The Tampa Bay Rehabilitation Defendants intentionally and knowingly

  made false and fraudulent statements of material fact to GEICO and concealed

  material facts from GEICO in the course of submitting, or causing to be submitted,

  thousands of fraudulent charges through Tampa Bay Rehabilitation for the

  Fraudulent Services.

        363. The false and fraudulent statements of material fact and acts of

  fraudulent concealment include: (i) in every claim, the representation that that

  Tampa Bay Rehabilitation was in compliance with the Clinic Act and eligible to collect

  PIP Benefits in the first instance, when in fact Tampa Bay Rehabilitation never was in

  compliance with the Clinic Act, and never was eligible to collect PIP Benefits, because

  it was operated without a legitimate medical director; (ii) in every claim, the

  representation that the Fraudulent Services were lawfully provided and eligible for

  PIP reimbursement, when in fact the Fraudulent Services were not lawfully provided,

  and were not eligible for PIP reimbursement; (iii) in every claim, the representation

  that the Fraudulent Services were medically necessary, when in fact they were not

  medically necessary; and (iv) in many claims, the representation that the Fraudulent

  Services actually were performed, when in many cases they were not actually

  performed.



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        364. The Tampa Bay Rehabilitation Defendants intentionally made the

  above-described false and fraudulent statements and concealed material facts in a

  calculated effort to induce GEICO to pay charges submitted through Tampa Bay

  Rehabilitation that were not reimbursable.

        365. GEICO justifiably relied on these false and fraudulent representations

  and acts of fraudulent concealment, and as a proximate result has been injured in its

  business and property by reason of the above-described conduct in that it has paid at

  least $565,000.00 pursuant to the fraudulent bills that were submitted or caused to

  be submitted by the Tampa Bay Rehabilitation Defendants through Tampa Bay

  Rehabilitation.

        366. The Tampa Bay Rehabilitation Defendants’ extensive fraudulent

  conduct demonstrates a high degree of moral turpitude and wanton dishonesty that

  entitles GEICO to recover punitive damages.

        367. Accordingly, by virtue of the foregoing, GEICO is entitled to

  compensatory and punitive damages, together with interest and costs, and any other

  relief the Court deems just and proper.

                         THIRTY-SEVENTH CAUSE OF ACTION
                    Against the Tampa Bay Rehabilitation Defendants
                                  (Unjust Enrichment)

        368. GEICO incorporates, as fully set forth herein, each and every allegation

  in paragraphs 1-95 above.




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        369. As set forth above, the Tampa Bay Rehabilitation Defendants have

  engaged in improper, unlawful, and/or unjust acts, all to the harm and detriment of

  GEICO.

        370. When GEICO paid the bills and charges submitted or caused to be

  submitted by the Tampa Bay Rehabilitation Defendants through Tampa Bay

  Rehabilitation, it reasonably believed that it was legally obligated to make such

  payments based on the Tampa Bay Rehabilitation Defendants’ improper, unlawful,

  and/or unjust acts.

        371. The Tampa Bay Rehabilitation Defendants have been enriched at

  GEICO’s expense by GEICO’s payments which constituted a benefit that the Tampa

  Bay Rehabilitation Defendants voluntarily accepted notwithstanding their improper,

  unlawful, and unjust billing scheme.

        372. The Tampa Bay Rehabilitation Defendants’ retention of GEICO’s

  payments violates fundamental principles of justice, equity, and good conscience.

        373. By reason of the above, the Tampa Bay Rehabilitation Defendants have

  been unjustly enriched in an amount to be determined at trial, but in no event less

  than $565,000.00.

                          THIRTY-EIGHTH CAUSE OF ACTION
                        Against Romero, Del Sol Perez, and Fossi
                         (Violation of RICO, 18 U.S.C. § 1962(c))

        374. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.




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        375. Seminole Care is an ongoing “enterprise,” as that term is defined in 18

  U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

        376. Romero, Del Sol Perez, and Fossi knowingly have conducted and/or

  participated, directly or indirectly, in the conduct of Seminole Care’s affairs through

  a pattern of racketeering activity consisting of repeated violations of the federal mail

  fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit

  or cause to be submitted thousands of fraudulent charges on a continuous basis for

  over two years seeking payments that Seminole Care was not eligible to receive under

  the No-Fault Law because: (i) Seminole Care unlawfully was operated in violation of

  the Clinic Act’s medical director and licensing requirements; (ii) the underlying

  Fraudulent Services were not lawfully provided or billed to GEICO; (iii) the

  underlying Fraudulent Services were not medically necessary and were provided – to

  the extent that they were provided at all – pursuant to pre-determined fraudulent

  protocols designed solely to financially enrich the Seminole Care Defendants rather

  than to treat or otherwise benefit the Insureds who purportedly were subjected to

  them; (iv) in many cases, the Fraudulent Services never were provided in the first

  instance; and (v) the billing codes used for the underlying Fraudulent Services

  misrepresented and exaggerated the level of services that purportedly were provided

  in order to inflate the charges submitted to GEICO.

        377. A representative sample of the fraudulent bills and corresponding

  mailings submitted to GEICO that comprise, in part, the pattern of racketeering




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  activity identified through the date of this Complaint are described, in part, in the

  chart annexed hereto as Exhibit “7”.

        378. Seminole Care’s business is racketeering activity, inasmuch as the

  enterprise exists for the purpose of submitting fraudulent charges to insurers. The

  predicate acts of mail fraud are the regular way in which Romero, Del Sol Perez, and

  Fossi operated Seminole Care, inasmuch as Seminole Care was not engaged in a

  legitimate health care practice, and acts of mail fraud therefore were essential in

  order for Seminole Care to function. Furthermore, the intricate planning required to

  carry out and conceal the predicate acts of mail fraud implies a threat of continued

  criminal activity, as does the fact that the Seminole Care Defendants continue to

  attempt collection on the fraudulent billing submitted through Seminole Care to the

  present day.

        379. Seminole Care is engaged in inherently unlawful acts, inasmuch as it

  continues to submit and attempt collection on fraudulent billing submitted to GEICO

  and other insurers. These inherently unlawful acts are taken by Seminole Care in

  pursuit of inherently unlawful goals – namely, the theft of money from GEICO and

  other insurers through fraudulent no-fault billing.

        380. GEICO has been injured in its business and property by reason of the

  above-described conduct in that it has paid at least $835,000.00 pursuant to the

  fraudulent bills submitted through the Seminole Care enterprise.




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        381. By reason of its injury, GEICO is entitled to treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

  Court deems just and proper.

                         THIRTY-NINTH CAUSE OF ACTION
            Against Romero, Del Sol Perez, Fossi, Zeya, Dominguez, and Bond
                       (Violation of RICO, 18 U.S.C. § 1962(d))

        382. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        383. Seminole Care is an ongoing “enterprise,” as that term is defined in 18

  U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

        384. Romero, Del Sol Perez, Fossi, Zeya, Dominguez, and Bond are or were

  employed by or associated with the Seminole Care enterprise.

        385. Romero, Del Sol Perez, Fossi, Zeya, Dominguez, and Bond knowingly

  have agreed, combined and conspired to conduct and/or participate, directly or

  indirectly, in the conduct of Seminole Care’s affairs through a pattern of racketeering

  activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. §

  1341, based upon the use of the United States mails to submit or cause to be

  submitted thousands of fraudulent charges on a continuous basis for over two years

  seeking payments that Seminole Care was not eligible to receive under the No-Fault

  Law because: (i) Seminole Care unlawfully was operated in violation of the Clinic

  Act’s medical director and licensing requirements; (ii) the underlying Fraudulent

  Services were not lawfully provided or billed to GEICO; (iii) the underlying

  Fraudulent Services were not medically necessary and were provided – to the extent



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  that they were provided at all – pursuant to pre-determined fraudulent protocols

  designed solely to financially enrich the Seminole Care Defendants, rather than to

  treat or otherwise benefit the Insureds who purportedly were subjected to them; (iv)

  in many cases, the Fraudulent Services never were provided in the first instance; and

  (v) the billing codes used for the underlying Fraudulent Services misrepresented and

  exaggerated the level of services that purportedly were provided in order to inflate

  the charges submitted to GEICO.

        386. A representative sample of the fraudulent bills and corresponding

  mailings submitted to GEICO that comprise, in part, the pattern of racketeering

  activity identified through the date of this Complaint are described, in part, in the

  chart annexed hereto as Exhibit “7”. Each such mailing was made in furtherance of

  the mail fraud scheme.

        387. Romero, Del Sol Perez, Fossi, Zeya, Dominguez, and Bond knew of,

  agreed to and acted in furtherance of the common and overall objective (i.e., to

  defraud GEICO and other automobile insurers of money) by submitting or facilitating

  the submission of the fraudulent charges to GEICO.

        388. GEICO has been injured in its business and property by reason of the

  above-described conduct in that it has paid at least $835,000.00 pursuant to the

  fraudulent bills submitted through the Seminole Care enterprise.

        389. By reason of its injury, GEICO is entitled to treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the

  Court deems just and proper.



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                             FORTIETH CAUSE OF ACTION
                          Against the Seminole Care Defendants
                            (Under Fla. Stat. 501.201 et. seq.)

        390. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        391. The Seminole Care Defendants are actively engaged in trade and

  commerce in the State of Florida.

        392. GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

        393. The Seminole Care Defendants engaged in unfair, deceptive, and

  unconscionable acts or trade practices in their trade or commerce in the pursuit and

  execution of their scheme to illegally obtain PIP Benefits from GEICO.

        394. The bills and supporting documents submitted or caused to be

  submitted by the Seminole Care Defendants to GEICO were fraudulent in that they

  misrepresented: (i) Seminole Care’s eligibility to collect PIP Benefits in the first

  instance; (ii) that the Fraudulent Services were lawfully provided and billed to GEICO;

  (iii) that the Fraudulent Services were medically necessary; and (iv) that the

  Fraudulent Services actually were performed in the first instance.

        395. Such acts and practices offend public policy and are immoral, unethical,

  oppressive, and unscrupulous. Additionally, the conduct of the Seminole Care

  Defendants has been materially injurious to GEICO and its Insureds.

        396. The conduct of Seminole Care Defendants was the actual and proximate

  cause of the damages sustained by GEICO.




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        397. The Seminole Care Defendants’ unfair and deceptive acts have caused

  GEICO to sustain damages of at least $835,000.00.

        398. By reason of the Seminole Care Defendants’ conduct, GEICO is also

  entitled to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat.

  501.211(2).

                          FORTY-FIRST CAUSE OF ACTION
            Against Romero, Del Sol Perez, Fossi, Zeya, Dominguez, and Bond
                          (Under Fla. Stat. 772.103 et. seq.)

        399. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.

        400. In furtherance of the fraudulent scheme, Romero, Del Sol Perez, Fossi,

  Zeya, Dominguez, and Bond submitted or caused to be submitted thousands of

  fraudulent charges through the Seminole Care enterprise to GEICO seeking payment

  pursuant under automobile insurance policies issued by GEICO to Florida Insureds.

        401. When the billing was submitted Romero, Del Sol Perez, Fossi, Zeya,

  Dominguez, and Bond knew that the billing contained false and misleading

  information concerning facts material to the claims for which reimbursement was

  being sought in that: (i) Seminole Care unlawfully was operated in violation of the

  Clinic Act’s medical director and licensing requirements, and therefore was not

  eligible to collect PIP Benefits in the first instance; (ii) the underlying Fraudulent

  Services were not lawfully provided or billed to GEICO, and therefore were not

  eligible for PIP reimbursement in the first instance; (iii) the underlying Fraudulent

  Services were not medically necessary and were provided – to the extent that they



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  were provided at all – pursuant to pre-determined fraudulent protocols designed

  solely to financially enrich the Seminole Care Defendants, rather than to treat or

  otherwise benefit the Insureds who purportedly were subjected to them; (iv) in many

  cases, the Fraudulent Services never were provided in the first instance; and (v) the

  billing codes used for the underlying Fraudulent Services misrepresented and

  exaggerated the level of services that purportedly were provided in order to inflate

  the charges submitted to GEICO.

        402. These knowing and intentional acts constitute a pattern of criminal

  activity, in that said acts constitute insurance fraud in violation of Fla. Stat. §

  817.234(1)(a).

        403. This pattern of criminal activity resulted in Romero, Del Sol Perez, Fossi,

  Zeya, Dominguez, and Bond receiving more than $835,000.00 in PIP Benefits to which

  they were not entitled.

        404. Romero, Del Sol Perez, Fossi, Zeya, Dominguez, and Bond’s pattern of

  criminal activity has caused GEICO to sustain damages of at least $835,000.00.

        405. By reason of Romero, Del Sol Perez, Fossi, Zeya, Dominguez, and Bond’s

  conduct, GEICO is also entitled to recover threefold the actual damages it actually

  sustained, reasonable attorney’s fees, and court costs pursuant to Fla. Stat. § 772.104.

                             FORTY-SECOND CAUSE OF ACTION
                            Against the Seminole Care Defendants
                                    (Common Law Fraud)

        406. GEICO incorporates, as though fully set forth herein, each and every

  allegation in paragraphs 1-95 above.



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        407. The Seminole Care Defendants intentionally and knowingly made false

  and fraudulent statements of material fact to GEICO and concealed material facts from

  GEICO in the course of submitting, or causing to be submitted, thousands of

  fraudulent charges through Seminole Care for the Fraudulent Services.

        408. The false and fraudulent statements of material fact and acts of

  fraudulent concealment include: (i) in every claim, the representation that that

  Seminole Care was in compliance with the Clinic Act and eligible to collect PIP

  Benefits in the first instance, when in fact Seminole Care never was in compliance

  with the Clinic Act, and never was eligible to collect PIP Benefits, because it was

  operated without a legitimate medical director; (ii) in every claim, the representation

  that the Fraudulent Services were lawfully provided and eligible for PIP

  reimbursement, when in fact the Fraudulent Services were not lawfully provided, and

  were not eligible for PIP reimbursement; (iii) in every claim, the representation that

  the Fraudulent Services were medically necessary, when in fact they were not

  medically necessary; and (iv) in many claims, the representation that the Fraudulent

  Services actually were performed, when in many cases they were not actually

  performed.

        409. The Seminole Care Defendants intentionally made the above-described

  false and fraudulent statements and concealed material facts in a calculated effort to

  induce GEICO to pay charges submitted through Seminole Care that were not

  reimbursable.




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        410. GEICO justifiably relied on these false and fraudulent representations

  and acts of fraudulent concealment, and as a proximate result has been injured in its

  business and property by reason of the above-described conduct in that it has paid at

  least $835,000.00 pursuant to the fraudulent bills that were submitted or caused to

  be submitted by the Seminole Care Defendants through Seminole Care.

        411. The Seminole Care Defendants’ extensive fraudulent conduct

  demonstrates a high degree of moral turpitude and wanton dishonesty that entitles

  GEICO to recover punitive damages.

        412. Accordingly, by virtue of the foregoing, GEICO is entitled to

  compensatory and punitive damages, together with interest and costs, and any other

  relief the Court deems just and proper.

                           FORTY-THIRD CAUSE OF ACTION
                         Against the Seminole Care Defendants
                                  (Unjust Enrichment)

        413. GEICO incorporates, as fully set forth herein, each and every allegation

  in paragraphs 1-95 above.

        414. As set forth above, the Seminole Care Defendants have engaged in

  improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

        415. When GEICO paid the bills and charges submitted or caused to be

  submitted by the Seminole Care Defendants through Seminole Care, it reasonably

  believed that it was legally obligated to make such payments based on the Seminole

  Care Defendants’ improper, unlawful, and/or unjust acts.




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         416. The Seminole Care Defendants have been enriched at GEICO’s expense

  by GEICO’s payments which constituted a benefit that the Seminole Care Defendants

  voluntarily accepted notwithstanding their improper, unlawful, and unjust billing

  scheme.

         417. The Seminole Care Defendants’ retention of GEICO’s payments violates

  fundamental principles of justice, equity, and good conscience.

         418. By reason of the above, the Seminole Care Defendants have been

  unjustly enriched in an amount to be determined at trial, but in no event less than

  $835,000.00.

                                        JURY DEMAND

         419. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

  trial by jury.

         WHEREFORE, Plaintiffs Government Employees Insurance Company, GEICO

  Indemnity Company, GEICO General Insurance Company, and GEICO Casualty

  Company demand that a Judgment be entered in their favor:

         A.        On the First Cause of Action against JRL Rehabilitation, Palm Wellness,

  Rehab & Healthcare, Robust Pain, 7520 Rehabilitation, Tampa Bay Rehabilitation, and

  Seminole Care, for a declaration pursuant to the Declaratory Judgment Act, 28 U.S.C.

  §§ 2201 and 2202, that JRL Rehabilitation, Palm Wellness, Rehab & Healthcare,

  Robust Pain, 7520 Rehabilitation, Tampa Bay Rehabilitation, and Seminole Care have

  no right to receive payment for any pending bills submitted to GEICO;




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        B.     On the Second Cause of Action against Ramos, Lanza Diaz, and Zeya,

  compensatory damages in favor of GEICO in an amount to be determined at trial but

  in excess of $1,300,000.00 together with treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        C.     On the Third Cause of Action against Ramos, Lanza Diaz, Zeya, Couve,

  Torres, and Fernandez, compensatory damages in favor of GEICO in an amount to be

  determined at trial but in excess of $1,300,000.00, together with treble damages,

  costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        D.     On the Fourth Cause of Action against JRL Rehabilitation, Ramos, Lanza

  Diaz, Zeya, Couve, Torres, and Fernandez, compensatory damages in an amount to be

  determined at trial but in excess of $1,300,000.00, together with costs and reasonable

  attorneys’ fees pursuant to Fla. Stat. 501.211(2);

        E.     On the Fifth Cause of Action against Ramos, Lanza Diaz, Zeya, Couve,

  Torres, and Fernandez, compensatory damages in an amount to be determined at trial

  but in excess of $1,300,000.00, together with treble damages, reasonable attorney’s

  fees, and court costs pursuant to Fla. Stat. 772.104;

        F.     On the Sixth Cause of Action against JRL Rehabilitation, Ramos, Lanza

  Diaz, Zeya, Couve, Torres, and Fernandez, compensatory damages in an amount to be

  determined at trial but in excess of $1,300,000.00, together with punitive damages,

  costs, interest and such other and further relief as this Court deems just and proper;

        G.     On the Seventh Cause of Action against JRL Rehabilitation, Ramos, Lanza

  Diaz, Zeya, Couve, Torres, and Fernandez, more than $1,300,000.00 in compensatory



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  damages, plus costs and interest and such other and further relief as this Court deems

  just and proper;

        H.     On the Eighth Cause of Action against Reyes and Zeya, compensatory

  damages in favor of GEICO in an amount to be determined at trial but in excess of

  $1,260,000.00 together with treble damages, costs, and reasonable attorneys’ fees

  pursuant to 18 U.S.C. § 1964(c) plus interest;

        I.     On the Ninth Cause of Action against Reyes, Zeya, Ortega, and Suarez,

  compensatory damages in favor of GEICO in an amount to be determined at trial but

  in excess of $1,260,000.00, together with treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        J.     On the Tenth Cause of Action against Palm Wellness, Reyes, Zeya, Ortega,

  and Suarez, compensatory damages in an amount to be determined at trial but in

  excess of $1,260,000.00, together with costs and reasonable attorneys’ fees pursuant

  to Fla. Stat. 501.211(2);

        K.     On the Eleventh Cause of Action against Reyes, Zeya, Ortega, and Suarez,

  compensatory damages in an amount to be determined at trial but in excess of

  $1,260,000.00, together with treble damages, reasonable attorney’s fees, and court

  costs pursuant to Fla. Stat. 772.104;

        L.     On the Twelfth Cause of Action against Palm Wellness, Reyes, Zeya,

  Ortega, and Suarez, compensatory damages in an amount to be determined at trial

  but in excess of $1,260,000.00, together with punitive damages, costs, interest and

  such other and further relief as this Court deems just and proper;



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        M.     On the Thirteenth Cause of Action against Palm Wellness, Reyes, Zeya,

  Ortega, and Suarez, more than $1,260,000.00 in compensatory damages, plus costs

  and interest and such other and further relief as this Court deems just and proper;

        N.     On the Fourteenth Cause of Action against Rodriguez-Suarez and Zeya,

  compensatory damages in favor of GEICO in an amount to be determined at trial but

  in excess of $1,590,000.00 together with treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        O.     On the Fifteenth Cause of Action against Rodriguez-Suarez, Zeya, Roque,

  and Rojas, compensatory damages in favor of GEICO in an amount to be determined

  at trial but in excess of $1,590,000.00, together with treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        P.     On the Sixteenth Cause of Action against Rehab & Healthcare, Rodriguez-

  Suarez, Zeya, Roque, and Rojas, compensatory damages in an amount to be

  determined at trial but in excess of $1,590,000.00, together with costs and reasonable

  attorneys’ fees pursuant to Fla. Stat. 501.211(2);

        Q.     On the Seventeenth Cause of Action against Rodriguez-Suarez, Zeya,

  Roque, and Rojas, compensatory damages in an amount to be determined at trial but

  in excess of $1,590,000.00, together with treble damages, reasonable attorney’s fees,

  and court costs pursuant to Fla. Stat. 772.104;

        R.     On the Eighteenth Cause of Action against Rehab & Healthcare,

  Rodriguez-Suarez, Zeya, Roque, and Rojas, compensatory damages in an amount to




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  be determined at trial but in excess of $1,590,000.00, together with punitive damages,

  costs, interest and such other and further relief as this Court deems just and proper;

        S.     On the Nineteenth Cause of Action against Rehab & Healthcare,

  Rodriguez-Suarez, Zeya, Roque, and Rojas, more than $1,590,000.00 in compensatory

  damages, plus costs and interest and such other and further relief as this Court deems

  just and proper;

        T.     On the Twentieth Cause of Action against Roque, Montes, Campos-

  Garcia, and Zeya, compensatory damages in favor of GEICO in an amount to be

  determined at trial but in excess of $180,000.00 together with treble damages, costs,

  and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        U.     On the Twenty-First Cause of Action against Roque, Montes, Campos-

  Garcia, and Zeya, compensatory damages in of GEICO in an amount to be determined

  at trial but in excess of $180,000.00, together with treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        V.     On the Twenty-Second Cause of Action against Robust Pain, Roque,

  Montes, Campos-Garcia, and Zeya, compensatory damages in an amount to be

  determined at trial but in excess of $180,000.00, together with costs and reasonable

  attorneys’ fees pursuant to Fla. Stat. 501.211(2);

        W.     On the Twenty-Third Cause of Action against Robust Pain, Roque,

  Montes, Campos-Garcia, and Zeya, compensatory damages in an amount to be

  determined at trial but in excess of $180,000.00, together with treble damages,

  reasonable attorney’s fees, and court costs pursuant to Fla. Stat. 772.104;



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        X.     On the Twenty-Fourth Cause of Action against Robust Pain, Roque,

  Montes, Campos-Garcia, and Zeya, compensatory damages in an amount to be

  determined at trial but in excess of $180,000.00, together with punitive damages,

  costs, interest and such other and further relief as this Court deems just and proper;

        Y.     On the Twenty-Fifth Cause of Action against Robust Pain, Roque, Montes,

  Campos-Garcia, and Zeya, more than $180,000.00 in compensatory damages, plus

  costs and interest and such other and further relief as this Court deems just and

  proper;

        Z.     On the Twenty-Sixth Cause of Action against Rubio, Cvik, and Fossi,

  compensatory damages in favor of GEICO in an amount to be determined at trial but

  in excess of $875,000.00, together with treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        AA.    On the Twenty-Seventh Cause of Action against Rubio, Cvik, Fossi, Zeya,

  and Alvarez, compensatory damages in favor of GEICO in an amount to be determined

  at trial but in excess of $875,000.00, together with treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        BB.    On the Twenty-Eighth Cause of Action against 7520 Rehabilitation,

  Rubio, Cvik, Fossi, Zeya, and Alvarez, compensatory damages in an amount to be

  determined at trial but in excess of $875,000.00, together with costs and reasonable

  attorneys’ fees pursuant to Fla. Stat. 501.211(2);

        CC.    On the Twenty-Ninth Cause of Action against Rubio, Cvik, Fossi, Zeya,

  and Alvarez, damages in an amount to be determined at trial but in excess of



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  $875,000.00, together with treble damages, reasonable attorney’s fees, and court

  costs pursuant to Fla. Stat. 772.104;

        DD.    On the Thirtieth Cause of Action against 7520 Rehabilitation, Rubio,

  Cvik, Fossi, Zeya, and Alvarez, compensatory damages in an amount to be determined

  at trial but in excess of $875,000.00, together with punitive damages, costs, interest

  and such other and further relief as this Court deems just and proper;

        EE.    On the Thirty-First Cause of Action against 7520 Rehabilitation, Rubio,

  Cvik, Fossi, Zeya, and Alvarez, more than $875,000.00 in compensatory damages, plus

  costs and interest and such other and further relief as this Court deems just and

  proper;

        FF.    On the Thirty-Second Cause of Action against Moran and Cvik,

  compensatory damages in favor of GEICO in an amount to be determined at trial but

  in excess of $565,000.00 together with treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        GG.    On the Thirty-Third Cause of Action against Moran, Cvik, Zeya, and

  Caballero, compensatory damages in favor of GEICO in an amount to be determined

  at trial but in excess of $565,000.00, together with treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        HH.    On the Thirty-Fourth Cause of Action against Tampa Bay Rehabilitation,

  Moran, Cvik, Zeya, and Caballero, compensatory damages in an amount to be

  determined at trial but in excess of $565,000.00, together with costs and reasonable

  attorneys’ fees pursuant to Fla. Stat. 501.211(2);



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        II.    On the Thirty-Fifth Cause of Action against Moran, Moran, Cvik, Zeya,

  and Caballero, compensatory damages in an amount to be determined at trial but in

  excess of $565,000.00, together with treble damages, reasonable attorney’s fees, and

  court costs pursuant to Fla. Stat. 772.104;

        JJ.    On the Thirty-Sixth Cause of Action against Tampa Bay Rehabilitation,

  Moran, Cvik, Zeya, and Caballero, compensatory damages in an amount to be

  determined at trial but in excess of $565,000.00, together with punitive damages,

  costs, interest and such other and further relief as this Court deems just and proper;

        KK.    On the Thirty-Seventh Cause of Action against Tampa Bay

  Rehabilitation, Moran, Cvik, Zeya, and Caballero, more than $565,000.00 in

  compensatory damages, plus costs and interest and such other and further relief as

  this Court deems just and proper;

        LL.    On the Thirty-Eight Cause of Action against Romero, Del Sol Perez, and

  Fossi, compensatory damages in favor of GEICO in an amount to be determined at

  trial but in excess of $835,000.00 together with treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        MM. On the Thirty-Ninth Cause of Action against Romero, Del Sol Perez, Fossi,

  Zeya, Dominguez, and Bond, compensatory damages in favor of GEICO in an amount

  to be determined at trial but in excess of $835,000.00, together with treble damages,

  costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        NN.    On the Fortieth Cause of Action against Seminole Care, Romero, Del Sol

  Perez, Fossi, Zeya, Dominguez, and Bond, compensatory damages in an amount to be



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  determined at trial but in excess of $835,000.00, together with costs and reasonable

  attorneys’ fees pursuant to Fla. Stat. 501.211(2);

        OO.    On the Forty-First Cause of Action against Romero, Del Sol Perez, Fossi,

  Zeya, Dominguez, and Bond, compensatory damages in an amount to be determined

  at trial but in excess of $835,000.00, together with treble damages, reasonable

  attorney’s fees, and court costs pursuant to Fla. Stat. 772.104;

        PP.    On the Forty-Second Cause of Action against Seminole Care, Romero, Del

  Sol Perez, Fossi, Zeya, Dominguez, and Bond, compensatory damages in an amount to

  be determined at trial but in excess of $835,000.00, together with punitive damages,

  costs, interest and such other and further relief as this Court deems just and proper;

        QQ.    On the Forty-Third Cause of Action against Seminole Care, Romero, Del

  Sol Perez, Fossi, Zeya, Dominguez, and Bond, more than $835,000.00 in compensatory

  damages, plus costs and interest and such other and further relief as this Court deems

  just and proper.

  Dated:       April 30, 2021
                                          /s/ John P. Marino
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